                                             Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 1 of 124 Page ID #:1



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                                               601 South Figueroa Street, Suite 2500
                                         4     Los Angeles, California 90017-5704
                                               Telephone: (213) 623-9300
                                         5     Facsimile: (213) 623-9924
                                         6     Attorneys for Defendant
                                               MEDPRO GROUP, INC.
                                         7

                                         8
                                                                    UNITED STATES DISTRICT COURT
                                         9
                                                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                        10
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                               ORINDA CARE CENTER, LLC, a                    Case No. 2:21-cv-9419
                                        11     California limited liability company,
                                               and RENEW HEALTH GROUP, LLC,
         DENTONS US LLP




                                        12     a California limited liability company,
           (213) 623-9300




                                                                                             DEFENDANT MEDPRO GROUP,
                                        13                 Plaintiffs,                       INC.’S NOTICE OF REMOVAL
                                                                                             OF CIVIL ACTION TO THE
                                        14           v.                                      UNITED STATES DISTRICT
                                                                                             COURT PURSUANT TO 28
                                        15     MEDPRO GROUP, INC., an Indiana                U.S.C. §§ 1332, 1441, AND 1446
                                               corporation, and DOES 1 through 10,
                                        16     inclusive,
                                        17                 Defendants.
                                        18

                                        19
                                              TO THE COURT AND CLERK AND ALL PARTIES OF RECORD AND THEIR
                                        20
                                              COUNSEL:
                                        21
                                                    PLEASE TAKE NOTICE that Defendant MedPro Group, Inc. (“MedPro” or
                                        22
                                              “Defendant”), contemporaneously with the filing of this Notice of Removal, hereby
                                        23
                                              removes the below-referenced action from the Superior Court of the State of
                                        24
                                              California, County of Los Angeles, to the United States District Court for the
                                        25
                                              Central District of California, Western Division.
                                        26
                                                    The removal is based on 28 U.S.C. §§ 1332(d) and 1441(b), specifically, on
                                        27
                                              the following grounds:
                                        28


                                                                                       -1-
                                             Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 2 of 124 Page ID #:2



                                         1                        PLEADINGS, PROCESS AND ORDERS
                                         2          1.     On or about October 19, 2021, Plaintiffs Orinda Care Center, LLC and
                                         3    Renew Health Group, LLC (together, “Plaintiffs”) filed a complaint against
                                         4    Defendant entitled Orinda Care Center, LLC et al. v. MedPro Group, Inc., Case
                                         5    No. 21STCV38519, in the Superior Court of the State of California, County of Los
                                         6    Angeles, asserting causes of action for breach of insurance contract, breach of the
                                         7    implied covenant of good faith and fair dealing, violation of the Unfair Competition
                                         8    Law (“UCL”) and declaratory relief (the “Complaint”).
                                         9          2.     The Plaintiffs’ Complaint alleges, among other things, that MedPro
                                        10    breached a Senior Care Liability Policy, number NSC100432 (the “Policy”). A
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                                        11    copy of the Policy is attached as Exhibit A to the Complaint. As alleged in the
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                                        12    Complaint, the Policy has a $1 million per event limit and $3 million aggregate
           (213) 623-9300




                                        13    limit. Complaint, ¶ 18, Ex. A.
                                        14          3.     Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of Plaintiffs’
                                        15    Complaint and all process and pleadings in the state court action are attached
                                        16    collectively as Exhibit A.
                                        17                              TIMELINESS OF REMOVAL
                                        18          4.     Plaintiffs served the Summons and Complaint on Defendant on
                                        19    November 5, 2021.
                                        20          5.     Pursuant to 28 U.S.C. Section 1446(b), this Notice of Removal is
                                        21    timely filed within thirty (30) days of Defendant’s notice and receipt of Plaintiffs’
                                        22    Summons and Complaint.
                                        23                                     VENUE IS PROPER
                                        24          6.     Venue is proper under 28 U.S.C. § 1441(a) because the United States
                                        25    District Court, Central District of California, Western Division, embraces the
                                        26    county and court in which Plaintiffs filed this action—the Superior Court for the
                                        27    State of California, County of Los Angeles.
                                        28


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                                             Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 3 of 124 Page ID #:3



                                         1                                       JURISDICTION
                                         2          7.     “[A]ny civil action brought in a State court of which the district courts
                                         3    of the United States have original jurisdiction, may be removed by the defendant or
                                         4    the defendants, to the district court of the United States for the district and division
                                         5    embracing the place where such action is pending.” 28 U.S.C. § 1441(a).
                                         6          8.     This Court has diversity jurisdiction over this matter pursuant to 28
                                         7    U.S.C. § 1332(a) because (1) the amount in controversy exceeds $75,000 because
                                         8    the Plaintiffs’ Complaint seeks damages in excess of $75,000.00, exclusive of
                                         9    interest and costs, and (2) there is diversity between Plaintiffs and Defendant
                                        10    because they are citizens of different states. 28 U.S.C. §§ 1332(a), 1441.
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                                        11          9.     Accordingly, this case is properly removed under 28 U.S.C. §§ 1332
                                              and 1441, as this case falls within the Court’s diversity jurisdiction.
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                                        12
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                                        13          A.     Diversity of Citizenship
                                        14          10.    For diversity purposes, “a corporation shall be deemed to be a citizen
                                        15    of every State and foreign state by which it has been incorporated and of the State
                                        16    or foreign state where it has its principal place of business . . . .” 28 U.S.C.
                                        17    § 1332(c)(1).
                                        18          11.    Plaintiffs’ Complaint alleges that Orinda Care Center, LLC is a
                                        19    California limited liability corporation with its principal place of business in
                                        20    Orinda, California. Complaint ¶ 12. Therefore, Orinda Care Center, LLC is a
                                        21    California citizen for diversity purposes.
                                        22          12.    Plaintiffs’ Complaint alleges that Renew Health Group, LLC is a
                                        23    California limited liability corporation with its principal place of business in
                                        24    Monrovia, California. Complaint ¶ 13. Therefore, Renew Health Group, LLC is a
                                        25    California citizen for diversity purposes.
                                        26          13.    As alleged in Plaintiffs’ Complaint, MedPro is an Indiana corporation
                                        27    with its principal place of business in Fort Wayne, Indiana, where it is
                                        28


                                                                                           -3-
                                             Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 4 of 124 Page ID #:4



                                         1    headquartered. Complaint ¶ 14. Therefore, MedPro is an Indiana citizen for
                                         2    diversity purposes.
                                         3           14.    MedPro is the only defendant served in this action. Doe defendants
                                         4    are disregarded when determining diversity jurisdiction for removal. 28 U.S.C. §
                                         5    1441(b)(1) (“In determining whether a civil action is removable on the basis of the
                                         6    jurisdiction under section 1332(a) of this title, the citizenship of defendants sued
                                         7    under fictitious names shall be disregarded.”)
                                         8           15.    As Plaintiffs are California citizens and Defendant is an Indiana
                                         9    citizen, the parties in this action are diverse.
                                        10           B.     Amount in Controversy
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                                        11           16.    To meet the 28 U.S.C. § 1332(a) amount in controversy threshold,
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                                        12    Plaintiffs must allege damages in excess of $75,000 at the time of removal.
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                                        13           17.    It is facially apparent from Plaintiffs’ Complaint that, while Defendant
                                        14    disputes Plaintiffs’ allegations and denies liability as to Plaintiffs’ claims, the
                                        15    amount in controversy exceeds $75,000, exclusive of interest and costs. Plaintiffs’
                                        16    Complaint asserts that Plaintiffs “have suffered damages in the millions of dollars,
                                        17    to be proven at trial” due to Defendant’s alleged conduct in not settling an
                                        18    underlying action filed against Plaintiffs entitled Linetskaya v. Orinda Care Center
                                        19    et al., Case No. C21-00589 (“Underlying Action”), pending in Contra Costa
                                        20    County Superior Court. Complaint ¶¶ 24-27, 54-55, 63. As alleged in Plaintiffs’
                                        21    Complaint, the Underlying Action alleges various forms of neglect and violation of
                                        22    patient’s rights by Plaintiffs and asserts causes of action against Plaintiffs for elder
                                        23    abuse and neglect, violation of Patient’s Bill of Rights under Title 22 of the
                                        24    California Code of Regulations, negligence and negligent infliction of emotional
                                        25    distress. Complaint ¶ 27. Plaintiffs’ Complaints alleges that in the Underlying
                                        26    Action, “the Linetskaya Plaintiffs sent a written Policy limits demand letter to
                                        27    Plaintiffs.” Complaint ¶ 39. See Budget Rent-A-Car v. Higashiguchi, 109 F.3d
                                        28    1471, 1473 (9th Cir. 1997) (“Because the applicability of Budget’s liability

                                                                                          -4-
                                             Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 5 of 124 Page ID #:5



                                         1    coverage to a particular occurrence is at issue, the amount in controversy is the
                                         2    value of the underlying potential tort action.”); Cohn v. Petsniart, Inc., 281 F.3d
                                         3    837, 840 (9th Cir. 2002) (holding settlement demand is relevant evidence of the
                                         4    amount in controversy).
                                         5          18.    Further, Plaintiffs’ Complaint alleges that Defendant breached the
                                         6    implied covenant of good faith and fair dealing by not settling the pending
                                         7    Underlying Action. Complaint ¶ 61. Plaintiffs claim that Defendant’s alleged
                                         8    conduct caused Plaintiffs to “have suffered, and continue to suffer, damages in the
                                         9    millions of dollars,” including incurring attorneys’ fees in this action that Plaintiffs
                                        10    claim are recoverable as damages. Complaint ¶¶ 63, 64. See Michal v. Safeco Ins.
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                                        11    Co. of Am., 2014 WL 12611298, at *1 (considering claim for attorneys’ fees sought
         DENTONS US LLP




                                        12    pursuant to Brandt v. Superior Court, 37 Cal. 3d 813 (1985) as alleged damages for
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                                        13    purposes of determining the amount in controversy).
                                        14          19.    Moreover, Plaintiffs’ Complaint asserts that Defendant’s alleged
                                        15    breach of the implied covenant of good faith and fair dealing was “willful” and
                                        16    “constitute[d] malice, oppression, and/or fraud,” and that Plaintiffs therefore are
                                        17    entitled to an award of punitive and exemplary damages against Defendant under
                                        18    California Civil Code Section 3294. Complaint ¶ 65. See Gibson v. Chrysler
                                        19    Corp., 261 F.3d 927, 945 (9th Cir. 2001) (“It is well established that punitive
                                        20    damages are part of the amount in controversy in a civil action.”) (citation omitted).
                                        21          20.    Consequently, as alleged in Plaintiffs’ Complaint, Plaintiffs’ claimed
                                        22    compensatory damages, punitive damages, and attorneys’ fees far exceed the
                                        23    jurisdictional threshold amount of $75,000.
                                        24                  NOTICE TO PLAINTIFF AND SUPERIOR COURT
                                        25          21.    Contemporaneously with the filing of this Notice of Removal in the
                                        26    United States District Court for the Central District of California, and pursuant to
                                        27    28 U.S.C. § 1446(d), written notice of this filing and any attendant supplementary
                                        28    papers required by this Court will be given to Plaintiffs, and a copy of the Notice of

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                                             Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 6 of 124 Page ID #:6



                                         1    Removal will be filed with the Clerk of the Court for the Superior Court of the State
                                         2    of California, County of Los Angeles.
                                         3                                      CONCLUSION
                                         4          22.    Pursuant to 28 U.S.C. § 1332(a), this Court has jurisdiction over this
                                         5    action under 28 U.S.C. §§ 1441 and 1446 because, for the reasons set forth above,
                                         6    the amount in controversy exceeds $75,000.00, exclusive of interest and costs, and
                                         7    there is diversity between Plaintiffs and Defendant who are citizens of different
                                         8    states and/or a foreign state.
                                         9          23.    Defendant, by filing this Notice of Removal, does not waive any
                                        10    defenses or objections available to it under the law. Defendant reserves the right to
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                                        11    amend or supplement this Notice of Removal.
         DENTONS US LLP




                                        12          WHEREFORE, Defendant requests that the above-captioned action pending
           (213) 623-9300




                                        13    in the Superior Court of the State of California for the County of Los Angeles, Case
                                        14    No. 21STCV38519, be removed to this Court.
                                        15

                                        16     Dated: December 3, 2021                DENTONS US LLP
                                        17

                                        18                                            By:
                                                                                                 Ronald D. Kent
                                        19
                                                                                      Attorneys for Defendant MEDPRO
                                        20
                                                                                      GROUP, INC.
                                        21

                                        22

                                        23

                                        24

                                        25

                                        26
                                        27

                                        28


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              EXHIBIT A
Electronically FILED by Superior Court of California, County of Los Angeles on 10/19/2021 05:36 PM Sherri R. Carter, Executive Officer/Clerk of Court, by H. Flores-Hernandez,Deputy Clerk
                              Case 2:21-cv-09419 Document 121STCV38519
                                                             Filed 12/03/21 Page 8 of 124 Page ID #:8                                                                              CM-010
            ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                             FOR COURT USE ONLY




                    TELEPHONE NO.:                                          FAX NO.:
            ATTORNEY FOR (Name):
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF
                   STREET ADDRESS:
                  MAILING ADDRESS:
                  CITY AND ZIP CODE:

                      BRANCH NAME:
               CASE NAME:
               Orinda Care Center, LLC, et al v. Medpro Group, Inc., et al
                                                                                                                                CASE NUMBER:
                  CIVIL CASE COVER SHEET                                       Complex Case Designation
                    Unlimited        Limited
                    (Amount          (Amount                     Counter              Joinder
                                                                                                   JUDGE:
                    demanded         demanded is          Filed with first appearance by defendant
                    exceeds $25,000) $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:

                                        Items 1–6 below must be completed (see instructions on page 2).
          1. Check one box below for the case type that best describes this case:
                 Auto Tort                                              Contract                                        Provisionally Complex Civil Litigation
                        Auto (22)                                             Breach of contract/warranty (06)          (Cal. Rules of Court, rules 3.400–3.403)
                        Uninsured motorist (46)                                Rule 3.740 collections (09)                     Antitrust/Trade regulation (03)
                 Other PI/PD/WD (Personal Injury/Property                      Other collections (09)                          Construction defect (10)
                 Damage/Wrongful Death) Tort                                   Insurance coverage (18)                         Mass tort (40)
                       Asbestos (04)                                          Other contract (37)                              Securities litigation (28)
                        Product liability (24)                          Real Property                                          Environmental/Toxic tort (30)
                        Medical malpractice (45)                              Eminent domain/Inverse                           Insurance coverage claims arising from the
                      Other PI/PD/WD (23)                                     condemnation (14)                                above listed provisionally complex case
                                                                              Wrongful eviction (33)                           types (41)
                 Non-PI/PD/WD (Other) Tort
                        Business tort/unfair business practice (07)      Other real property (26)                       Enforcement of Judgment
                        Civil rights (08)                           Unlawful Detainer                                          Enforcement of judgment (20)
                        Defamation (13)                                  Commercial (31)                                Miscellaneous Civil Complaint
                        Fraud (16)                                             Residential (32)                                RICO (27)
                        Intellectual property (19)                             Drugs (38)                                      Other complaint (not specified above) (42)
                        Professional negligence (25)                   Judicial Review                                  Miscellaneous Civil Petition
                      Other non-PI/PD/WD tort (35)                           Asset forfeiture (05)
                                                                                                                               Partnership and corporate governance (21)
                 Employment                                                    Petition re: arbitration award (11)
                                                                                                                               Other petition (not specified above) (43)
                      Wrongful termination (36)                                Writ of mandate (02)
                        Other employment (15)                                  Other judicial review (39)
          2. This case         is           is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management:
             a.       Large number of separately represented parties        d.      Large number of witnesses
             b.       Extensive motion practice raising difficult or novel  e.      Coordination with related actions pending in one or more courts
                      issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
             c.       Substantial amount of documentary evidence            f.      Substantial postjudgment judicial supervision

          3.     Remedies sought (check all that apply): a.       monetary b.          nonmonetary; declaratory or injunctive relief                                  c.         punitive
          4.     Number of causes of action (specify): Three (3) - See Attachment 1
          5.     This case         is         is not a class action suit.
          6.     If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
          Date: October 19. 2021
          Brian A. Procel (SBN 218657)
                                             (TYPE OR PRINT NAME)                                                     (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                          NOTICE
             • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                 under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                 in sanctions.
             •   File this cover sheet in addition to any cover sheet required by local court rule.
             •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                 other parties to the action or proceeding.
             •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                   Page 1 of 2
                                                                                                                                    Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
          Form Adopted for Mandatory Use
            Judicial Council of California
                                                                        CIVIL CASE COVER SHEET                                              Cal. Standards of Judicial Administration, std. 3.10
             CM-010 [Rev. July 1, 2007]                                                                                                                                   www.courtinfo.ca.gov
                    Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 9 of 124 Page ID #:9
                                                                                                                                       CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach–Seller                 Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case–Seller Plaintiff                    Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/
                Wrongful Death                                Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or              Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                      complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice–                           Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
                                                 Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip             Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                          Declaratory Relief Only
                                                         Writ of Possession of Real Property                 Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                      harassment)
          Negligent Infliction of                        Quiet Title
                Emotional Distress                                                                           Mechanics Lien
                                                         Other Real Property (not eminent
          Other PI/PD/WD                                                                                     Other Commercial Complaint
                                                         domain, landlord/tenant, or
                                                                                                                   Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer                                                (non-tort/non-complex)
         Practice (07)                               Commercial (31)
                                                                                                     Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                above) (43)
           (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                          Abuse
         Legal Malpractice                               Writ–Administrative Mandamus                        Election Contest
         Other Professional Malpractice                  Writ–Mandamus on Limited Court                      Petition for Name Change
              (not medical or legal)                         Case Matter                                     Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ–Other Limited Court Case                             Claim
Employment                                                   Review                                          Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal–Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                              Page 2 of 2
                                                     CIVIL CASE COVER SHEET
                 Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 10 of 124 Page ID #:10
                                                                                                                             MC-025
                                                                                             CASE NUMBER:
 SHORT TITLE:
     Orinda Care Center, LLC, et al v. Medpro Group, Inc., et al
                                                         ATTACHMENT (Number):         1 (One)
                                      (This Attachment may be used with any Judicial Council form.)




(If the item that this Attachment concerns is made under penalty of perjury, all statements in this          Page    3     of       3
Attachment are made under penalty of perjury.)
                                                                                                            (Add pages as required)
Form Approved for Optional Use
  Judicial Council of California
                                                            ATTACHMENT                                                www.courtinfo.ca.gov

  MC-025 [Rev. July 1, 2009]                           to Judicial Council Form
                            Case 2:21-cv-09419 Document 1 21STCV38519
                                                           Filed 12/03/21 Page 11 of 124 Page ID #:11
                                          Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Daniel Murphy


Electronically FILED by Superior Court of California, County of Los Angeles on 10/19/2021 05:36 PM Sherri R. Carter, Executive Officer/Clerk of Court, by H. Flores-Hernandez,Deputy Clerk


                           1 BRIAN A. PROCEL (State Bar No. 218657)
                             bprocel@millerbarondess.com
                           2 BRYAN R. REDFERN (State Bar No. 319648)
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                           3 MILLER BARONDESS, LLP
                             1999 Avenue of the Stars, Suite 1000
                           4 Los Angeles, California 90067
                             Telephone:    (310) 552-4400
                           5 Facsimile:    (310) 552-8400

                           6 Attorneys for Plaintiffs
                             ORINDA CARE CENTER, LLC and
                           7 RENEW HEALTH GROUP, LLC

                           8                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                           9                                   COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                          10

                          11 ORINDA CARE CENTER, LLC, a California                                            CASE NO. __________________________
                             limited liability company, and RENEW
                          12 HEALTH GROUP, LLC, a California limited                                          COMPLAINT FOR:
                             liability company,
                          13                                                                                        1. BREACH OF INSURANCE
                                              Plaintiffs,                                                              CONTRACT
                          14
                                      v.                                                                            2. BREACH OF THE IMPLIED
                          15                                                                                           COVENANT OF GOOD FAITH
                                                                                                                       AND FAIR DEALING
                          16 MEDPRO GROUP, INC., an Indiana                                                         3. VIOLATION OF BUSINESS AND
                             corporation, and DOES 1 through 10,                                                       PROFESSIONS CODE SECTIONS
                          17 inclusive,                                                                                17200 ET SEQ.
                          18                            Defendants.                                                 4. DECLARATORY RELIEF

                          19                                                                                  DEMAND FOR JURY TRIAL

                          20                                                                                  Action Filed:               October 19, 2021

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 1              Plaintiffs Orinda Care Center, LLC, a California limited liability company, and Renew

 2 Health Group, LLC, a California limited liability company (collectively, “Plaintiffs”), allege in

 3 this Complaint against MedPro Group, Inc. and DOES 1-10 (collectively, “Defendants”) as

 4 follows:

 5                             NATURE OF ACTION AND RELIEF SOUGHT
 6              1.     This action arises out of Defendant MedPro Group’s (“MedPro”) bad faith in

 7 connection with the settlement of an underlying lawsuit. MedPro is the insurer of Plaintiffs.

 8 MedPro’s obligations are set forth in a written policy (“the Policy”) taken out by Plaintiffs with a

 9 $1 million per event limit of liability and a $3 million aggregate limit of liability.

10              2.     On March 26, 2021, Lyudmila Linetskaya, a resident at Orinda Care Center, and

11 her daughter, Regina Linetskaya (the “Linetskaya Plaintiffs”), filed an action in Contra Costa

12 Superior Court, entitled Linetskaya v. Orinda Care Center, LLC et. al., Case No. C21-00589 (the

13 “Underlying Action”). Linetskaya accused Orinda Care Center of various forms of neglect and

14 violations of patient’s rights. These alleged injuries resulted from the shortage of staff and overall

15 strain placed on Orinda Care Center by the COVID-19 pandemic.

16              3.     The Policy was intended to provide security against the type of risk presented by

17 the Underlying Action.

18              4.     Plaintiffs timely tendered their Claim for the Underlying Action to MedPro. At
19 first, MedPro argued that the Policy did not provide any coverage for the Claim. Upon Plaintiffs

20 pointing out that the Claim was clearly covered by the Policy, MedPro reversed its position and

21 agreed to defend Plaintiffs under a reservation of rights. However, MedPro continued its attempts

22 to evade its obligations, asserting that although it had a duty to defend Plaintiffs, it did not have a

23 duty to indemnify Plaintiffs in the Underlying Action. This position was also clearly erroneous.

24 After Plaintiffs objected, MedPro again reversed course, this time claiming that while it has a duty

25 to defend and indemnify Plaintiffs, it disputes whether there is any liability in the Underlying

26 Action.
27              5.     MedPro’s inconsistent and wavering positions make clear that Defendants have not

28 conducted any real analysis regarding the defenses they are relying on to avoid their obligations

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 1 under the Policy. Rather than standing by its insured, Defendants have continued to delay and

 2 slow settlement discussions for MedPro’s own benefit, to the detriment of Plaintiffs.

 3              6.    To avoid the risk of an adverse jury verdict, Plaintiffs have pleaded with MedPro to

 4 settle the Underlying Action. Yet Defendants continue to posture, delay, and take untenable

 5 positions to frustrate Plaintiffs from receiving the benefits of their insurance coverage.

 6              7.    The Linetskaya Plaintiffs’ most recent settlement demand was within the Policy

 7 limits. However, by refusing to meaningfully evaluate the claims in the Underlying Action,

 8 MedPro continues to prevent the settlement process from progressing.

 9              8.    Defendants are stalling. They are doing so as a tactic—to see if they can withdraw

10 coverage completely. This is the epitome of bad faith, where a carrier favors its interests over

11 those of its insured and seeks to evade its obligations under the policy.

12              9.    Plaintiffs are informed and believe that Defendants’ conduct is not limited to

13 Defendants’ evaluation of Plaintiffs’ particular claim. MedPro has a pattern and practice of

14 delaying and denying meritorious claims of its policyholders. MedPro’s pattern and practice is

15 specifically designed by MedPro to earn illicit profits at the expense of its policyholder’s rights.

16 This ongoing pattern of conduct constitutes institutional bad faith.

17              10.   In order to prove that Defendants’ improper conduct is part of a widespread pattern

18 and practice undertaken by MedPro, Plaintiffs will seek discovery of all insureds whose claims
19 were denied by MedPro or for whom MedPro refused to indemnify under similar circumstances.

20 See Colonial Life & Accident Ins. Co. v. Superior Court (1982) 31 Cal. 3d 785, 790-793.

21              11.   Plaintiffs seek damages in an amount to be proven at trial for Defendants’ (1)

22 breach of contract, (2) breach of the implied covenant of good faith and fair dealing, and (3)

23 violation of California Business and Professions Code sections 17200 et seq. Plaintiffs also seek

24 (4) an order and judgment declaring that the Policy’s $3 million aggregate limit applies to separate

25 claims resulting from COVID-19.

26                                                 PARTIES
27              12.   Orinda Care Center, LLC is a California limited liability corporation based in

28 Monrovia, California that operates a skilled nursing facility in Orinda, California.

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 1              13.   Renew Health Group, LLC is a California limited liability corporation based in

 2 Monrovia, California. Renew Health Group, LLC operates multiple skilled nursing facilities

 3 throughout California, including Orinda Care Center.

 4              14.   MedPro Group, Inc. is an Indiana corporation, with its headquarters in Fort Wayne,

 5 Indiana, that conducts substantial business in the State of California.

 6              15.   Plaintiffs are ignorant of the true names and capacities of the additional defendants

 7 named herein as Does 1-10, inclusive, and therefore sue such additional defendants by such

 8 fictitious names. Plaintiffs will amend this Complaint to allege the true names and capacities of

 9 those additional defendants if and when they have been ascertained. Plaintiffs are informed and

10 believe, and on that basis allege, that each of the additional defendants sued herein as Does 1-10,

11 inclusive, is responsible in some manner for the occurrences and damages alleged herein.

12              16.   Plaintiffs are informed and believe, and on that basis allege, that except as

13 otherwise alleged herein, each of the defendants is, and at all times relevant to this Complaint was,

14 the agent, employer, partner, joint venturer, alter ego, and/or affiliate of the other defendants and,

15 in doing the things alleged herein, was acting within the course and scope of such positions at the

16 direction of, and/or with the permission, knowledge, consent, and/or ratification of the other

17 defendants.

18                                      JURISDICTION AND VENUE
19              17.   This Court has jurisdiction over the claims alleged herein because Plaintiffs seek

20 relief pursuant to the laws of the State of California for the acts and omissions and /or transactions

21 which occurred, in part, in Los Angeles County; and the amount in controversy exceeds $25,000.

22                                       FACTUAL ALLEGATIONS
23 The Insurance Policy

24              18.   Plaintiffs purchased from MedPro a Senior Care Liability Policy, number

25 NSC100432. Orinda Care Center, LLC is the named insured under the Policy. The Policy was

26 effective from February 15, 2020 to February 15, 2021 (the “Policy Period”). The aggregate limit
27 of liability for Professional Liability coverage under the Policy is $3 million with a $1 million

28 limit of liability for single claims. A true and correct copy of the Policy is attached hereto as

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 1 Exhibit A.

 2              19.   At all times, Plaintiffs have paid all premiums on the Policy as they became due

 3 and payable, and have duly complied with all material conditions in the Policy, except for those

 4 conditions which have been waived or excused by Defendants.

 5 The Underlying Action

 6              20.   In or around April 1, 2020, Orinda Care Center experienced an outbreak of

 7 COVID-19 among many of its patients and staff.

 8              21.   While the Policy was in full force and effect, in or around April 13, 2020,

 9 Lyudmila Linetskaya, a patient at Orinda Care Center, contracted COVID-19. Plaintiffs

10 subsequently reported Ms. Linetskaya’s diagnosis as a Potential Claim1 to MedPro in or around

11 April 23, 2020.

12              22.   In addition to Ms. Linetskaya’s COVID-19 diagnosis, the Potential Claim also
13 detailed numerous comorbidities and health issues Ms. Linetskaya faced, which put her health at

14 greater risk.

15              23.   As a result of the COVID-19 pandemic, Orinda Care Center experienced a severe

16 staffing shortage that impacted its ability to provide care to its patients, including Ms. Linetskaya.

17              24.   Following her COVID-19 diagnosis, Ms. Linetskaya was hospitalized in July 2020

18 and, among other conditions, she was diagnosed with sepsis, aspiration pneumonia, and a urinary
19 tract infection. Ms. Linetskaya was hospitalized again in August 2020, as a result of acute

20 metabolic encephalopathy and sepsis, as well as a urinary tract infection associated with an

21 indwelling Foley Catheter. These alleged injuries were the result of the conditions caused by the

22 ongoing COVID-19 pandemic.

23              25.   On March 30, 2021, the Linetskaya Plaintiffs filed a complaint against Plaintiffs

24 Orinda Care Center, LLC and Renew Health Group LLC, as well as Orinda Care Center and

25 Crystal Solorzano, in Contra Costa County Superior Court, captioned: Linetskaya v. Orinda Care

26 Center el al, Case Np. C21-00589.
27
     1
28       Words in bold are defined terms in the Policy.

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 1              26.   In the Underlying Action, the Linetskaya Plaintiffs allege that Ms. Linetskaya

 2 suffered various injuries while she was a patient at Orinda Care Center, as a result of inadequate

 3 care and understaffing. The conditions giving rise to the alleged injuries have resolved and Ms.

 4 Linetskaya currently remains as a patient at Orinda Care Center.

 5              27.   The Underlying Action seeks damages for four causes of action: i) Elder

 6 Abuse/Neglect; ii) Violation of Patient’s Bill of Rights under Title 22 of the California Code of

 7 Regulations; iii) Negligence; and iv) Negligent Infliction of Emotional Distress.

 8              28.   The Underlying Action constitutes a Claim as defined under the Policy, thus
 9 warranting coverage under the Policy.

10 Initial Denial of Coverage

11              29.   Plaintiffs timely provided notice of, and tendered, the Underlying Action to

12 MedPro.

13              30.   On July 29, 2021, MedPro sent a letter to Plaintiffs denying any coverage for a

14 defense or indemnity. To support its declination of coverage, MedPro erroneously claimed that

15 the claim was not made and/or reported during the Policy Period.

16              31.   Plaintiffs informed MedPro that it had in fact provided notice of a Potential Claim
17 in April 2020, when it reported Ms. Linetskaya’s COVID-19 diagnosis and underlying health

18 conditions to MedPro.
19              32.   The Policy expressly provides that when the insured provides notice of a Potential
20 Claim, which later turns into an actual Claim, coverage is triggered and falls back to the date of

21 the original notice.

22              33.   In spite of the clear language of the Policy, MedPro refused to revaluate its position

23 on coverage or provide any defense to Plaintiffs.

24              34.   The first mediation for the Underlying Action took place on August 16, 2020.

25 MedPro refused to participate in, or even attend, the mediation.

26              35.   In response to MedPro’s outrageous position on coverage, Plaintiffs sent MedPro a
27 demand letter requesting that they reconsider their position and provide settlement authority

28 within Policy limits.

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 1              36.   On August 30, 2021, MedPro reversed its initial decision and indicated that it

 2 would provide limited coverage under a reservation of rights. However, MedPro still maintained

 3 that it was not obligated to pay for any claims unrelated to Ms. Linetskaya contracting COVID-19

 4 in April 2020.

 5              37.   Plaintiffs sent MedPro another letter explaining that all of the allegations in the

 6 Underlying Action constituted the same Claim under the express terms of the Policy, and that

 7 MedPro was not entitled to pick and choose the specific injuries it would cover.

 8              38.   A Mandatory Settlement Conference in the Underlying Action was held on

 9 September 9, 2021. Although a MedPro representative attended the conference, MedPro did not

10 provide any settlement authority.

11 Failure to Settle

12              39.   On that same day, counsel for the Linetskaya Plaintiffs sent a written Policy limits

13 demand letter to Plaintiffs’ counsel in the Underlying Action. The Linetskaya Plaintiffs requested

14 that MedPro pay the remaining balance left on the Policy towards the settlement.

15              40.   In that same letter, counsel for the Linetskaya Plaintiffs explained that the Policy

16 limits demand would expire on September 22, 2021, and in the event the offer was not accepted,

17 the Linetskaya Plaintiffs would increase their demand beyond the Policy limits to account for

18 increased litigation costs.
19              41.   Plaintiffs expressed their desire to settle the Underlying Action to MedPro.

20              42.   On or around September 19, 2021, MedPro responded to the written Policy limits

21 demand, refusing to pay the balance under the Policy towards the settlement offer.

22              43.   MedPro’s position is unreasonable and not made in good faith. At the time of the

23 Policy limits demand, the entire amount of Policy limit remained intact. What’s more, Plaintiffs

24 informed Defendants that if the Underlying Action did not settle, litigation costs could exceed the

25 Policy limit. Yet, MedPro refused to pay, or even consider, a reasonable settlement within Policy

26 limits. By doing so, Defendants have left their insured in a lurch—facing potential liability
27 beyond the limits of the Policy—instead of engaging in reasonable settlement discussions that

28 could have resolved the case within the Policy limits.

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 1              44.   MedPro’s conduct violates California law which requires that an “insurer must

 2 settle within policy limits when there is substantial likelihood of recovery in excess of those limits.

 3 The duty to settle is implied in law to protect the insured from exposure to liability in excess of

 4 coverage as a result of the insurer’s gamble—on which only the insured might lose.” Murphy v.

 5 Allstate Ins. Co., 17 Cal. 3d 937, 941 (1976). “[T]he only permissible consideration in evaluating

 6 the reasonableness of the settlement offer becomes whether, in light of the victim’s injuries and

 7 the probable liability of the insured, [an] ultimate judgment is likely to exceed the amount of the

 8 settlement offer. Such factors as the limits imposed by the policy, a desire to reduce the amount of

 9 future settlements, or a belief that the policy does not provide coverage, should not affect a

10 decision as to whether the settlement offer in question is a reasonable one.” Johansen v. Cal State

11 Auto. Ass’n Inter-Ins. Bureau, 15 Cal. 3d 9, 16 (1975). An insurer that fails to accept a settlement

12 offer within policy limits will be held liable in tort for the entire judgment against the insured,

13 even if that amount exceeds the policy limits. Hamilton v. Maryland Cas. Co., 27 Cal. 4th 718,

14 725 (2002).

15 Defendants Stall Settlement Discussions in Bad Faith

16              45.   An additional Mandatory Settlement Conference was held on September 20, 2021.

17 Ahead of the Conference, MedPro sent a letter to Plaintiffs reiterating its position that the Policy

18 only covered claims resulting from injuries relating to Ms. Linetskaya’s COVID-19 diagnosis.
19              46.   MedPro’s letter also reiterated its position that all COVID-19-related injuries at

20 Orinda Care Center constitute a single claim, subject to the $1 million per event limit of the

21 Policy, as opposed to the $3 million aggregate limit. Attempting to define all injuries related to

22 COVID-19 as a single Claim is yet another attempt by MedPro to impermissibly protect itself at

23 the expense of the insured.

24              47.   As a result of MedPro’s refusal to recognize its duty to indemnify the insured for

25 the claims at issue in the Underlying Action, Plaintiffs have been unable to successfully settle the

26 Underlying Action.
27              48.   MedPro has come up with an improper settlement position to save money and

28 avoid its contractual and legal duties to its insured. This conduct is in violation of its duty to

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 1 engage in good faith and fair dealing with Plaintiffs and established California law.

 2               49.   As a result of MedPro’s refusal to settle, Plaintiffs have been forced to incur

 3 additional litigation costs as the Underlying Action progresses.

 4               50.   By refusing the Policy limits demand, and engaging in other misconduct as

 5 discussed herein, Defendants engaged in bad faith and opened up the Policy.

 6                                        FIRST CAUSE OF ACTION
 7                        (Breach Of Insurance Contract – Against All Defendants)
 8               51.   Plaintiffs repeat and re-allege all of the foregoing and subsequent allegations and

 9 incorporate them by reference, as though set forth in full.

10               52.   The Policy is a written insurance contract between Plaintiffs and Defendants.

11               53.   Plaintiffs have performed all covenants and conditions required under the Policy,

12 including, but not limited to, the provisions of timely notice of the Underlying Action. All

13 premiums due under the Policy have been paid in full.

14               54.   Defendants breached the Policy by refusing to authorize a reasonable settlement of

15 the Underlying Action within Policy limits.

16               55.   As a direct and proximate result of the conduct of Defendants, Plaintiffs have

17 suffered damages in the millions of dollars, to be proven at trial.

18                                       SECOND CAUSE OF ACTION
19              (Breach Of The Implied Covenant Of Good Faith And Fair Dealing – Against All
20                                                  Defendants)
21               56.   Plaintiffs repeat and re-allege all of the foregoing and subsequent allegations and

22 incorporate them by reference, as though set forth in full.

23               57.   Implied in every contract of insurance is a covenant of good faith and fair dealing

24 which obligates insurers (Defendants) to act at all times in good faith towards their insureds

25 (Plaintiffs).

26               58.   Defendants acted without proper cause and in violation of their duties under the
27 implied covenant of good faith and fair dealing.

28               ///

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 1              59.   Plaintiffs reasonably expected that Defendants would deal with Plaintiffs fairly,

 2 equitably, and in good faith.

 3              60.   Plaintiffs’ expectations were brought about and intended by Defendants as a result

 4 of, inter alia, the contractual language in the Policy.

 5              61.   Defendants breached their duties under the implied covenant of good faith and fair

 6 dealing by stalling settlement negotiations for their own benefit and to the detriment of Plaintiffs.

 7              62.   Plaintiffs allege that the motivation for Defendants’ bad faith is to save money that

 8 will have to be paid by Plaintiffs and unfairly maximize Defendants’ own profits at the expense of

 9 Plaintiffs.

10              63.   As a direct and proximate result of Defendants’ breach of the implied covenant of

11 good faith and fair dealing contained in the Policy, Plaintiffs have suffered, and continue to suffer,

12 damages in the millions of dollars, to be proven at trial.

13              64.   Defendants’ breach of the covenant of good faith and fair dealing required

14 Plaintiffs to incur costs, expenses and attorneys’ fees in obtaining the contractual benefits to which

15 they are entitled under the Policy, including the costs, expenses and attorneys’ fee incurred in the

16 instant action. These fees continue to accrue as the Underlying Action proceeds and as Plaintiffs

17 prosecute this action.

18              65.   Defendants’ conduct, described hereinabove, was intended to cause injury to
19 Plaintiffs and constituted despicable conduct carried on by Defendants in willful and conscious

20 disregard of Plaintiffs’ rights such as to constitute malice, oppression and/or fraud as defined by

21 Section 3294 of the California Civil Code, thereby entitling Plaintiffs to punitive and exemplary

22 damages.

23                                          THIRD CAUSE OF ACTION
24                        (Violation of Unfair Competition Law – Against All Defendants)
25              66.   Plaintiffs repeat and re-allege all of the foregoing and subsequent allegations and

26 incorporate them by reference, as though set forth in full.
27              67.   The Unfair Competition Law (“UCL”), California Business and Professions Code

28 sections 17200 et seq., prohibits any person from engaging in unfair competition as that term is

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 1 defined in California Business and Professions Code section 17200, which includes any

 2 “unlawful, unfair or fraudulent business act or practice,” “unfair, deceptive, untrue or misleading

 3 advertising,” and any act prohibited by Chapter 1 (commencing with section 17500) of Part 3 of

 4 Division 7 of the California Business and Professions Code.

 5              68.   Defendants’ acts and practices alleged herein, including, among other things,

 6 improperly denying Plaintiffs’ initial claim, refusing to honor MedPro’s duty to indemnify

 7 Plaintiffs, and refusing to authorize a reasonable settlement of the Underlying Action within

 8 Policy limits, constitute unlawful, fraudulent, and/or unfair business acts and practices within the

 9 meaning of the UCL and California common law. Such conduct is ongoing and continues to this

10 date.

11              69.   Defendants have a pattern and practice of engaging in unfair, fraudulent and

12 unlawful business practices. Defendants will continue to engage in this wrongful conduct unless

13 they are enjoined from doing so by the Court.

14              70.   As a result of Defendants’ unlawful, fraudulent, unfair, and deceptive business

15 practices, Plaintiffs have been deprived of the benefits of coverage under the Policy, and have

16 failed to receive the full benefits to which they are entitled under the Policy. Plaintiffs have a

17 vested interest in the benefits due under the Policy because one or more claims have arisen which

18 trigger coverage under the Policy, and Plaintiffs have tendered their claim under the Policy to
19 MedPro.

20              71.   Pursuant to California Business and Professions Code sections 17203 and 17204,

21 Plaintiffs are empowered to compel Defendants to restore to Plaintiffs the money and property that

22 Defendants acquired as a result of any act which constitutes unfair competition.

23              72.   Plaintiffs further seek an injunction preventing Defendants from engaging in these

24 unfair, fraudulent and unlawful business practices going forward.

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 1                                            FOURTH CAUSE OF ACTION
 2                    (Declaratory Judgment Cal. Code. Civ. Proc. Section 1060, et seq. – Against All
 3                                                        Defendants)
 4              73.      Plaintiffs repeat and re-allege all of the foregoing and subsequent allegations and

 5 incorporate them by reference, as though set forth in full.

 6              74.      An actual controversy has arisen and now exists between Plaintiffs and Defendants

 7 concerning their respective rights and duties in relation to the Policy limits that are applicable to

 8 injuries resulting from COVID-19 at Orinda Care Center. MedPro contends that all COVID-19-

 9 related injuries constitute a single Healthcare Event, and therefore any resulting Claims are

10 subject to the per event Policy limit of $1 million, as opposed to the aggregate Policy limit of $3

11 million. The categorization of all COVID-19-related injuries as a single Claim undercuts the

12 purpose of the Policy, and is part of MedPro’s ongoing scheme to save money at the expense of its

13 insured. As such, Plaintiffs desire a judicial determination regarding the meaning of the Policy

14 and a declaration as to whether Defendants may legally consider all COVID-19-related injuries as

15 a single Claim under the Policy.

16              75.      Resolution of the duties, responsibilities, and obligations of the parties is necessary

17 as no adequate remedy at law exists and a declaration of the Court is needed to resolve the dispute

18 and controversy. Absent such declaratory relief, Plaintiffs will suffer irreparable harm and be
19 deprived of the full protection and benefits offered by the Policy.

20              76.      The issuance of declaratory relief determining whether Defendants may treat all

21 COVID-19-related injuries as a single claim for purposes of setting a Policy Limit will confer

22 significant benefit not only to Plaintiffs, but to the general public at large, as Defendants (and

23 likely other insurance carriers) have taken this position on other claims involving COVID-19-

24 related injuries. As such, in the interests of justice, Plaintiffs are entitled to recover reasonable

25 attorney’s fees and costs pursuant to Cal. Code. Civ. Proc. Section 1021.5.

26              ///
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 1                                          PRAYER FOR RELIEF
 2              WHEREFORE, Plaintiffs respectfully pray for the following relief:

 3              1.     An award of actual and compensatory damages in the millions of dollars, to be

 4 determined at trial;

 5              2.     An award of exemplary and punitive damages;

 6              3.     An award of pre- and post-judgment interest at the maximum rate permitted by law;

 7              4.     An award for costs of the suit and litigation expenses, including attorneys’ fees;

 8 and

 9              5.     Such other and further relief as the Court deems just and appropriate.

10

11 DATED: October 19, 2021                        MILLER BARONDESS, LLP

12

13
                                                  By:
14                                                        BRIAN A. PROCEL
                                                          Attorneys for Plaintiffs
15                                                        ORINDA CARE CENTER, LLC and
                                                          RENEW HEALTH GROUP, LLC
16

17

18                                       DEMAND FOR JURY TRIAL

19              Plaintiffs Orinda Care Center, LLC and Renew Health Group, LLC demand a trial by jury.

20

21 DATED: October 19, 2021                        MILLER BARONDESS, LLP

22

23                                                By:
24                                                        BRIAN A. PROCEL
                                                          Attorneys for Plaintiffs
25                                                        ORINDA CARE CENTER, LLC and
                                                          RENEW HEALTH GROUP, LLC
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 1                         INDEX OF EXHIBITS TO THE COMPLAINT
 2    Ex. No.                                Description                                Pg. No.
 3       A.     Orinda Care Center, LLC’s MedPro Senior Care Liability policy, Policy   15-104
                No. NSC100432, dated February 15, 2020
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         EXHIBIT A




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                                                                                               Medical Protective
                                                                                               Princeton Insurance Company
                                                                                               PLICO
                                                                                               MedPro RRG




4/6/2020


ORINDA CARE CENTER, LLC
107 W LEMON AVE
MONROVIA, CA 91016


     Re: Policy Number NSC100432


Thank you for trusting us to protect your assets and reputation. Enclosed please find your policy
underwritten by National Fire & Marine Insurance Company.
MedPro Group, a Berkshire Hathaway company, offers our insureds:
     •    Peace of Mind: Unsurpassed financial strength ratings of A++ (Superior) from A.M. Best and
          AA+ from Standard and Poor’s combined with the strongest defense of claims
     •    Expertise: Innovative resident safety and risk solutions
     •    Choice: Customized insurance solutions across the healthcare continuum – nationwide
We encourage you to visit our Senior Care website and Risk Management Resource Center
(www.medpro.com/seniorcare) to access information regarding the latest risk concerns and
recommended strategies to help promote resident safety and satisfaction.
Please direct notice of claims in accordance with the reporting requirements of this policy as follows:
     Via Email:       reportaclaim@medpro.com
     Via Mail:        Medical Protective
                      Attn: First Claim Reports
                      5814 Reed Road
                      Fort Wayne, IN 46835
Our claim experts are prepared to work with you to resolve any claim-related issues. Please feel free
to contact 800-4MedPro (800-463-3776) to be connected to your claims representative who will be
able to address questions or concerns about a claim involving this policy.
Sincerely,




Tim Kenesey
President and CEO

A.M. Best rating as of 05/27/2015. S&P rating as of 08/06/2015. MedPro Group is the marketing name used to refer to the
insurance operations of The Medical Protective Company, Princeton Insurance Company, PLICO, Inc. and MedPro RRG Risk
Retention Group. All insurance products are administered by MedPro Group and underwritten by these and other Berkshire
Hathaway affiliates, including National Fire & Marine Insurance Company, all of which have earned financial strength ratings of
A++ from A.M. Best. Visit www.medpro.com/affiliates for more information. © 2016 MedPro Group Inc. All Rights Reserved.



                                                                                                                    polltrins-SC_20160405

    5814 Reed Road Fort Wayne, IN 46835                           I   800-4MedPro          I   www.medpro.com
                 Hospitals   I Facilities I Senior Care I Doctors I Other       Hea lthcare Professionals
                                                                                                                       Page 16 of 104
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             California Surplus Lines Warning Statement


Notice:
1. The insurance policy that you have purchased is being issued by
an insurer that is not licensed by the state of California. These
companies are called “nonadmitted” or “surplus line” insurers.

2. The insurer is not subject to the financial solvency regulation and
enforcement that apply to California licensed insurers.

3. The insurer does not participate in any of the insurance guarantee
funds created by California law. Therefore, these funds will not pay
your claims or protect your assets if the insurer becomes insolvent
and is unable to make payments as promised.

4. The insurer should be licensed either as a foreign insurer in
another state in the United States or as a non-United States (alien)
insurer. You should ask questions of your insurance agent, broker,
or “surplus line” broker or contact the California Department of
Insurance at the following toll-free telephone number (800) 927-
4357, or internet website www.insurance.ca.gov. Ask whether or not
the insurer is licensed as a foreign or non-United States (alien)
insurer and for additional information about the insurer. You may
also contact the NAIC's internet web site at www.naic.org.

5. Foreign insurers should be licensed by a state in the United States
and you may contact that state's department of insurance to obtain
more information about that insurer.

6. For non-United States (alien) insurers, the insurer should be
licensed by a country outside of the United States and should be on
the NAIC's International Insurers Department (IID) listing of
approved nonadmitted non-United States insurers. Ask your agent,
broker, or “surplus line” broker to obtain more information about
that insurer.
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7. California maintains a list of approved surplus line insurers. Ask
your agent or broker if the insurer is on that list, or view that list at
the internet web site of the California Department of Insurance:
www.insurance.ca.gov.

8. If you, as the applicant, required that the insurance policy you
have purchased be bound immediately, either because existing
coverage was going to lapse within two business days or because
you were required to have coverage within two business days, and
you did not receive this disclosure form and a request for your
signature until after coverage became effective, you have the right
to cancel this policy within five days of receiving this disclosure. If
you cancel coverage, the premium will be prorated and any broker's
fee charged for this insurance will be returned to you.



This insurance is issued pursuant to the CA INS § 1760 through CA. INS §
1780, and is placed in an insurer or insurers not holding a Certificate of
Authority from or regulated by the California Insurance Commissioner.




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                                      SENIOR CARE LIABILITY POLICY
                                             DECLARATIONS

                                           NOTICE:
  This policy may contain claims-made and reported coverage. Please read this policy carefully.


ISSUING COMPANY: National Fire & Marine Insurance Company, as administered by a MedPro Group company
                 Omaha, Nebraska

POLICY NUMBER:          NSC100432

 ITEM 1     FIRST NAMED INSURED:              Orinda Care Center, LLC
            ADDRESS:                          107 W Lemon Ave
                                              Monrovia, CA 91016
                                              D Administrative First Named Insured
 ITEM 2     POLICY PERIOD:                    From 02/15/2020 to 02/15/2021 both days at 12:01 a.m. at the address of
                                              the First Named Insured stated herein.
 ITEM 3     COVERAGE PARTS SELECTED:
            (please refer to the applicable Schedule of Named Insureds for detailed Retroactive Dates, Limits of Liability,
            Retentions, etc.)
                Professional Liability:                                                Claims-Made and Reported
                General Liability:                                                     Claims-Made and Reported
                    Employee Benefits Liability:                                       Claims-Made and Reported
                Cyber Liability and Breach Response:                                   Claims-Made and Reported
 ITEM 4     RETROACTIVE DATE:
                Professional Liability:                                                02/15/2015
                General Liability:                                                     02/15/2015
                    Employee Benefits Liability:                                       02/15/2015
                Cyber Liability and Breach Response:                                   02/15/2018
                All days at 12:01 a.m. at the address of the First Named Insured stated herein.
 ITEM 5     LIMITS OF LIABILITY:
                Professional Liability:
                    Per Event Limit                                                    $1,000,000
                    Aggregate Limit                                                    $3,000,000
                    Claims Expenses                                                    Defense Outside Limits


                General Liability:
                    Per Event Limit                                                    $1,000,000
                    General Aggregate Limit                                            $3,000,000
                    Products Completed Operations Hazard Aggregate Limit               $3,000,000
                    Personal and Advertising Injury Limit                              $1,000,000 Each Person
                    Damage to Premises Rented to an Insured                            $200,000 Any One Premises


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                   Medical Expense Limit                                             $5,000 Each Person
                   Claims Expenses                                                   Defense Outside Limits


                   Employee Benefits Liability:
                   Employee Benefits Liability Per Event Limit                       $1,000,000
                   Employee Benefits Liability Aggregate Limit                       $3,000,000
                   Claims Expenses                                                   Defense Outside Limits


               Cyber Liability and Breach Response:
                   Coverage A - Multimedia Liability                                 $100,000 each claim/aggregate
                   Coverage B - Security and Privacy Liability                       $100,000 each claim/aggregate
                   Coverage C - Privacy Regulatory Defense and Penalties             $100,000 each claim/aggregate
                   Coverage D - Privacy Breach Response Costs, Customer
                   Notification Expenses, and Customer Support and Credit
                   Monitoring Expenses                                               $100,000 each claim/aggregate
                   Coverage E - Network Asset Protection                             $100,000 each claim/aggregate
                   Coverage F - Cyber Extortion                                      $100,000 each claim/aggregate
                   Coverage G - Cyber Terrorism                                      $100,000 each claim/aggregate
                   Coverage H - Regulatory Proceeding                                $100,000 each claim/aggregate
                   Coverage I - Evacuation Expense Reimbursement                     $100,000 each claim/aggregate
                   Coverage J - Disinfection Expense Reimbursement                   $100,000 each claim/aggregate
                   Coverage K - Public Relations Expense Reimbursement               $100,000 each claim/aggregate
                   Coverage L - E-Discovery Claim Expenses and E-Discovery
                   Regulatory Investigation Expenses                                 $100,000 each claim/aggregate
                   Coverage M - Data Protection Reputational Harm                    $100,000 each claim/aggregate
                   Aggregate Limit                                                   $100,000
                   Claims Expenses                                                   Defense Within Limits
 ITEM 6     RETENTION:
               Professional Liability:                      $50,000 Per Event / $Nil Aggregate
                                                            Deductible - Loss and Claims Expense
               General Liability:                           $50,000 Per Event / $Nil Aggregate
                                                            Deductible - Loss and Claims Expense
                   Employee Benefits Liability:             $1,000 Per Event / $Nil Aggregate
                                                            Deductible - Loss Only
               Cyber Liability and Breach Response:         $Nil Each Claim Self-Insured Retention
                                                            8 hours’ Time Retention (Coverages E.2. and G)
                                                            180 consecutive days Period of Indemnity (Coverage M)
 ITEM 7     PREMIUM:
               Policy Premium                                                        $89,915
               Terrorism Premium (TRIA)                                              Declined
               Total Premium                                                         $89,915
            (Does not include any applicable surplus lines taxes, which must be collected by the producer.)


 ITEM 8     FORMS & ENDORSEMENTS: Refer to attached Schedule of Forms and Endorsements


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 ITEM 9     PRODUCER:                        AmWINS Insurance Brokerage of California LLC
            ADDRESS:                           21550 Oxnard St Ste 1100
                                               Woodland Hills, CA 91367
 ITEM 10    SERVICE OF SUIT: Service of process in any lawsuit or mandated alternative dispute resolution (ADR)
            proceeding instituted against the company shall be made upon: General Counsel, National Fire & Marine
            Insurance Company, 1314 Douglas Street, Omaha, Nebraska 68102-1944. The General Counsel is authorized
            and directed to accept service of process on behalf of the company in any suit or ADR proceeding. Further,
            pursuant to any law which makes provision therefore, the company hereby designates the Superintendent,
            Commissioner, Director of Insurance, deputy, or department employee specified as attorney or agent for receipt
            of lawful service of process or ADR proceeding instituted by or on behalf of the insured or any beneficiary within
            this contract. Additionally, the General Counsel is hereby authorized as the company’s designee upon whom the
            service of process may be served.

IN WITNESS WHEREOF, National Fire & Marine Insurance Company has caused this policy to be signed by its President
(and countersigned by its duly Authorized Representative, where necessary).



                          President


Countersigned By:                                                     Date:




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                                                                                                  Issuing Company:
                                                                         National Fire & Marine Insurance Company
                                                                                                  Omaha, Nebraska


Forming Part of Policy No.:            NSC100432
Issued to:                             Orinda Care Center, LLC
Policy Period:                         From 02/15/2020 to 02/15/2021 at 12:01 a.m. at the address of the First Named
                                       Insured stated herein.


                                   SCHEDULE OF FORMS AND ENDORSEMENTS


Forms and Endorsements attached to this Policy:


                                                                                                             ENDORSEMENT
  FORM NAME                                                                        FORM NUMBER                 NUMBER
  Senior Care Liability Policy - Declarations                                      0001-PXS-00-0618
  Schedule of Forms and Endorsements                                               0002-PXX-00-1215
  Schedule of Named Insureds - Senior Care                                         0004-PXS-00-1215
  Schedule of Named Insureds – Insured Locations-Senior Care                       0005-PXS-00-0317
  Schedule of Trade, Fictitious and/or Business Names                              0009-PXX-00-1215
  Senior Care Liability Policy Common Policy Provisions And Conditions             0010-PXS-00-1215
  Senior Care Liability Policy Professional Liability Coverage Part                0011-PPS-00-1215
  Senior Care Liability Policy General Liability Coverage Part                     0012-PGS-00-1215
  Senior Care Liability Policy Cyber Liability And Breach Response Coverage Part   0013-PCS-00-1215
  Schedule of Additional Insureds Endorsement                                      1120-PXX-00-1215                  1
  Disciplinary, Licensing Credentialing Actions Endorsement                        1303-PPX-00-1215                  2
  Employee Benefits Liability Endorsement (General Liability) (Claims-Made and     1504-PGX-00-1215                  3
  Reported Coverage)
  Patient’s Personal Property Endorsement (General Liability)                      1518-PGX-00-1215                  4
  Crisis Response Costs Endorsement (General Liability)                            1520-PGX-00-1215                  5
  Disease Contamination Clean-Up Expenses Endorsement (General Liability)          1521-PGS-00-1215                  6
  Emergency Evacuation Expenses Endorsement (General Liability)                    1522-PGX-00-1215                  7
  Media Expenses Endorsement (General Liability)                                   1525-PGX-00-1215                  8
  Schedule of Hired and Non-Owned Auto Liability Limited Coverage Endorsement      1528-PGX-00-0119                  9
  (General Liability)
  Exclusion of Certified Acts of Terrorism Endorsement (General Liability)         1537-PGX-00-1215                 10




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                                                                                            Issuing Company:
                                                                   National Fire & Marine Insurance Company
                                                                                            Omaha, Nebraska


Forming Part of Policy No.:       NSC100432
Issued to:                        Orinda Care Center, LLC
Policy Period:                    From 02/15/2020 to 02/15/2021 at 12:01 a.m. at the address of the First Named
                                  Insured stated herein.


                                      SCHEDULE OF NAMED INSUREDS


In consideration of the premium due, and in reliance upon the representations of all insureds, the company and the
insureds agree the organizations and persons listed below are designated as named insureds and the Retroactive Dates
shown on the Declarations are amended as follows, but only with respect to the designated named insureds.



                                        SCHEDULE OF NAMED INSUREDS
                                                            RETROACTIVE RETROACTIVE RETROACTIVE
                                                                DATE:       DATE:       DATE:   TERMIN-
                                                 ID         PROFESSIONAL  GENERAL       CYBER    ATION
NAMED INSURED                                  NUMBER         LIABILITY   LIABILITY   LIABILITY  DATE
Orinda Care Center, LLC                        1368708       02/15/2015      02/15/2015      02/15/2018

Orinda Holdings, LLC                           1398217       02/15/2015      02/15/2015      02/15/2018


                       All other terms and conditions of the policy remain unchanged.




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                                                                                                   Issuing Company:
                                                                          National Fire & Marine Insurance Company
                                                                                                   Omaha, Nebraska


    Forming Part of Policy No.:          NSC100432
    Issued to:                           Orinda Care Center, LLC
    Policy Period:                       From 02/15/2020 to 02/15/2021 at 12:01 a.m. at the address of the First Named
                                         Insured stated herein.


                                SCHEDULE OF NAMED INSUREDS – INSURED LOCATIONS


    In consideration of the premium due, and in reliance upon the representations of all insureds, the company and the
    insureds agree the locations listed below are provided coverage subject to their Retroactive Dates and Retentions also
    listed below, notwithstanding any Retroactive Date or Retention listed elsewhere in the policy.



                                   SCHEDULE OF NAMED INSUREDS - INSURED LOCATIONS
                                                 RETROACTIVE DATE                            RETENTION
                                                                                      PROFESSIONAL GENERAL
                                        PROFESSIONAL    GENERAL            CYBER        LIABILITY   LIABILITY
                                 ID       LIABILITY     LIABILITY        LIABILITY     PER EVENT/  PER EVENT/ TERMINATION
LOCATION                       NUMBER                                                  AGGREGATE AGGREGATE       DATE
11 Altarinda Rd, Orinda, CA               02/15/2015    02/15/2015       02/15/2018    $50,000/$Nil    $50,000/$Nil
94563

Orinda Care Center, LLC

dba Orinda Care Center


                              All other terms and conditions of the policy remain unchanged.




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                                                                                               Issuing Company:
                                                                      National Fire & Marine Insurance Company
                                                                                               Omaha, Nebraska


Forming Part of Policy No.:         NSC100432
Issued to:                          Orinda Care Center, LLC
Policy Period:                      From 02/15/2020 to 02/15/2021 at 12:01 a.m. at the address of the First Named
                                    Insured stated herein.


                      SCHEDULE OF TRADE, FICTITIOUS AND/OR BUSINESS NAMES


In consideration of the payment of the premium due, and in reliance upon the representations of all insureds, the
company and the insureds agree that any trade, fictitious, and/or business name listed in the Schedule of Trade, Fictitious
and/or Business Names below and any other trade, fictitious and/or business name by which any named insured operates
or trades as are by reference included in the coverage afforded to the associated named insured. Any such trade, fictitious
and/or business name shares the Limits of Liability and any other terms and conditions applicable to the associated named
insured, regardless of the number of named insured(s) scheduled below or on the policy.


                            SCHEDULE OF TRADE, FICTITIOUS AND/OR BUSINESS NAMES
                                                              ID        TRADE, FICTITIOUS OR BUSINESS (D/B/A)
  NAMED INSURED                                             NUMBER      NAME
  Orinda Care Center, LLC                                   1368708     Orinda Care Center


                      All other terms and conditions of the policy remain unchanged.




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                                                                                                  Issuing Company:
                                                                         National Fire & Marine Insurance Company
                                                                                                  Omaha, Nebraska


                                        SENIOR CARE LIABILITY POLICY
                            COMMON POLICY PROVISIONS AND CONDITIONS

                                                          NOTICE:
         This policy may contain claims-made and reported coverage. Please read this policy carefully.


In consideration of the payment of the premium due, and in reliance upon the representations of all insureds, the
company and all insureds agree as follows, subject to the terms and conditions of this policy, including the applicable
Limits of Liability:


I.   DEFINITIONS
     These definitions apply to all Coverage Parts:
     A. Additional insured means any person or organization listed on a Schedule of Additional Insureds.
     B. Advertisement means a notice that is broadcast or published to the general public or specific market segments
        about any named insured’s goods, products, or services for the purpose of attracting customers or supporters.
        For the purposes of this definition:
         1. notices that are published include material placed on the internet or on similar electronic means of
            communication; and
         2. regarding websites, only that part of a website that is about any named insured’s goods, products, or services
            for the purposes of attracting customers or supporters is considered an advertisement.
     C. Authorized insured means any insured authorized by the first named insured to give notice of a claim or
        potential claim to the company.
     D. Automobile or auto means:
         1. any land motor vehicle, trailer or semi-trailer, including any attached machinery and equipment, designed for
            use on public roads; or
         2. any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
            insurance law in the state where it is licensed or principally garaged.
         However, automobile or auto does not include mobile equipment.
     E. Bodily injury means any damage to the human body, including sickness or disease and any mental injury, shock,
        emotional distress, or death arising therefrom. In addition, it includes damages claimed for the cost of any care,
        loss of services, or loss of consortium arising therefrom.
     F. Case management means identifying patients with specific health care needs and developing a plan to ensure
        an efficient use of resources to achieve the best outcome.
     G. Claim means an express, written demand upon an insured for money or services as compensation for damages,
        including a suit. As used in this definition, “suit” means a civil proceeding in which damages to which this insurance
        applies are alleged. Suit also includes an arbitration or other alternative dispute resolution proceeding in which such
        damages are claimed and to which an insured must submit or does submit with the company’s consent. However,
        this definition does not apply to coverage provided under the Cyber Liability and Breach Response Coverage Part.
     H. Claims expense means all costs and expenses incurred in connection with the investigation, adjustment, and
        defense of any claim or potential claim. Such costs and expenses:
         1. shall only include:

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            a. attorneys’ fees paid to the law firm selected to defend an insured;
            b. court costs;
            c.   expert fees;
            d. reporter fees;
            e. the cost of any alternative dispute resolution ordered by a court, otherwise required by law, or pre-approved
               by the company;
            f.   post-judgment interest on that portion of the judgment that does not exceed the Limit of Liability available
                 under the particular coverage provided; and
            g. such other costs and expenses that the company determines to be reasonably related to the defense of
               a claim or potential claim.
        2. shall not include:
            a. loss;
            b. attorneys’ fees awarded to a claimant;
            c.   the salary of any employee of an insured; or
            d. the forgiveness of any amounts owed for the cost of care or services rendered by an insured.
        However, this definition does not apply to coverage provided under the Cyber Liability and Breach Response
        Coverage Part.
   I.   Company means the Issuing Company shown on the Declarations.
   J.   Employee means any person who receives a W-2 or 1099 IRS tax form from any named insured that is an
        organization, and who was acting within the scope of his or her duties on behalf of that named insured at the
        time of the event, offense, health care event or any other act or omission that results in a claim or potential
        claim that is otherwise covered under this policy. Employee also includes any leased worker, temporary worker
        or volunteer so long as such person is or was acting within the scope of his or her duties on behalf of a named
        insured that is an organization.
        As used in this definition:
        1. “leased worker” means a person leased to, or used by, a named insured that is an organization through a
           labor leasing firm or a locum tenens or staffing organization under an agreement between a named insured
           and the labor leasing firm, or locum tenens or staffing organization, to perform duties related to the conduct
           of that named insured’s business. Leased worker does not include a temporary worker;
        2. “temporary worker” means a person who is furnished to a named insured that is an organization to substitute
           for a permanent employee on leave or to meet seasonal or short-term workload conditions. A temporary
           worker does not include a leased worker; and
        3. “volunteer” means a person who provides his or her services or labor to a named insured that is an
           organization, without being paid by that named insured, under the supervision or direction of the named
           insured. Volunteer does not include any independent contractor or staff physician.
        However, only with respect to the coverage provided under the Professional Liability Coverage Part, employee
        does not mean any physician, surgeon, podiatrist, chiropractor, dentist, certified registered nurse anesthetist,
        midwife, resident or intern.
        Additionally, this definition does not apply to coverage provided under the Cyber Liability and Breach Response
        Coverage Part.
   K. Event means an accident. All injuries arising out of, or in connection with:
        1. the same or related acts or omissions; or
        2. the continuous or repeated exposure to substantially the same harmful conditions;
        will be considered one event. For the purposes of this definition, all injuries to a mother and fetus (or fetuses)
        from conception through delivery shall constitute one event.


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   L.   Extended reporting period means the period of time after the cancellation or nonrenewal of any Coverage Part
        shown on the Declarations or any endorsement as “Claims-Made and Reported” during which an insured may
        report a claim or potential claim.
   M. First named insured means the person or organization shown as the First Named Insured on the Declarations.
   N. Health care event means any event in the rendering of, or failure to render, professional services that results
      in injury. All injuries arising out of, or in connection with, the same or related acts or omissions in furnishing
      professional services shall be considered one health care event.
   O. Impaired property means tangible property, other than the insured’s product or the insured’s work, which
      cannot be used or becomes less useful because:
        1. it incorporates the insured’s product or insured’s work that is known or thought to be defective, deficient,
           inadequate, or dangerous; or
        2. an insured has failed to fulfill the terms of a contract or agreement if such property can be restored to use
           by:
            a. the repair, replacement, adjustment, or removal of the insured’s product or insured’s work; or
            b. an insured’s fulfillment of the terms of the contract.
   P. Insured means:
        1. the first named insured;
        2. any named insured;
        3. any employee;
        4. any administrator, partner, superintendent, director, officer, member, trustee, stockholder, medical director,
           department head or head of the medical staff, student, board or committee member or staff member, but only
           to the extent that he or she is acting within the scope of his or her duties on behalf of any named insured.
           As used to define insured, student means an unlicensed person, other than a resident, enrolled in a licensed
           or accredited training program operated by any named insured that is an organization relative to the delivery
           of professional services;
        5. any spouse or domestic partner of any individual insured, but only with respect to the conduct of the business
           of a named insured that is an organization. As used in this definition, “domestic partner” means any person
           qualifying as such under any federal, state or local laws or under a named insured’s employee benefit plans
           or employee benefits program;
        6. any organization formed or acquired by a named insured that is an organization during the policy period,
           over which that named insured maintains at least majority ownership; however, coverage under this
           subparagraph is afforded only:
            a. after the company has received an application, and has agreed in writing to add the newly formed or
               acquired organization to the policy as an insured;
            b. for a loss, event, offense, health care event, bodily injury, property damage or personal and
               advertising injury or other claim or potential claim otherwise covered by this policy that occurred
               after the organization was formed or acquired by the named insured; and
            c.   unless otherwise stated on a Schedule of Named Insureds, the newly formed or acquired organization will
                 share Limits of Liability with the named insured that formed or acquired that newly formed or acquired
                 organization;
        7. the estate, heirs, executors, administrators, assigns and legal representatives of an insured in the event of
           such insured’s death, incapacity, insolvency or bankruptcy, but only to the extent that such insured would
           have been provided coverage under this policy; or
        8. any organization, or any person other than an employee, while acting as a named insured’s real estate
           manager.
   Q. Insured contract means:
        1. a contract for a lease of premises, except for that portion of the contract for a lease of premises that indemnifies

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           any person or organization for damage by fire to premises while rented to an insured or temporarily occupied
           by an insured with permission of the owner;
       2. an agreement between a railroad and an insured under which the insured will hold the railroad harmless for
          certain liability arising out of the use of a sidetrack;
       3. any easement or license agreement, except in connection with construction or demolition operations on, or
          within 50 feet of, a railroad;
       4. an obligation, as required by ordinance, law or regulation, to indemnify a municipality, except in connection
          with work for a municipality; or
       5. any agreement to maintain an elevator;
       6. any provision in any other contract or agreement pertaining to an insured’s business (including an
          indemnification of a municipality in connection with work performed for a municipality) under which an insured
          assumes the tort liability of another party to pay for bodily injury or property damage to a third person or
          organization. As used in this definition, “tort liability” means a liability that would be imposed by law in the
          absence of any contract or agreement. This does not include any provision:
           a. that indemnifies a railroad for bodily injury or property damage arising out of construction or demolition
              operations within 50 feet of any railroad property and affecting any railroad bridge or trestle, tracks,
              roadbeds, tunnel, underpass or crossing;
           b. that indemnifies an architect, engineer or surveyor for injury or damage arising out of:
                (1) preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                    field orders, change orders or drawings and specifications; or
                (2) giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                    damage; or
           c.   under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
                arising out of the insured's rendering or failure to render professional services, including those listed in b.
                above and supervisory, inspection, architectural or engineering activities.
   R. Insured’s product
       1. means:
           a. any goods or products, other than real property, manufactured, sold, handled, distributed, or disposed of
              by:
                (1) a named insured;
                (2) others trading under a named insured’s name; or
                (3) a person or organization whose business or assets a named insured has acquired.
           b. containers (other than vehicles), materials, parts, or equipment furnished in connection with such goods
              or products.
       2. includes:
           a. warranties or representations made at any time with regard to the fitness, quality, durability, performance,
              or use of the goods or the insured’s products; or
           b. the providing of, or the failure to provide, warnings or instructions.
       3. does not include:
           a. vending machines; or
           b. other property rented to, or located for, the use of others, but not sold to others by a named insured.
   S. Insured’s work
       1. means:
           a. work or operations performed by, or on behalf of, a named insured; or


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           b. materials, parts, or equipment furnished in connection with such work or operations.
       2. includes:
           a. warranties or representations made at any time with regard to the fitness, quality, durability, performance,
              or use of the work or operations; or
           b. the providing of, or the failure to provide, warnings or instructions.
   T. Loading or unloading means the handling of property:
       1. after it is moved from the place where it is accepted for movement into or onto an aircraft, watercraft, or auto;
       2. while it is in or on an aircraft, watercraft, or auto; or
       3. while it is being moved from an aircraft, watercraft, or auto to the place where it is finally delivered.
       It does not include the movement of property by means of a mechanical device, other than a hand truck, which is
       not attached to the aircraft, watercraft, or auto.
   U. Location means premises involving the same or connecting lots, or premises whose connection is interrupted only
      by a street, roadway, waterway or right-of-way of a railroad.
   V. Loss
       1. Means civil damages, including prejudgment interest, which an insured becomes legally obligated to pay
          through adjudication or settlement.
       2. Does not include:
           a. any damages that are greater than any applicable Limit of Liability;
           b. any injunctive or other equitable relief;
           c.   claims expense;
           d. attorneys’ fees awarded to a claimant as a fine, penalty, or sanction based upon any insured’s misconduct;
              however, attorneys’ fees awarded as a part of the claimant’s damages in a covered claim for any other
              purpose will be included as loss;
           e. the salary of any employee; or
           f.   the forgiveness of any amounts owed for the cost of care or services rendered by an insured.
   W. Managed care services means services provided to manage and/or administer a health care plan. As used in this
      definition “health care plan” means a medical benefits plan administered by a health maintenance organization,
      preferred provider organization, or other similar organization which provides, or arranges to provide, healthcare
      services to members under a written contract or agreement. These services can include any of the following acts
      provided on behalf of the health care plan:
       1. the creation, sale, and marketing of a health care plan;
       2. the selection, credentialing, and contracting of health care providers;
       3. the evaluation of the cost, quality and proper utilization of treatment options available or being provided to
          participants;
       4. the adjustment, investigation, and processing of claims for benefits; or
       5. case management.
       However, managed care services do not include treatment rendered, or which should have been rendered, to
       a patient.
   X. Medical expenses means the reasonable cost of necessary:
       1. first aid administered at the time of the accident;
       2. medical, surgical, diagnostic, and dental services;
       3. prosthetic devices; and


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       4. ambulance, hospital, professional nursing, and funeral services.
   Y. Mobile equipment
       1. Means any of the following types of land vehicles, including any attached machinery or equipment:
           a. bulldozers, farm machinery, forklifts, and other vehicles designed for use principally off public roads;
           b. vehicles maintained for use only on, or next to, premises owned or rented by a named insured;
           c.   vehicles that travel on crawler treads;
           d. vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:
                (1) power cranes, shovels, loaders, diggers, or drills; or
                (2) road construction or resurfacing equipment, such as graders, scrapers, or rollers;
           e. vehicles not described in subparagraphs 1.a, b, c, or d above, that are not self-propelled and are maintained
              primarily to provide mobility to permanently attached equipment of the following types:
                (1) air compressors, pumps, and generators, including spraying welding, building cleaning, geophysical
                    exploration, lighting, and well-servicing equipment; or
                (2) cherry pickers and similar devices used to raise or lower workers; or
           f.   vehicles not described in subparagraphs 1.a, b, c, or d above, maintained primarily for purposes other than
                the transportation of persons or cargo.
       2. Does not include self-propelled vehicles with the following types of permanently attached equipment, but will
          be considered autos:
           a. equipment designed primarily for:
                (1) snow removal,
                (2) road maintenance (but not construction or resurfacing); or
                (3) street cleaning;
           b. cherry pickers and similar devices mounted on car or truck chassis and used to raise or lower workers; and
           c.   air compressors, pumps, and generators, including spraying, welding, building cleaning, geophysical
                exploration, lighting, and well-servicing equipment.
       3. Does not include land vehicles that are subject to a compulsory or financial responsibility law or other motor
          vehicle insurance law in the state where it is licensed or principally garaged. Land vehicles subject to a
          compulsory or financial responsibility law or other motor vehicle insurance law are considered autos.
   Z. Named insured means any of the following, but only if listed by name on a Schedule of Named Insureds:
       1. any organization, including any corporations, partnerships or joint ventures;
       2. any individual person, but only to the extent that such person was acting in the course and scope of his or her
          duties of employment with the first named insured or another named insured; or
       3. a location.
   AA. Personal and advertising injury means injury, including consequential bodily injury, arising from one or more
       of the following offenses:
       1. false arrest, detention, or imprisonment;
       2. malicious prosecution;
       3. the wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room, dwelling,
          or premises that a person occupies, committed by or on behalf of its owner, landlord, or lessor;
       4. oral or written publication, in any manner, of material that slanders or libels a person or organization or
          disparages a person’s or organization’s goods, products, or services;
       5. oral or written publication, in any manner, of material that violates a person’s right of privacy; or the use of


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           another’s advertising idea in the insured’s advertisement.
   BB. Pollutants means any solid, liquid, gaseous, fuel, lubricant, thermal, acoustic, electrical, or magnetic irritant or
       contaminant, including but not limited to smoke, vapor, soot, fumes, fibers, radiation, acid, alkalis, petroleum,
       chemicals or waste. As used in this definition, “waste” means medical waste, biological infectants, and all other
       materials to be disposed of, recycled, stored, reconditioned or reclaimed.
   CC. Policy period means the period of time shown on the Declarations as the Policy Period. However, if the policy is
       terminated before the later of the dates shown on the Declarations, policy period means the period between the
       first date shown on the Declarations and the date the policy was terminated.
   DD. Potential claim means an event, including an incident arising from, or in connection with, that event, which an
       insured knows or reasonably should know is likely to result in a claim.
   EE. Products completed operations hazard
       1. Means all bodily injury and property damage occurring away from any premises an insured owns or rents,
          and arising out of the insured’s product or insured’s work except:
           a. products that are still in the physical possession of an insured; or
           b. work that has not yet been completed or has been abandoned. However, the insured’s work will be
              deemed completed at the earliest of the following times:
                (1) when all of the work called for in the insured’s contract has been completed;
                (2) when all of the work to be done at the job site has been completed if the contract calls for work at
                    more than one job site; or
                (3) when that part of the work at a job site has been put to its intended use by any person or organization
                    other than another contractor or subcontractor working on the same project.
                Work that may need service, maintenance, correction, repair, or replacement, but which is otherwise
                complete, will be deemed completed.
       2. Does not include bodily injury or property damage arising out of, or in connection with:
           a. the transportation of property, unless the injury or damage arises out of a condition in or on a vehicle not
              owned or operated by an insured and that condition was created by the loading or unloading of the
              vehicle by an insured;
           b. the existence of tools, uninstalled equipment, or abandoned or unused materials; or
           c.   products or operations for which the classification, shown on the Declarations or in a policy schedule, states
                that products completed operations hazard is subject to the General Aggregate Limit.
   FF. Professional services means treatment, administrative services, beautician’s and barber’s services, pastoral
       counseling services, peer review and utilization management not involving managed care services. As used in
       this definition:
       1. “administrative services” means the planning, organizing, controlling or directing of the operations of an
          insured;
       2. “beautician’s and barber’s services” means the provision of grooming services to a resident by a licensed
          beautician or barber in his or her capacity as such, who is not employed by the insured, but who is invited to
          perform such services by the insured at a location operated by an insured;
       3. “pastoral counseling services” means the provision of advice, guidance or other counseling sessions, without
          compensation, by an ordained member of the clergy;
       4. “peer review” means the evaluation of a health care provider’s fitness and qualification to provide treatment
          by a professional review board or committee through formally adopted, written procedures for the purposes of
          granting, determining or revoking clinical staff privileges at a hospital, clinic or other medical facility that is a
          named insured, and which results in a patient alleging damages arising from a health care event; and
       5. “utilization management” means the process of evaluating treatment to a patient for its appropriateness or
          necessity which results in a patient alleging damages arising from a health care event. In clarification and
          not in limitation of the foregoing, utilization management will include prospective review of proposed

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           treatment, concurrent review of treatment, retrospective review of already rendered treatment, disease
           management, case management, and the use of predictive modeling to identify individuals or populations
           for disease management or case management.
   GG. Property damage means:
       1. physical injury to tangible property, including any resulting loss of use of that property. All such loss of use
          shall be deemed to occur at the time of the physical injury that caused it; or
       2. loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to occur at
          the time of the event that caused it.
       However, this definition does not apply to coverage provided under the Cyber Liability and Breach Response
       Coverage Part.
   HH. Resident means a person who lives or resides at a long-term care facility or other residential healthcare facility
       listed by name on a Schedule of Named Insureds.
   II. Residents’ rights means any right granted to a resident under the Nursing Home Quality Reform Act of 1987,
       any federal regulations promulgated pursuant to such law, including 42 C.F.R. 483.10, or any similar state law or
       regulation regulating long-term care facilities or residential healthcare facilities.
   JJ. Superbug contamination means the actual contamination of an insured’s location with methicillin-resistant
       staphylococcus aureus, vancomycin intermediate sensitive staphylococcus aureus or vancomycin-resistant
       enterococcus. Superbug contamination does not include any contamination as a result of pollutants, war, an
       act of terrorism or a certified act of terrorism.
   KK. Treatment means:
       1. medical, surgical, dental, mental health, or nursing services, including those rendered in connection with a
          clinical trial. This shall also include first aid rendered at the scene of an accident without expectation of monetary
          compensation, unless such accident occurred on the premises;
       2. the provision of medical examinations, opinions, or consultations regarding a person’s medical condition within
          an insured’s practice as a licensed health care provider;
       3. the provision of home health, hospice, rehabilitation or social services and adult day care and home-based
          community operations, including a Program of All-inclusive Care for the Elderly (PACE), or any services related
          to the provision, or protection of residents’ rights, provided such insured is licensed, trained and qualified
          to perform such services in the jurisdiction in which such professional services were rendered.
       4. postmortem handling of bodies, including autopsies, organ donation or harvesting or other procedures; or
       5. the furnishing of any of the following, but only as it relates to the rendering of medical, surgical, dental, or
          nursing services:
           a. food and beverages;
           b. blood, blood products, medications, supplies, equipment, or appliances; or
           c.   counseling or other social services.
       As used in this definition, “clinical trial” means a structured study with predetermined protocols approved by an
       institutional review board, an independent ethics committee, an ethical review board or a research ethics board
       which has been formally designated to approve, monitor, and review research involving humans in order to develop
       effectiveness or safety data or treatment plans, pharmaceutical products or medical devices.


II. DEFENSE AND SUPPLEMENTAL PAYMENTS
   These provisions apply to all Coverage Parts:
   A. DEFENSE
       The company will have the exclusive right and duty to defend any claim or potential claim against an insured
       to which this policy applies, subject to the timely payment of any applicable Deductible or Self-Insured Retention.
       However, the company has no duty to:


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       1. defend an insured until any applicable Self-Insured Retention has been exhausted by the payment of loss or
          claims expense;
       2. defend an insured after the applicable Limits of Liability have been exhausted by the payment of loss or
          claims expense;
       3. appeal any judgment; however, the company may appeal any judgment as it deems expedient; or
       4. pay any claims expense incurred by an attorney not retained or approved by the company, in writing, to
          represent the insured.
       Upon the exhaustion of the applicable Limit of Liability provided under this policy, the insured shall become
       responsible for all further claims expense arising from any claim or potential claim and the company has the
       right to withdraw from the further defense of such claim or potential claim by tendering such defense to the
       insured. If the insured cannot come to an agreement with the attorney assigned by the company regarding the
       payment of future fees and costs, the insured shall take all steps necessary to allow the attorney to withdraw from
       the matter.
   B. SUPPLEMENTAL PAYMENTS
       The company shall also pay, in addition to the Limits of Liability:
       1. the premium on any bond required to proceed with an appeal approved by the company or to release
          attachments to an insured’s property; however, the face value of the bond may not exceed the applicable
          Limit of Liability or the total loss payable under the policy, whichever is less; in addition, the company has no
          duty to apply for or furnish any such bond; and
       2. reimbursement of reasonable expenses incurred by an insured at the company’s request to assist in the
          investigation and defense of a claim or potential claim; payment for actual loss of earnings shall not exceed
          $500 for each day an individual insured is required to attend hearings, trials, or an insured’s own deposition.
   C. DEFENSE OUTSIDE THE LIMITS/WITHIN THE LIMITS SHOWN ON DECLARATIONS
       The company’s duty to defend shall also include a duty to pay claims expenses either:
       1. in addition to the applicable Limits of Liability such that payment of claims expenses and other supplemental
          payments will not reduce or exhaust the applicable Limits of Liability, if shown on the Declarations as “Defense
          Outside Limits;” or
       2. as part of the applicable Limits of Liability such that payment of claims expenses and other supplemental
          payments reduce and can exhaust the applicable Limits of Liability, if shown on the Declarations as “Defense
          Within Limits.”


III.EXCLUSIONS
   The coverage provided under any Coverage Part of this policy does not apply to:
   A. ADA
       Any claim or potential claim arising out of, or in connection with, an insured’s duty to comply with the Americans
       with Disabilities Act of 1990 (ADA). This also includes any amendment or regulation that applies thereto or any
       comparable federal, state, or local law. This exclusion does not apply to any such claim or potential claim that
       is based on an insured’s alleged negligence in the rendering of or failure to render professional services.
   B. ANTITRUST
       Any claim or potential claim arising out of, or in connection with, an insured’s antitrust activity, except to the
       extent such claim or potential claim arises out of any insured's alleged rendering of, or failure to render,
       professional services. As used in this exclusion, “antitrust activity” means any actual or alleged price fixing,
       restraint of trade, price discrimination, predatory pricing, monopolization, unfair business practices, or violation of
       common law or the Federal Trade Commission Act of 1914, the Sherman Antitrust Act of 1890, the Clayton Act of
       1914, any similar federal, state, or local antitrust statute or law, or any rule or regulation promulgated under the
       Act, statute, or law.
   C. BUSINESS PRACTICES


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        Any claim or potential claim arising out of, or in connection with, an insured’s billing practices or advertising
        activities. However, this exclusion does not apply to the coverage provided under the Personal and Advertising
        Injury Liability Insuring Clause.
   D. CLAIM OR POTENTIAL CLAIM REPORTED OR DISCOVERED PRIOR TO THE POLICY PERIOD
        Only with respect to any Coverage Part shown on the Declarations as “Claims-Made and Reported”:
        1. any claim or potential claim which has or which should have been reported to any insurer, including through
           any self-insured or captive program, prior to the policy period; and
        2. any potential claim that was first known about or discovered, or should reasonably have been known about
           or discovered by, an authorized insured prior to the policy period.
   E. CRIMINAL ACTS
        Any claim or potential claim arising out of, or in connection with, any criminal act committed by, or at the
        direction of, the insured.
   F. DEFAULT JUDGMENT AND FAILURE TO COOPERATE
        Any claim or potential claim that the company was unable to timely investigate or defend due to the acts or
        omissions of any insured, including any resulting damages from a default judgment.
   G. DISCRIMINATION
        Any claim or potential claim arising out of, or in connection with, the violation of any statute, law, ordinance or
        regulation prohibiting discrimination or humiliation because of race, creed, color, national origin, religion, age,
        gender or any other protected class as defined by statute, law, ordinance or regulation.
   H. ECONOMIC SANCTIONS EXCLUSION
        Whenever coverage provided by this policy would be in violation of any U.S. economic trade sanctions such as, but
        not limited to, those sanctions administered and enforced by the U.S. Treasury Department’s Office of Foreign
        Assets Control, such coverage shall be null and void. Similarly, any coverage relating to or referred to in any
        certificates or other evidences of insurance or any claim or potential claim that would be in violation of U.S.
        economic or trade sanctions as described above shall also be null and void.
   I.   EMPLOYEE BENEFITS LIABILITY
        Any claim or potential claim arising out of, or in connection with, any group benefits administered on behalf of
        a named insured’s employees, including:
        1. group insurance plans or programs, such as life, health, accident, dental, or legal advice;
        2. individual retirement accounts, salary reduction plans under I.R.S. Code 401(k), or any amendment thereto,
           savings plans, or employee stock subscription plans;
        3. travel or vacation plans; or
        4. workers’ compensation, occupational disease, unemployment, Social Security, or disability benefits insurance.
   J.   EMPLOYER’S LIABILITY
        Any claim or potential claim arising out of, or in connection with, bodily injury to:
        1. an employee of a named insured arising out of, or in connection with, and in the course of:
            a. employment by that named insured; or
            b. performing duties related to the conduct of that named insured’s business; or
        2. the spouse, child, parent, brother, or sister of that employee as a consequence of subparagraph 1 above.
        This exclusion shall apply whether a named insured may be held liable as an employer, or in any other capacity,
        and to any obligation to share damages with, or repay someone else who must pay damages, because of the injury.
        This exclusion does not apply to liability assumed by an insured under an insured contract.
   K. EMPLOYMENT PRACTICES
        Any claim or potential claim brought by an employee, or applicant for employment, which alleges an insured:

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        1. breached an actual or implied contract of employment;
        2. violated an anti-discrimination statute;
        3. engaged in any form of harassment;
        4. engaged in libel or slander related to an employment relationship;
        5. retaliated for the exercise of a public right or duty;
        6. engaged in intentional or negligent infliction of emotional distress arising out of, or in connection with, an
           employment relationship;
        7. wrongfully failed to hire, promote, or grant tenure;
        8. wrongfully demoted; or
        9. wrongfully terminated employment.
   L.   ERISA
        Any claim or potential claim seeking to impose liability under the Employee Retirement Income Security Act of
        1974 (ERISA), or any amendment or regulation that applies thereto.
   M. FRAUDULENT CLAIMS
        Any claim or potential claim made by an insured who knows that the claim or potential claim is false or
        fraudulent, as regards to amount or otherwise; additionally, this policy shall become void and all claims and
        potential claims hereunder shall be forfeited.
   N. GOVERNMENTAL IMMUNITY AND OTHER PROTECTIONS
        Any claim or potential claim for which an insured has:
        1. immunity as a volunteer or as an employee or contractor of a federal, state, or local government; or
        2. immunity, insurance, indemnity, or any other protection pursuant to any federal, state, or local laws, including
           but not limited to the Federal Tort Claims Act.
   O. INJUNCTIVE RELIEF, TAXES, FINES AND PENALTIES
        Any claim or potential claim or other matter seeking:
        1. injunctive relief;
        2. any relief other than loss; or
        3. the award of taxes, fines, penalties, or sanctions.
   P. INSURED VERSUS INSURED
        Any claim or potential claim initiated, alleged, or caused to be brought about, by any insured covered by this
        policy against any other insured covered by this policy. This exclusion does not apply if the claim or potential
        claim arises out of an insured providing professional services to another insured.
   Q. MANAGED CARE SERVICES
        Any claim or potential claim arising out of, or in connection with, any managed care services.
   R. MEDICARE OR MEDICAID
        Any claim or potential claim arising out of, or in connection with, any Medicare/Medicaid Claim. As used in this
        exclusion, a “Medicare/Medicaid Claim” means a claim based on or arising out of, or in connection with, any actual
        or alleged violation of law, regulation or rule with respect to Medicare, Medicaid, Tricare or any similar federal, state
        or local governmental program.
   S. MULTI-POLICY AND ANTI-STACKING
        If more than one policy, Coverage Part or Insuring Clause applies, the following multi-policy and anti-stacking
        exclusions apply:
        1. if more than one policy issued by the company or by a past, present or future parent, subsidiary or affiliate


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           applies to the liability of an insured, the company’s duty to pay for a loss will be confined to the policy
           containing the largest applicable Limit of Liability; or
       2. if more than one Coverage Part or Insuring Clause under this policy applies to the liability of an insured, the
          company’s duty to pay loss will be confined to the Coverage Part or Insuring Clause containing the largest
          applicable Limit of Liability.
   T. NUCLEAR ENERGY LIABILITY
       Any claim or potential claim:
       1. for which an insured has coverage under a nuclear energy liability policy issued by the:
           a. Nuclear Energy Liability Insurance Association;
           b. Mutual Atomic Energy Liability Underwriters;
           c.   Nuclear Insurance Association of Canada; or
           d. any successor or assign of the entities set forth in the subparagraphs above.
           This policy also does not apply if such coverage did exist, but was terminated by the exhaustion of the
           insured’s limit of liability.
       2. resulting from the hazardous properties of nuclear material for which an insured:
           a. was required to maintain financial protection under the Atomic Energy Act of 1954 or any amendment or
              regulation that applies thereto; or
           b. was entitled to indemnity by the United States government or any agency thereof or would have been
              entitled to had this policy not been issued.
   U. OWNERSHIP OR MANAGEMENT OF NON-INSURED ENTITIES
       Any claim or potential claim arising out of, or in connection with, the acts or omissions of any organization,
       partnership, joint venture, or other business enterprise that is not a named insured, but which is owned, managed
       or supervised by an insured. However, this exclusion does not apply to an organization defined as an insured.
   V. RICO
       Any claim or potential claim arising out of, or in connection with, an insured’s violation of the Racketeer
       Influenced Corrupt Organizations Act (RICO), or any comparable federal, state or local laws or any amendment or
       regulation that applies thereto.
   W. WAR
       Any claim or potential claim arising out of, or in connection with:
       1. war, including undeclared or civil war;
       2. warlike action by a military force, including action in hindering or defending against an actual or expected attack
          by any governmental, sovereign, or other authority using military personnel or other agents; or
       3. insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
          defending against any of these.
   X. WORKERS’ COMPENSATION AND OTHER SIMILAR LAWS
       Any claim or potential claim arising out of, or in connection with, any obligation or damages arising under any
       law related to:
       1. workers’ compensation;
       2. occupational disease;
       3. unemployment compensation;
       4. disability benefits; or
       5. other similar law that provides for scheduled benefits as a result of an injury or disease.
   The exclusions for “EMPLOYMENT PRACTICES,” “EMPLOYER’S LIABILITY,” “WAR” and “WORKER’S COMPENSATION

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   AND OTHER SIMILAR LAWS” do not apply to damage by fire to premises while rented to an insured or temporarily
   occupied by an insured with the permission of its owner. Only with respect to the coverage provided under the General
   Liability Coverage Part, a separate limit of liability applies to Damage to Premises Rented to an Insured as described in
   the Limits of Liability.


IV. DEDUCTIBLES AND RETENTIONS
   These provisions apply to all Coverage Parts:
   A. LOSS AND CLAIMS EXPENSE
       If a Deductible or Self-Insured Retention is shown on the Declarations, and is designated as “Loss and Claims
       Expense,” it is agreed and understood that the company’s duty to pay loss and claims expense for any claim
       or potential claim thereunder will be limited in the following manner:
       1. the company shall have a duty to pay loss and claims expense only in excess of the Deductible or Self-
          Insured Retention. The Deductible or Self-Insured Retention shall be applied to claims expense first, then to
          loss;
       2. the first named insured shall have a duty to pay all loss and claims expense up to the amount of the
          Deductible or Self-Insured Retention, payment of which shall not be unreasonably withheld;
       3. unless prohibited by law, the company has complete discretion to pay the entire loss and claims expense
          and seek reimbursement from the first named insured for the Deductible or Self-Insured Retention. If this
          occurs, the first named insured shall reimburse the company within 30 days of the company’s payment
          of the Deductible or Self-Insured Retention amount;
       4. the applicable Limits of Liability shall be reduced by the amount of the Deductible payable as loss and claims
          expense for such claims or potential claims. The applicable Limits of Liability shall not be reduced by the
          amount of the Self-Insured Retention;
       5. if a Deductible or Self-Insured Retention is shown on the Declarations, the Deductible or Self-Insured Retention
          shall apply to all loss and claims expense arising from a single event, health care event, offense or other
          covered incident, regardless of the number of insureds found liable for the loss and/or claims expense; and
       6. if a Retention Aggregate is shown on the Declarations, the first named insured’s duty to pay loss, regardless
          of the number of claims or potential claims made, shall not exceed the Retention Aggregate.
   B. LOSS ONLY
       If a Deductible is shown on the Declarations, and is designated as “Loss Only,” it is agreed and understood that
       the company’s duty to pay loss for any claim or potential claim thereunder will be limited in the following
       manner:
       1. the company shall have a duty to pay only loss in excess of the Deductible;
       2. the first named insured shall have a duty to pay all loss up to the amount of the applicable Deductible,
          payment of which shall not be unreasonably withheld;
       3. unless prohibited by law, the company has complete discretion to pay the entire loss and seek reimbursement
          from the first named insured for the Deductible. If this occurs, the first named insured shall reimburse
          the company within 30 days of the company’s payment of the Deductible amount;
       4. the applicable Limits of Liability shall be reduced by the amount of the Deductible payable as loss for such
          claims or potential claims;
       5. if a Deductible is shown on the Declarations, the Deductible shall apply to all loss arising from a single event,
          health care event, offense or other covered incident, regardless of the number of insureds found liable for
          the loss; and
       6. if a Retention Aggregate is shown on the Declarations, the first named insured’s duty to pay loss, regardless
          of the number of claims or potential claims made, shall not exceed the Retention Aggregate.
   If more than one Deductible or Self-Insured Retention applies to a claim or potential claim, the first named
   insured’s duty to pay all applicable loss and/or claims expense will be limited to the largest such Deductible or Self-


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   Insured Retention.


V. CONDITIONS
   These conditions apply to all Coverage Parts:
   A. ACTION AGAINST THE COMPANY
       1. No action shall lie against the company unless each insured is in full compliance with all of the terms of this
          policy.
       2. No person shall have the right to join the company as a party to a claim to determine an insured’s liability
          under this policy. Further, an insured shall not interplead the company into a claim.
       3. No action shall lie against the company until the amount of loss has been finally determined by entry of
          judgment or written agreement between the insured, the claimant, and the company. Once the amount of
          loss has been finally determined, the claimant shall be entitled to recover under the terms of this policy.
   B. ARBITRATION
       1. The company and the insureds agree that in any dispute, claim, potential claim or controversy arising out
          of, relating to, or in connection with this policy, whether brought by or on behalf of an insured, the company,
          or any other party, the company may elect to submit any such dispute, claim, potential claim or controversy
          to binding arbitration, in accordance with Title 9 USC Sec. 1 et seq. (the Federal Arbitration Act) and shall be
          governed by the Commercial Arbitration Rules of the American Arbitration Association.
       2. The arbitration shall be presided over by three arbitrators chosen from the Commercial Insurance Panel of the
          American Arbitration Association. The arbitrators shall be governed by the law of the state of the address of
          the first named insured, as shown on the Declarations. The arbitration shall take place in the county that
          the capital of that state is located.
       3. The arbitrators shall have the discretion to order pre-arbitration discovery, including an exchange of documents
          and deposition of potential witnesses. Each party shall bear its own arbitration costs and expenses including
          attorneys’ fees, unless otherwise provided by law.
       4. Any arbitration award shall be in writing and shall specify the factual and legal bases of the award. Judgment
          on the award rendered by the arbitrator shall be final and may be entered in any court having jurisdiction
          thereof. Furthermore, this arbitration provision shall be a complete defense to any suit, action or proceeding in
          any federal, state or local court or before any administrative tribunal with respect to any dispute, claim,
          potential claim or controversy arising out of, relating to or in connection with this policy.
   C. ASSISTANCE AND COOPERATION
       1. After any claim is made, or any potential claim is first discovered, the insured shall not contract any
          expense, voluntarily assume any liability in any situation, nor make or contract any settlement of the claim or
          potential claim, except at the insured’s own cost and responsibility, without the written authorization of the
          company.
       2. The company’s duty to defend and pay loss for any claim or potential claim otherwise covered under this
          policy is strictly conditioned upon all insureds’ cooperation with the company in the investigation, defense,
          and/or settlement of any matter to which this policy applies. Such cooperation shall include, but is not limited
          to:
           a. attendance at any deposition, hearing, or trial, as requested by the company;
           b. assistance in securing and giving evidence;
           c.   obtaining the attendance of witnesses;
           d. doing nothing to prejudice the company’s ability to investigate, defend, and/or manage any matter to
              which this policy applies;
           e. submitting to recorded and/or sworn statements and to examinations under oath as requested by the
              company; and
           f.   promptly producing, at the company’s request, any records, documents and other information in an

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               insured’s possession, custody or control.
       3. If a claim or potential claim is, or might be, covered under any other policy of insurance, the insured shall
          promptly give notice to such other insurers. The insured shall also provide the company with copies of the
          applicable policies. The insured shall further act in good faith to enforce any rights held under such policies,
          including the right to a defense.
   D. BANKRUPTCY OR INSOLVENCY
       The bankruptcy or insolvency of an insured or an insured’s estate, or the non-payment by an insured or by any
       other organization responsible for a Deductible or Self-Insured Retention, shall not act to modify any duty owed by
       an insured or the company under the policy. Under no circumstances will such bankruptcy, insolvency or non-
       payment require the company to assume or in any way be responsible for any Deductible or Self-Insured
       Retention, or otherwise assume any obligation owed by any insured under this policy. The company will have no
       duty to pay loss or claims expense for any claim or potential claim unless the insured or any other
       organization responsible for the Self-Insured Retention timely pays the Self-Insured Retention in full.
   E. CANCELLATION, NONRENEWAL AND/OR TERMINATION OF COVERAGE
       1. This policy may be canceled by the first named insured. The first named insured shall provide written
          notice to the company requesting cancellation. The cancellation shall be effective on the date requested by
          the first named insured or the date the notice is received by the company, whichever is later.
       2. Any coverage contained within this policy may be terminated by the first named insured. The first named
          insured shall provide written notice to the company requesting the coverage termination. The termination
          shall be effective on the date requested by the first named insured or the date the notice is received by the
          company, whichever is later.
       3. This policy, or any coverage contained therein, may also be canceled, terminated or nonrenewed by the
          company. The company will send notice to the first named insured at the last address on record with the
          company.
       4. If the first named insured cancels this policy, or terminates any coverage contained therein, earned premium
          shall be computed in accordance with the standard short rate tables and procedure. If the company cancels
          this policy, or terminates any coverage contained therein, earned premium shall be computed pro rata. Premium
          adjustments shall be made within a reasonable period of time after cancellation. However, payment or tender
          of unearned premium shall not be a condition of cancellation.
       5. If the company cancels or nonrenews this policy for any reason other than non-payment of premium, the
          company shall provide written notice to the first named insured not less than 30 days prior to the effective
          date of such cancellation or nonrenewal. If the company cancels this policy for nonpayment of premium, the
          company shall provide written notice to the first named insured not less than 10 days prior to the effective
          date of such cancellation or nonrenewal.
       6. If the company cancels or nonrenews this policy, coverage under the policy shall terminate on the earlier of:
           a. the date stated on the cancellation or nonrenewal notice; or
           b. the date an insured procures replacement coverage.
   F. COVERAGE TERRITORY
       This policy applies to claims or potential claims arising from acts, omissions, occurrences or offenses (including
       offenses that take place through the Internet or similar electronic means of communication) occurring anywhere in
       the world, with the exception of any country or jurisdiction which is subject to trade or other economic sanction or
       embargo by the United States of America, provided that the claim or potential claim is made and any legal
       proceedings are pursued within the United States, its territories and possessions, including Puerto Rico.
   G. EXTENDED REPORTING PERIOD
       Only with respect to any Coverage Part shown on the Declarations as “Claims-Made and Reported,” the following
       provisions apply:
       1. Automatic Limited Extended Reporting Period
           a. In the event that coverage under this policy is terminated for any reason, the company will provide an


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                automatic limited extended reporting period of 30 days, starting with the end of the policy period,
                during which claims and potential claims arising out of any specific coverage(s) may be reported to the
                company in writing. However, the claim must have been first made against an insured during the policy
                period, or the potential claim must have been first discovered by an insured during the policy period.
           b. This automatic limited extended reporting period shall not extend the policy period or change the
              scope of the coverage provided. Any claim or potential claim first reported to the company during the
              automatic limited extended reporting period will be deemed to have been made on the last date on
              which this policy is in effect. The Limits of Liability that apply at the end of the policy period are not
              renewed or increased for claims or potential claims first reported during the automatic limited
              extended reporting period.
       2. Optional Extended Reporting Period
           a. The company shall, upon written request by or on behalf of the first named insured, make an offer for
              an extended reporting period to the first named insured if coverage is or will be canceled or
              nonrenewed, subject to the following:
                (1) any such written request by or on behalf of the first named insured must be received by the
                    company no later than 30 days after the cancellation or nonrenewal of the coverage;
                (2) the company shall be required to send the offer for an extended reporting period only to the first
                    named insured or its authorized representative; and
                (3) the coverage has been or will be canceled or nonrenewed with respect to:
                   a) the entire policy;
                   b) a Coverage Part; or
                   c) a named insured who:
                       i)   has Limits of Liability listed in the Limits of Liability column of a Schedule of Named Insureds
                            – Professional Liability;
                       ii) does not share Limits of Liability with another named insured with respect to the General
                           Liability Coverage Part or the Cyber Liability and Breach Response Coverage Part; or
                       iii) shares Limits of Liability with another named insured, but only when all coverage available
                            under that shared limit is terminated.
           b. The first named insured may accept the company’s offer of an extended reporting period by paying
              the premium due within 30 days from either the date on which the policy expires or the date on which the
              company receives the request for an extended reporting period, whichever is later. Failure to pay the
              full premium within this 30-day period will be deemed a rejection of the offer.
           c.   In the event of the purchase of an extended reporting period, the entire premium for such extended
                reporting period shall be deemed earned at its commencement.
           d. If an extended reporting period is purchased, a claim or potential claim otherwise covered by this
              policy may be reported for the period of time set forth in the applicable extended reporting period
              endorsement issued after termination of the policy period. The extended reporting period will begin
              at the end of the policy period. However, the extended reporting period shall not:
                (1) extend the policy period;
                (2) apply to any claim or potential claim arising from a health care event, event, offense, bodily
                    injury, property damage, or personal and advertising injury that took place after the policy
                    period; or
                (3) otherwise expand the coverage provided under this policy.
   H. FIRST NAMED INSURED
       1. The first named insured shall be authorized to act on behalf of all insureds with respect to this policy, with
          full authority to bind all insureds. The first named insured’s authority shall include, but is not limited to,
          the following actions:


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            a. receipt of notices of cancellation or nonrenewal;
            b. requesting or receiving endorsements issued to form a part of this policy;
            c.   payment of premiums due;
            d. receiving return premium; and
            e. receiving and/or responding to an offer for an extended reporting period for any insured.
        2. The first named insured shall notify the company in writing of any changes that might affect the insurance
           provided under this policy, including cancellation and nonrenewal.
   I.   FRAUD WARNING
        Any person, who knowingly and with intent to defraud any insurance company or other person, files an application
        for insurance or statement of claim containing any materially false information or conceals, for the purpose of
        misleading, information concerning any fact material thereto commits a fraudulent insurance act, which is a crime
        and subjects such person to criminal and civil penalties, which may include voiding of the policy if allowed by law.
   J.   GOVERNMENTAL ACCESS TO RECORDS
        If required by section 952 of the Omnibus Reconciliation Act of 1980, and after receipt of written request from the
        first named insured, the company will allow the U.S. Secretary of Health and Human Services or the U.S.
        Comptroller General access to this policy as well as all books, documents and records necessary to verify the cost
        of this policy. The company will also allow access to subcontracts between the company and any of its related
        organizations, and to such organization’s books, documents and other records to the extent required by law, and
        to the extent that the company has possession, custody or control of such books, documents and records. Access
        will be provided for up to 4 years after the services provided pursuant to this policy cease.
   K. INSPECTION AND AUDIT
        The company shall be permitted, at its own discretion and for its own benefit, to audit an insured’s property,
        operations, and any business records. The company shall also have the right to obtain a copy of any current or
        prior insurance records. Any findings or recommendations made by the company as a result of an audit shall inure
        only to the company’s benefit. As a result, they may not be used as evidence of the insured’s compliance with
        any safety regulations or other industry standards.
   L.   MODIFICATIONS
        Except as provided herein, this policy may not be modified except by written endorsement attached to and made
        a part of this policy by the company. The company’s decision not to insist on an insured’s compliance with any
        provision of this policy shall not operate to waive, modify, or void that provision, or any other provision, condition
        or term of this policy.
   M. NON-ASSIGNABILITY
        No interest of an insured under this policy shall be assignable without the prior written consent of the company.
        However, if the insured is a person and dies, the coverage afforded by this policy shall inure to the benefit of that
        insured’s estate.
   N. OTHER INSURANCE
        Unless otherwise noted in a Coverage Part:
        1. if any other valid and collectible insurance is available to any insured with respect to a liability covered by this
           policy, and such insurance is afforded under a policy issued by a past, present or future parent, subsidiary or
           affiliate of the company, then the maximum limits of liability under all policies shall not exceed the highest
           remaining applicable limit of liability under any one policy;
        2. if any other valid and collectible insurance is available to any insured for a claim or potential claim under
           a policy not issued by a past, present or future parent, subsidiary or affiliate of the company, then this
           insurance will be excess over such other insurance even if such other insurance is stated to be primary, excess,
           contingent or otherwise. The company will pay only the company’s share of the loss, if any, that exceeds
           the sum of:
            a. the total amount that all such other insurance would pay for the loss in the absence of this insurance; and


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           b. the total of all deductible and self-insured amounts under all such other insurance; and
       3. this condition shall not apply if such other valid insurance is written to be specifically excess of this policy.
   O. PREMIUMS
       1. The company’s obligation to perform any duty under the policy is strictly conditioned upon the payment of
          the premium when due. Therefore, this policy shall not be deemed to have been issued, delivered, or renewed
          and shall not be applicable to any matter which would otherwise be covered herein, until:
           a. the premium has been paid in full; or
           b. if the company has agreed to finance the policy, the first installment has been paid in full.
           If payment is made by check, electronic transfer or money order, it shall not be considered “paid in full” until
           honored by the payor’s bank.
       2. Premiums for this policy shall be computed in accordance with the company’s rules, rates, and rating plans.
       3. Any premium designated as deposit premium is merely a deposit on the actual amount owed. At the close of
          the policy period, the company will compute the earned premium for that period. The deposit premium will
          then be credited to that amount. If the deposit premium exceeds the earned premium, the company will
          refund the difference to the first named insured. If the earned premium exceeds the deposit premium, the
          company will bill the first named insured for the difference.
       4. The first named insured shall maintain records of the information necessary for premium computation. The
          first named insured shall send copies of these records to the company at the end of the policy period as
          directed by the company. Such information shall be subject to audit and verification by the company.
   P. REPORTING REQUIREMENTS
       1. The company’s duty to defend and pay loss for any claim or potential claim otherwise covered under this
          policy is strictly conditioned upon an authorized insured’s forwarding, as soon as practicable and expressly
          subject to the reporting requirements of the applicable Insuring Clause, notice of every claim, potential
          claim, demand, suit, summons, or legal paper the insured receives.
       2. If the Retention shown on the Declarations is a:
           a. Deductible, an authorized insured shall, as soon as practicable, report any claim or potential claim;
           b. Self-Insured Retention, an authorized insured shall, as soon as practicable, report any claim or
              potential claim that:
               (1) an authorized insured believes will results in damages that exceed the applicable Self-Insured
                   Retention;
               (2) has a loss reserve exceeding 50% of the applicable Self-Insured Retention;
               (3) involves a claimant’s demand which exceeds the applicable Self-Insured Retention;
               (4) contains allegations of unfair claim practices or bad faith;
               (5) involves a suit naming the company or its affiliates as defendants; or
               (6) that caused:
                   a) neurological injury, such as brain injury, spinal cord injury or nerve injury resulting in paralysis;
                   b) injury during pregnancy or delivery;
                   c) significant limitation of daily activities, such as feeding, continence or sexual function;
                   d) loss of sight or hearing;
                   e) elopement;
                   f)   decubitus ulcers;
                   g) severe disfigurement, such as burns, amputation or scarring;
                   h) loss of any organ; or


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                    i)   death.
       3. All such reports and documents shall be:
           a. directed to the company using the contact information listed on the contact sheet attached to this policy;
           b. in writing; and
           c.   include the following information:
                (1) the identity of all insureds implicated;
                (2) all reasonably obtainable information with respect to the time, place and circumstances of the health
                    care event, event, offense or other matter for which coverage is sought under this policy;
                (3) the nature and extent of the injury;
                (4) the names and addresses of any injured persons;
                (5) the names and addresses of available witnesses; and
                (6) the basis for the insured’s belief that a claim is reasonably likely to be made, as well as the date the
                    insured first came to this belief.
       4. A health care event, event, offense, accident or other matter reported to the company as part of risk
          management or loss control services shall not constitute the report of a claim or potential claim for purposes
          of coverage under this policy.


   Q. REPRESENTATIONS
       1. By acceptance of this policy, each insured agrees, represents, and warrants that the statements and particulars
          made in all applications, including any statements and particulars made in any and all documents, supplemental
          pages or other attachments for the purposes of any application, are true and correct. It is further understood
          and agreed that any application and attachments are incorporated into, and shall form a part of, this policy.
          Therefore, this policy and any endorsements hereto, and all applications and attachments, embody all
          agreements between the company and any of its authorized representatives, and all insureds relating to this
          insurance.
       2. In the event any application was executed or endorsed by an insured’s insurance producer, the insured
          acknowledges that the insurance producer has acted under the insured’s express authority and that the
          insured has thoroughly reviewed the information contained on any application.
       3. The representations made by an insured in the applications and attachments are the basis for the coverage
          provided, as well as the company’s calculation of the applicable premium. Therefore, it is understood and
          agreed that, to the extent permitted by law, the company reserves all rights, including the right to rescind
          this policy, or deny any coverage provided for a claim or potential claim, based upon any material
          misrepresentation made by any insured. As used in this condition, “material misrepresentation” means
          concealment, misrepresentation, omission or fraud which, if known by the company, would have led to refusal
          by the company to make this contract or provide coverage, or to make this contract or provide coverage on
          different terms or conditions.
       4. No knowledge or information possessed by any insured shall be imputed to any other insured, except for
          material facts or information known to the person or persons who signed the application. In the event of any
          material misrepresentation in connection with any of the particulars or statements in the application, this policy
          shall be void with respect to any insured who knew of such material misrepresentation or to whom such
          knowledge is imputed.
   R. SEPARATION OF INSUREDS
       Except for any duties specifically assigned to the first named insured and Limits of Liability applicable to any
       insured, this policy applies:
       1. separately to each insured against whom a claim or potential claim is made; and
       2. as if each insured were the only insured under this policy.


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   S. SETTLEMENT
       The company may only settle a claim, potential claim or other matter brought against an insured with the
       consent of the first named insured.
   T. SUBROGATION
       The company shall be subrogated to the rights of any insured to the extent of any payments made, or as allowed
       by law. Insureds shall do nothing to prejudice those rights. At the company’s request, an insured shall bring
       suit or transfer those rights to the company. Insureds shall also help the company enforce its rights.
   U. TERMS CONFORM TO STATUTE OR REGULATION
       If any term of this policy, or any duty arising therefrom, would cause the company to violate any federal, state or
       local law or regulation, the policy is amended to bring the company into compliance with such statute or regulation.




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                                                                                              Issuing Company:
                                                                     National Fire & Marine Insurance Company
                                                                                              Omaha, Nebraska


                                     SENIOR CARE LIABILITY POLICY
                              PROFESSIONAL LIABILITY COVERAGE PART


                                                       NOTICE:
 This Coverage Part may contain claims-made and reported coverage. Please read this Coverage
                                        Part carefully.


I.   INSURING CLAUSES
     A. PROFESSIONAL LIABILITY
        1. Claims-Made and Reported:
           If “Claims-Made and Reported” is shown on the Declarations with respect to this Coverage Part, the following
           provisions apply:
           a. The company will pay on behalf of any insured all loss and claims expense, subject to any applicable
              Deductible or Self-Insured Retention, and up to the Limits of Liability shown on the Declarations with
              respect to this Coverage Part, arising from a health care event that took place on or after the applicable
              Retroactive Date shown on the Declarations. Moreover, to be covered under this policy, the loss or claims
              expense must arise from:
               (1) a claim that was first made against, and received by, an insured during the policy period, and
                   reported to the company, in writing, during the policy period or within any applicable extended
                   reporting period; or
               (2) a potential claim that was first known about or discovered by an insured during the policy period,
                   and reported to the company, in writing, during the policy period or within the automatic limited
                   extended reporting period.
           b. All claims and potential claims for damages arising out of, or in connection with the same health care
              event will be deemed to have been first made on the date that the first of those claims is made against
              any insured, or the date the first of such potential claims is discovered by an authorized insured,
              whichever date is earlier. Only the policy in effect when the first such claim is made and reported to the
              company, or the first such potential claim is discovered and reported to the company, whichever is
              earlier, will apply to all related claims and potential claims, no matter when those related claims are
              made or reported, or potential claims are discovered and reported. If, prior to the effective date of this
              policy, the first such claim is made, or the first such potential claim is discovered, this policy will not
              apply to that claim or potential claim, nor to any related claim or potential claim made during this
              policy period or any extended reporting period.
        2. Occurrence:
           If “Occurrence” is shown on the Declarations with respect to this Coverage Part, the following provisions apply:
           a. The company will pay on behalf of an insured all loss and claims expense, subject to any applicable
              Deductible or Self-Insured Retention, and up to the Limits of Liability shown on the Declarations with
              respect to this Coverage Part, arising from a health care event that occurred during the policy period.
           b. A health care event will be deemed to have occurred on the earliest date of any related acts or omissions
              that gave rise to or contributed to the health care event.




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II. EXCLUSIONS
   The coverage provided under this Coverage Part does not apply to:
   A. CONTRACTUAL LIABILITY
       Liability for the acts of another assumed by an insured under any contract or agreement, whether written, oral or
       implied. This exclusion does not apply to liability for damages that the insured would have in the absence of the
       contract or agreement.
   B. ELECTRONIC DATA
       Any claim or potential claim arising out of, or in connection with, the loss of, loss of use of, damage to, corruption
       of, inability to access, or inability to manipulate electronic data. As used in this exclusion, “electronic data” means
       information, facts, or programs stored as or on, created or used on, or transmitted to or from computer software,
       including systems and applications software, hard or floppy disks, CD-ROMS, tapes, drives, cells, data processing
       devices, or any other media that are used with electronically controlled equipment or by means of the internet.
   C. INTENTIONAL ACTS
       Any loss for any claim or potential claim arising out of, or in connection with, any act listed below:
       1. any criminal, intentional, dishonest or fraudulent act;
       2. any romantic relationship, or any actual or threatened sexual conduct, with a current, former or prospective
          patient; or
       3. any willful violation of any law, statute, or regulation.
       However, the company will pay claims expense to defend any insured against any claim or potential claim
       involving any excluded act listed above when intertwined with any other act triggering any insuring agreement.
       This exclusion does not apply to any claim or potential claim brought against any insured who did not direct
       or act in concert to commit, directly participate in or direct another in connection with any of the acts excluded
       from coverage under this exclusion.
   D. PRIVACY
       Any claim or potential claim arising out of, or in connection with, any disclosure of or access to any person’s or
       organization’s confidential, proprietary or personal information, including personally identifiable information,
       financial information, patents, trade secrets, processing methods, customer lists, credit card information, health
       information, or any other type of nonpublic information. This exclusion applies even if the claim or potential
       claim is for notification costs, credit monitoring expenses, forensic expenses, public relations expenses or any other
       loss, claims expense, cost or expense incurred by an insured or others resulting from the excluded claims or
       potential claims.
   E. RESIDENTS’ RIGHTS BROUGHT BY ANOTHER PERSON
       Any claim or potential claim arising out of, or in connection with, any violation of any law relating to residents’
       rights brought by any person other than a resident or a resident’s legal representative.
   F. RESIDENTS’ RIGHTS BROUGHT BY MULTIPLE RESIDENTS
       Any claim or potential claim arising out of, or in connection with, any violation of any law relating to residents’
       rights laws brought by multiple claimants, groups of claimants, multi-party actions, potential class actions or
       certified classes that allege the same or similar violations.
   G. TREATMENT BY AN ADMINISTRATOR OR COMMITTEE MEMBER
       Any claim or potential claim arising out of, or in connection with, the rendering of, or failure to render,
       treatment by an administrator or committee member, unless it was provided in an emergency without an
       expectation of compensation. As used in this exclusion:
       1. “administrator” means an owner, partner, stockholder, director, trustee, executive officer, medical director,
          department head, or faculty member of a named insured; and
       2. “committee member” means a person serving as a member of a committee or board formed or controlled by a
          named insured. It also includes any person executing the directives of such a committee or board.



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III.ADDITIONAL CONDITIONS
   In addition to the conditions in the Common Policy Provisions and Conditions, the following conditions apply to this
   Coverage Part:
   A. RETROACTIVE DATES
       1. A named insured that has a date listed under the Retroactive Date column in a Schedule of Named Insureds
          will be considered as having “Claims-Made and Reported” coverage as shown on the Declarations with respect
          to the applicable Coverage Part.
       2. A named insured that has “n/a” listed under the Retroactive Date column in a Schedule of Named Insureds
          will be considered as having “Occurrence” coverage as shown on the Declarations with respect to the applicable
          Coverage Part.
   B. TERMINATION DATES
       If a named insured has a date listed under the Termination Date column in a Schedule of Named Insureds, any
       health care event must have taken place before that date, and after any applicable Retroactive Date, to be
       covered under the applicable Coverage Part. However, coverage for such named insured shall automatically
       terminate in the event that the policy is canceled or nonrenewed, unless an extended reporting period is
       purchased for that named insured under the applicable Coverage Part.
   C. LIMITS OF LIABILITY
       1. A named insured that has “FNI” or the name of any other named insured listed under the Limits of Liability
          column in a Schedule of Named Insureds will share the Limits of Liability provided to that first named insured
          or named insured.
       2. If any named insured has an amount listed under the Limits of Liability column in a Schedule of Named
          Insureds, and any other named insured lists that same named insured in its Limits of Liability column, all
          such named insureds will share Limits of Liability.
       3. A named insured that has an amount listed under the Limits of Liability column in a Schedule of Named
          Insureds does not share the first named insured’s or any other named insured’s Limits of Liability as long
          as no other named insured lists that same named insured in its Limits of Liability column.
   D. RETENTIONS
       1. A named insured that has “FNI” or the name of any other named insured listed under the Retention column
          in a Schedule of Named Insureds is subject to any Deductible or Self-Insured Retention applicable to that first
          named insured or named insured.
       2. If any named insured has an amount listed under the Retention column in a Schedule of Named Insureds,
          and any other named insured lists that same named insured in its Retention column, all such named
          insureds will share the Deductible or Self-Insured Retention.
       3. A named insured that has an amount listed under the Retention column in a Schedule of Named Insureds
          does not share the first named insured’s or any other named insured’s Deductible or Self-Insured
          Retention as long as no other named insured lists that same named insured in its Retention column.
IV. LIMITS OF LIABILITY
   A. PER EVENT LIMIT
       The Per Event Limit shown on the Declarations is the most the company will pay under this Coverage Part for loss
       and claims expense, if shown on the Declarations as “Defense Within Limits,” for any health care event
       regardless of the number of:
       1. insureds who share a Per Event Limit;
       2. claims made or potential claims first discovered; or
       3. persons or organizations making claims or potential claims.
   B. AGGREGATE LIMIT
       The Aggregate Limit shown on the Declarations is the most the company will pay under this Coverage Part for
       loss and claims expense, if shown on the Declarations as “Defense Within Limits,” for all health care events

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       regardless of the number of:
       1. health care events;
       2. insureds who share an Aggregate Limit;
       3. claims made or potential claims first discovered; or
       4. persons or organizations making claims or potential claims.




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                                                                                              Issuing Company:
                                                                     National Fire & Marine Insurance Company
                                                                                              Omaha, Nebraska


                                     SENIOR CARE LIABILITY POLICY
                                  GENERAL LIABILITY COVERAGE PART


                                                       NOTICE:
 This Coverage Part may contain claims-made and reported coverage. Please read this Coverage
                                        Part carefully.


I.   INSURING CLAUSES
     A. BODILY INJURY AND PROPERTY DAMAGE LIABILITY
        1. Claims-Made and Reported
           If “Claims-Made and Reported” is shown on the Declarations with respect to this Coverage Part, the following
           provisions apply:
           a. The company will pay on behalf of any insured all loss and claims expense, subject to any applicable
              Deductible or Self-Insured Retention, and up to the Limits of Liability shown on the Declarations with
              respect to this Insuring Clause, arising from an event resulting in bodily injury or property damage
              that took place on or after the applicable retroactive date shown on the Declarations. Moreover, to be
              covered under this policy, the loss or claims expense must arise from:
               (1) a claim that was first made against, and received by, an insured during the policy period, and
                   reported to the company, in writing, during the policy period or within any applicable extended
                   reporting period; or
               (2) a potential claim that was first known about or discovered by an insured during the policy period,
                   and reported to the company, in writing, during the policy period or within the automatic limited
                   extended reporting period.
           b. All claims and potential claims for damages arising out of, or in connection with, bodily injury to the
              same person, including damages claimed by any person or organization for care, loss of services, or death
              resulting at any time from bodily injury, will be deemed to have been first made on the date that the first
              of those claims is made against any insured, or the date the first of such potential claims is discovered
              by an authorized insured, whichever date is earlier. Additionally, all claims and potential claims for
              damages because of property damage causing loss to the same person or organization will be deemed
              to have been first made on the date that the first of those claims is made against any insured, or the
              date the first of the potential claims is discovered by an authorized insured, whichever date is earlier.
              Only the policy in effect when the first such claim is made and reported to the company, or the first such
              potential claim is discovered and reported to the company, whichever is earlier, will apply to all related
              claims and potential claims, no matter when those related claims are made or reported, or potential
              claims are discovered and reported. If, prior to the effective date of this policy, the first such claim is
              made, or the first such potential claim is discovered, this policy will not apply to that claim or potential
              claim, nor to any related claim or potential claim made during this policy period or any extended
              reporting period.
        2. Occurrence
           If “Occurrence” is shown on the Declarations with respect to this Coverage Part, the following provisions apply:
           a. The company will pay on behalf of an insured all loss and claims expense, subject to any applicable
              Deductible or Self-Insured Retention, and up to the Limits of Liability shown on the Declarations with
              respect to this Insuring Clause, arising from an event resulting in bodily injury or property damage
              that occurred during the policy period.



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           b. An event will be deemed to have occurred on the earliest date of any related acts or omissions that gave
              rise to or contributed to the event.
   B. PERSONAL AND ADVERTISING INJURY LIABILITY
       1. Claims-Made and Reported
           If “Claims-Made and Reported” is shown on the Declarations with respect to this Coverage Part, the following
           provisions apply:
           a. The company will pay on behalf of any insured all loss and claims expense, subject to any applicable
              Deductible or Self-Insured Retention, and up to the Limits of Liability shown on the Declarations with
              respect to this Insuring Clause, arising from an offense resulting in personal and advertising injury that
              took place on or after the applicable retroactive date shown on the Declarations. Moreover, to be covered
              under this policy, the loss or claims expense must arise from:
               (1) a claim that was first made against, and received by, an insured during the policy period, and
                   reported to the company, in writing, during the policy period or within any applicable extended
                   reporting period; or
               (2) a potential claim that was first known about or discovered by an insured during the policy period,
                   and reported to the company, in writing, during the policy period or within the automatic limited
                   extended reporting period.
           b. All claims and potential claims for damages arising out of, or in connection with the same personal
              and advertising injury will be deemed to have been first made on the date that the first of those claims
              is made against any insured, or the date the first of such potential claims is discovered by an
              authorized insured, whichever date is earlier. Only the policy in effect when the first such claim is made
              and reported to the company, or the first such potential claim is discovered and reported to the
              company, whichever is earlier, will apply to all related claims and potential claims, no matter when
              those related claims are made or reported, or potential claims are discovered and reported. If, prior to
              the effective date of this policy, the first such claim is made, or the first such potential claim is
              discovered, this policy will not apply to that claim or potential claim, nor to any related claim or
              potential claim made during this policy period or any extended reporting period.
       2. Occurrence
           If “Occurrence” is shown on the Declarations with respect to this Coverage Part, the following provisions apply:
           a. The company will pay on behalf of an insured all loss and claims expense, subject to any applicable
              Deductible or Self-Insured Retention, and up to the Limits of Liability shown on the Declarations with
              respect to this Insuring Clause, arising from an offense resulting in personal and advertising injury that
              occurred during the policy period.
           b. An offense will be deemed to have occurred on the earliest date of any related acts or omissions that gave
              rise to or contributed to the offense.
   C. MEDICAL PAYMENTS
       1. Claims-Made and Reported
           If “Claims-Made and Reported” is shown on the Declarations with respect to this Coverage Part, the following
           provisions apply:
           a. The company will pay on behalf of any named insured, medical expenses for bodily injury caused
              by an accident, regardless of fault, and up to the Limits of Liability shown on the Declarations with respect
              to this Insuring Clause. However, the medical expenses must have been caused by an accident that took
              place on or after the applicable Retroactive Date shown on the Declarations. Moreover, to be covered under
              this policy, the medical expenses must:
               (1) arise from a claim that was first made against, and received by, a named insured during the policy
                   period, and reported to the company, in writing, during the policy period;
               (2) arise from an accident that occurred on a premises owned or occupied by, or on the ways next to
                   premises owned or occupied by, a named insured; and
               (3) result from the operations of a named insured.

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           b. for damages arising out of, or in connection with the same accident will be deemed to have been first made
              on the date that the first of those claims is made against any insured, or the date the first of such
              potential claims is discovered by an authorized insured, whichever date is earlier. Only the policy in
              effect when the first such claim is made and reported to the company, or the first such potential claim
              is discovered and reported to the company, whichever is earlier, will apply to all related claims and
              potential claims, no matter when those related claims are made or reported, or potential claims are
              discovered and reported. If, prior to the effective date of this policy, the first such claim is made, or the
              first such potential claim is discovered, this policy will not apply to that claim or potential claim, nor
              to any related claim or potential claim made during this policy period or any extended reporting
              period.
       2. Occurrence
           If “Occurrence” is shown on the Declarations with respect to this Coverage Part, the following provisions apply:
           a. the company will pay on behalf of a named insured, medical expenses for bodily injury caused by
              an accident, regardless of fault, and up to the Limits of Liability shown on the Declarations with respect to
              this Insuring Clause. However, the medical expenses must be caused by an accident that occurred during
              the policy period. Moreover, to be covered under this policy, the medical expenses must:
               (1) be submitted to the company, in writing, within one year of the accident;
               (2) arise from an accident that occurred on a premises owned or occupied by, or on the ways next to
                   premises owned or occupied by, a named insured; and
               (3) result from the operations of a named insured.
           b. An accident will be deemed to have occurred on the earliest date of any related acts or omissions that gave
              rise to or contributed to the accident.
       However, payments for medical expenses shall not be subject to any Deductible or Self-Insured Retention.


II. EXCLUSIONS
   A. EXCLUSIONS APPLICABLE TO THIS COVERAGE PART
       The coverage provided under this Coverage Part does not apply to:
       1. Contractual Liability
           Any claim or potential claim arising out of, or in connection with, an insured’s obligation to pay damages
           by reason of the assumption of liability in a contract or agreement. This exclusion does not apply to liability for
           damages:
           a. that the insured would have in the absence of the contract or agreement; or
           b. assumed in a contract or agreement that is an insured contract, provided the bodily injury, property
              damage, personal and advertising injury or medical expenses occurred subsequent to the execution
              of the contract or agreement. Only for the purposes of liability assumed in an insured contract,
              reasonable attorneys’ fees and necessary litigation expenses incurred by or for a party, other than an
              insured, are deemed to be damages because of bodily injury, property damage, personal and
              advertising injury or medical expenses, provided:
               (1) liability to or for that party’s defense has also been assumed in the same insured contract; and
               (2) attorneys’ fees and litigation expenses are for the defense against a civil or alternative dispute
                   resolution proceeding in which damages to which this insurance applies are alleged.
       2. Contamination
           Any claim or potential claim arising out of, or in connection with, a superbug contamination.
       3. Electronic Data
           Any claim or potential claim arising out of, or in connection with, the loss of, loss of use of, damage to,
           corruption of, inability to access, or inability to manipulate electronic data. As used in this exclusion, “electronic
           data” means information, facts, or programs stored as or on, created or used on, or transmitted to or from

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           computer software, including systems and applications software, hard or floppy disks, CD-ROMS, tapes, drives,
           cells, data processing devices, or any other media that are used with electronically controlled equipment or by
           means of the internet.
       4. Employees
           Any claim or potential claim arising out of, or in connection with, the acts or omissions of an employee,
           involving:
           a. bodily injury, personal and advertising injury or medical expenses:
                (1) to another employee or agent of a named insured;
                (2) to the spouse, relative or dependent as a consequence of subparagraph a.(1), above; or
                (3) for which there is any duty to share damages or loss with, or repay, another party liable for the loss as
                    a consequence of subparagraphs a.(1) and a.(2), above.
           b. property damage to property:
                (1) owned, occupied, or used by an insured;
                (2) rented to an insured; or
                (3) in the care, custody, or control of an insured.
       5. Privacy
           Any claim or potential claim arising out of, or in connection with, any disclosure of or access to any person’s
           or organization’s confidential, proprietary or personal information, including personally identifiable information,
           financial information, patents, trade secrets, processing methods, customer lists, credit card information, health
           information, or any other type of nonpublic information. This exclusion applies even if the claim or potential
           claim is for notification costs, credit monitoring expenses, forensic expenses, public relations expenses or any
           other loss, claims expense, cost or expense incurred by an insured or others resulting from the excluded
           claims or potential claims.
       6. Professional Liability
           Any claim or potential claim arising out of, or in connection with, a health care event.
       7. Recording And Distribution Of Material Or Information In Violation Of Law
           Any claim or potential claim arising out of, or in connection with, any act or omission that violates or is
           alleged to violate:
           a. the Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
           b. the CAN-SPAM Act of 2003, including any amendment of or addition to such law;
           c.   the Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair and
                Accurate Credit Transaction Act; or
           d. any federal, state or local statute, ordinance or regulation, other than the TCPA or CAN-SPAM Act of 2003,
              or FCRA and their amendments and additions, that addresses, prohibits, or limits the printing,
              dissemination, disposal, collecting, recording, sending, transmitting, communicating or distribution of
              material or information.
       8. Residents Rights
           Any claim or potential claim arising out of, or in connection with, a violation of any law relating to residents’
           rights.
       9. Sexual Acts
           Any claim or potential claim arising out of, or in connection with, any actual or threatened sexual conduct
           by any person of another person while in the care, custody, or control of any insured.
           Under this exclusion, the company’s duty to defend the insured for such claim or potential claim will cease
           when it is established by trial or arbitration verdict, court ruling, regulatory ruling or legal admission that the
           insured engaged in any act excluded in this exclusion.


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           This exclusion does not apply to any claim or potential claim brought against any insured who did not
           direct or act in concert to commit, directly participate in or direct another in connection with any of the acts
           excluded from coverage under this exclusion.
   B. EXCLUSIONS APPLICABLE TO THE BODILY INJURY AND PROPERTY DAMAGE LIABILITY INSURING CLAUSE AND
      THE MEDICAL PAYMENTS INSURING CLAUSE
       The coverage provided under the Bodily Injury and Property Damage Liability Insuring Clause and the Medical
       Payments Insuring Clause does not apply to:
       1. Aircraft, Auto Or Watercraft
           Bodily injury, property damage or medical expenses arising out of, or in connection with, the ownership,
           maintenance, use, or entrustment to others of any aircraft, auto, or watercraft owned or operated by or rented
           to or loaned to any insured. Use includes operation and loading or unloading.
           a. This exclusion applies even if the claims or potential claims against any insured allege negligence or
              other wrongdoing in the supervision, hiring, employment, training, or monitoring of others by that insured
              if the event or accident which caused the bodily injury, property damage or medical expenses
              involved the ownership, maintenance, use, or entrustment to others of any aircraft, auto, or watercraft
              that is owned or operated by or rented or loaned to any insured.
           b. This exclusion does not apply to:
               (1) the loading or unloading of a patient;
               (2) a watercraft while on shore on premises owned or rented by the insured;
               (3) a watercraft that is:
                   a) not owned by an insured;
                   b) less than 26 feet long; and
                   c) not being used to carry persons or property for a charge.
               (4) parking an auto on or next to a site owned or occupied by an insured, but only if the auto is not
                   owned, rented, or being used by an insured;
               (5) liability assumed under an insured contract for the ownership, maintenance, or use of an aircraft or
                   watercraft; or
               (6) bodily injury, property damage or medical expenses arising out of, or in connection with:
                   a) the operation of machinery or equipment that is attached to, or part of, a land vehicle that would
                      qualify under the definition of mobile equipment if it were not subject to a compulsory or financial
                      responsibility law or other motor vehicle insurance law in the state where it is licensed or principally
                      garaged; or
                   b) the operation of any of the machinery or equipment listed in subparagraph 2.a or 2.b of the
                      definition of mobile equipment.
       2. Asbestos
           Any claim or potential claim arising out of, or in connection with, asbestos, or any materials containing
           asbestos in whatever form or quantity.
       3. Damage To Impaired Property Or Property Not Physically Injured
           Property damage to impaired property or property that has not been physically injured arising out of, or
           in connection with:
           a. a defect, deficiency, inadequacy, or dangerous condition in the insured’s product or insured’s work;
              or
           b. a delay or failure by an insured to perform under the terms of a contract or agreement.
           This exclusion does not apply to the loss of use of other property arising out of, or in connection with, sudden
           and accidental physical injury to the insured’s product or the insured’s work after it has been put to its
           intended use.

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       4. Damage To The Insured’s Product
           Property damage to the insured’s product arising out of, or in connection with, it or any part of it.
       5. Damage To The Insured’s Work
           Property damage to the insured’s work arising out of, or in connection with, the insured’s work or any
           part of it, and included in the products completed operations hazard. This exclusion does not apply if the
           damaged work, or the work out of which the damage arises, was performed by a subcontractor on behalf of
           the insured.
       6. Damage To Property
           Property damage to:
           a. property an insured owns, rents, or occupies, including any costs or expenses incurred by an insured, or
              any other person or organization for repair, replacement, enhancement, restoration, or maintenance of
              such property for any reason, including prevention of injury to a person or damage to another’s property;
           b. premises an insured sells, gives away, or abandons if the property damage arises out of, or in
              connection with, any part of those premises;
           c.   property loaned to an insured;
           d. personal property in the care, custody, or control of an insured;
           e. that particular part of real property on which an insured or any contractors or subcontractors, working
              directly or indirectly on behalf of an insured, are performing operations if the property damage arises
              out of those operations; or
           f.   that particular part of any property that must be restored, repaired, or replaced because the insured’s
                work was incorrectly performed on it.
           Subparagraphs a, c, and d of this exclusion do not apply to property damage (other than damage by fire) to
           a premises, including the contents of such premises, rented to an insured for a period of 7 or fewer consecutive
           days. A separate limit of liability applies to the Damage to Premises Rented to an Insured as described in the
           Limits of Liability provision.
           Subparagraph b of this exclusion does not apply if the premises are the insured’s work and were never
           occupied, rented, or held for rental by an insured.
           Subparagraph f of this exclusion does not apply to property damage included in the products completed
           operations hazard.
       7. Expected Or Intended Injury
           Bodily injury, property damage or medical expenses arising out of, or in connection with, any act
           expected or intended by an insured to cause bodily injury, property damage or medical expenses. This
           exclusion applies even if an insured’s act causes bodily injury, property damage or medical expenses:
           a. of a different type or degree than expected or intended; or
           b. to a different person or organization than expected or intended.
           However, this exclusion does not apply to bodily injury or medical expenses arising out of, or in connection
           with, an insured’s use of reasonable force to protect persons or property.
       8. Fungi And Bacteria
           a. Bodily injury, property damage or medical expenses arising out of, or in connection with, the actual,
              alleged or threatened inhalation of, injection of, contact with, exposure to, existence of, or presence of any
              fungi or bacteria on or within a building or structure, including its contents, regardless of whether any other
              cause, event, material or product contributed concurrently or in any sequence to such injury or damage.
           b. Any loss, cost or expense arising out of, or in connection with, the abating, testing, monitoring, cleaning,
              removing, containing, treating, detoxifying, neutralizing, remediating, or disposing of, or in any way
              responding to, or assessing the effects of, fungi or bacteria, by any insured or by any other person or
              organization.
           This exclusion shall not apply to any fungi or bacteria contained in a good or product intended for bodily

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           consumption. For the purposes of this exclusion, the term fungi includes any type or form of fungus, including
           mold or mildew and any mycotoxins, spores, scents, or byproducts produced or released by fungi.
       9. Liquor Liability
           Bodily injury, property damage or medical expenses arising out of, or in connection with, any insured’s
           liability by reason of:
           a. causing or contributing to the intoxication of any person;
           b. the furnishing of alcoholic beverages to a person under the legal drinking age or under the influence of
              alcohol; or
           c.   any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic beverages.
           This exclusion applies only if the insured is in the business of manufacturing, distributing or selling alcoholic
           beverages.
       10. Mobile Equipment
           Bodily injury, property damage or medical expenses arising out of, or in connection with:
           a. the transportation of mobile equipment by an auto owned or operated by or rented or loaned to an
              insured; or
           b. the use of mobile equipment in, while in practice for, or while being prepared for any prearranged racing,
              speed, demolition, or stunting activity.
       11. Personal And Advertising Injury
           Bodily injury arising out of, or in connection with, personal and advertising injury.
       12. Pollution
           a. Any bodily injury, property damage or medical expenses arising out of, or in connection with, the
              actual, alleged, or threatened discharge, dispersal, seepage, migration, release, or escape of pollutants:
                (1) at or from any premises, site, or location that is or was at any time owned or occupied by or rented or
                    loaned to any insured. However, this does not apply to:
                    a) bodily injury if sustained within a building and caused by smoke, fumes, vapor, or soot produced
                       by or originated from equipment that is used to heat, cool, or dehumidify the building or equipment
                       that is used to heat water for personal use by the building’s occupants or guests;
                    b) bodily injury, property damage or medical expenses for which an insured may be held
                       liable, if it is a contractor, and the owner or lessee of such premises, site, or location has been
                       added to the policy as an additional insured with respect to an insured’s ongoing operations
                       performed for that additional insured at that premises, site, or location, and such premises, site,
                       or location is not or never was owned or occupied by or rented or loaned to any insured, other
                       than that additional insured; or
                    c) bodily injury, property damage or medical expenses arising out of, or in connection with,
                       heat, smoke, or fumes from a fire that becomes uncontrollable or breaks out from where it was
                       intended to be.
                (2) at or from any premises, site, or location that is or was at any time used by or for any insured or
                    others for the handling, storage, disposal, processing, or treatment of waste.
                (3) which are or were at any time transported, handled, stored, treated, disposed of or processed as waste
                    by or for any insured or any other person or organization for whom an insured may be legally
                    responsible.
                (4) at or from any premises, site, or location on which any insured or any contractors or subcontractors,
                    working directly or indirectly on any insured’s behalf, are performing operations if the pollutants
                    were brought on or to the premises, site, or location in connection with such operations by such
                    insured, contractor, or subcontractor. However, this subparagraph does not apply to:
                    a) bodily injury, property damage or medical expenses arising out of, or in connection with,
                       the escape of fuels, lubricants, or other operating fluids, which are needed to perform the normal

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                          electrical, hydraulic, or mechanical functions necessary for the operation of mobile equipment
                          or its parts, if such fuels, lubricants, or other operating fluids escape from a vehicle part designed
                          to hold, store, or receive them. This exception does not apply if the bodily injury, property
                          damage or medical expenses arises out of the intentional discharge, dispersal, or release of
                          fuels, lubricants, or other operating fluids or if such fuels, lubricants, or other operating fluids are
                          brought on or to the premises, site, or location with the intent that they be discharged, dispersed,
                          or released as part of the operations being performed by such insured, contractor, or
                          subcontractor;
                      b) bodily injury, property damage and medical expenses sustained within a building and caused
                         by the release of gases, fumes, or vapors from materials brought into the building in connection
                         with operations being performed by an insured, or on its behalf by a contractor or subcontractor;
                         or
                      c) bodily injury, property damage or medical expenses arising out of, or in connection with,
                         heat, smoke, or fumes from a fire that becomes uncontrollable or breaks out from where it was
                         intended to be.
                (5) arising out of, or in connection with, any premises, site, or location on which any insured or any
                    contractors or subcontractors, working directly or indirectly on any insured’s behalf, are performing
                    operations if such operations are to test for, monitor, clean up, remove, contain, treat, detoxify, or
                    neutralize, or in any other way respond to or assess the effects of, pollutants.
                Subparagraphs (a)(1) and (a)(4) do not apply with respect to the application or storage of fertilizers,
                fungicides, herbicides, or pesticides in the normal maintenance of an insured’s location, but only if:
                i.    the storage and application of such fertilizers, fungicides, herbicides, or pesticides complies with all
                      applicable federal, state or local government laws;
                ii.   the insured meets all license or certification requirements under any federal, state or local laws in
                      order to perform the application of any such fertilizers, fungicides, herbicides, or pesticides;
                iii. the fertilizers, fungicides, herbicides, or pesticides does not include mercury or any mercury
                     compounds; and
                iv. the pollutants related to such fertilizers, fungicides, herbicides, or pesticides emanate from the
                    insured’s location.
           b. Any damages, loss, cost, or expense arising out of, or in connection with, any:
                (1) request, demand, order, or statutory or regulatory requirement that any insured or others test for,
                    monitor, clean up, remove, contain, treat, detoxify, or neutralize , or in any way respond to or assess
                    the effects of, pollutants; or
                (2) claim or potential claim by or on behalf of a governmental authority for damages because of testing
                    for, monitoring, cleaning up, removing, containing, treating, detoxifying, or neutralizing, or in any way
                    responding to or assessing the effects of pollutants.
                However, this subparagraph does not apply to liability for damages because of property damage that an
                insured would have in the absence of such request, demand, order, or statutory or regulatory requirement,
                or such claim or potential claim by or on behalf of a governmental authority.
       13. Recall Of Products, Work, Or Impaired Property
           Any claim or potential claim arising out of, or in connection with, any loss, cost, or expense incurred by an
           insured or others for the loss of use, withdrawal, recall, inspection, repair, replacement, adjustment, removal,
           or disposal of:
           a. the insured’s product;
           b. the insured’s work; or
           c.   impaired property
           if such product, work, or property is withdrawn or recalled from the market or from use due to a known or
           suspected defect, deficiency, inadequacy, or dangerous condition to it.



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       14. Silica
           Any claim or potential claim arising out of, or in connection with, silica, including, but not limited to:
           a. inhaling, ingesting or physical exposure to silica directly or through any goods, products, structures, real
              estate or land containing silica;
           b. the use or presence of silica in any process or operation of any type, including but not limited to
              construction, manufacturing, sandblasting, cleaning, drilling, farming or mining;
           c.   the use or presence of silica in any good, product, structure, real estate or land, or any component part of
                any good, product, structure, real estate or land; or
           d. the manufacture, sale, transportation, handling, storage or disposal of silica or any goods, products,
              structures, real estate or land containing silica;
           e. any disease actually or allegedly caused by, contributed to or aggravated by silica, including but not limited
              to silicosis, chronic silicosis, accelerated silicosis, acute silicosis, conglomerate silicosis, any auto-immune
              disorder, tuberculosis, silicoproteinosis, cancer, scleroderma, emphysema, pneumoconiosis, pulmonary
              fibrosis, progressive massive fibrosis, any lung disease or any other ailment actually or allegedly caused
              by, contributed to or aggravated by silica;
           f.   any costs of medical or other testing, monitoring or diagnosis arising out of, or in connection with, any
                actual, alleged, threatened or feared bodily injury arising in whole or in part, directly or indirectly, out of
                silica; or
           g. any costs of investigations, feasibility studies, cleaning, removal or remediation of the actual or alleged
              presence of silica in or on any goods, products structures, real estate or land.
           As used in this exclusion, “silica” means silica in any form and any of its derivatives, including but not limited
           to silica dust, silicon dioxide (SiO2), crystalline silica, quartz, or non-crystalline (amorphous) silica.
       The exclusions for “AIRCRAFT, AUTO OR WATERCRAFT,” “DAMAGE TO IMPAIRED PROPERTY OR PROPERTY NOT
       PHYSICALLY INJURED,” “DAMAGE TO THE INSURED’S PRODUCT,” “DAMAGE TO THE INSURED’S WORK,”
       “DAMAGE TO PROPERTY,” “LIQUOR LIABILITY,” “MOBILE EQUIPMENT,” “POLLUTION,” and “RECALL OF
       PRODUCTS, WORK, OR IMPAIRED PROPERTY” do not apply to damage by fire to premises while rented to an
       insured or temporarily occupied by an insured with the permission of its owner. A separate limit of liability applies
       to Damage to Premises Rented to an Insured as described in the Limits of Liability.
   C. EXCLUSIONS APPLICABLE TO PERSONAL AND ADVERTISING INJURY LIABILITY INSURING CLAUSE
       The coverage provided under the Personal and Advertising Injury Liability Insuring Clause does not apply to:
       1. Breach Of Contract
           Personal and advertising injury arising out of, or in connection with, a breach of contract, except an implied
           contract to use another’s advertising idea in an insured’s advertisement.
       2. Electronic Chatrooms Or Bulletin Boards
           Personal and advertising injury arising out of, or in connection with, an electronic chatroom or bulletin
           board an insured hosts, owns, or over which an insured exercises control.
       3. Infringement Of Copyright, Patent, Trademark, Or Trade Secret
           Personal and advertising injury arising out of, or in connection with, the infringement of copyright, patent,
           trademark, trade secret, or other intellectual property rights. However, this exclusion shall not apply to the
           infringement of copyright, trade, dress, or slogan in an insured’s advertisement.
       4. Insureds In Media And Internet Type Businesses
           Personal and advertising injury committed by an insured whose business is:
           a. advertising, broadcasting, publishing, or telecasting;
           b. designing or determining content for the websites of others; or
           c.   an internet search, access, content, or service provider.
           However, this exclusion does not apply to claims arising from false arrest, detention or imprisonment, malicious

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           prosecution, or the wrongful eviction from, or wrongful entry into, or invasion of the private occupancy of a
           room dwelling or premises occupied by, or on behalf of, its owner, landlord, or lessor.
           For the purposes of this exclusion, the placing of frames, borders, or links, or advertising for an insured or
           others is not considered, by itself, to be the business of advertising, broadcasting, publishing, or telecasting.
       5. Knowing Violation Of Rights Of Others
           Personal and advertising injury caused by, or at the direction of, an insured with the knowledge that the
           act would violate the rights of another and would inflict personal and advertising injury.
       6. Material Published Prior To Policy – Claims-Made and Reported Only
           Only with respect to any Coverage Part shown on the Declarations as “Claims-Made and Reported,” personal
           and advertising injury arising out of, or in connection with, oral or written publication of material whose first
           publication took place before the applicable retroactive date shown on the Declarations.
       7. Material Published Prior To Policy – Occurrence Only
           Only with respect to any Coverage Part shown on the Declarations as “Occurrence,” personal and advertising
           injury arising out of, or in connection with, oral or written publication of material whose first publication took
           prior to the policy period.
       8. Material Published With Knowledge Of Falsity
           Personal and advertising injury arising out of, or in connection with, oral or written publication of material
           if done by, or at the direction of, an insured with knowledge of its falsity.
       9. Quality Or Performance Of Goods – Failure To Conform To Statements
           Personal and advertising injury arising out of, or in connection with, the failure of goods, products, or
           services to conform to any statement of quality or performance in an insured’s advertisement.
       10. Unauthorized Use Of Another’s Name Or Product
           Personal and advertising injury arising out of, or in connection with, the unauthorized use of another’s
           name or product in an insured’s email address, domain name, or metatag, or other similar tactics to mislead
           another’s potential customers.
       11. Wrong Description Of Prices
           Personal and advertising injury arising out of, or in connection with, the wrong description of the price of
           the goods, products, or services in an insured’s advertisement.
   D. EXCLUSIONS APPLICABLE TO MEDICAL PAYMENTS INSURING CLAUSE
       1. Medical Expenses
           The coverage provided under Medical Payments Insuring Clause does not apply to medical expenses arising
           out of, or in connection with, bodily injury:
           a. to an insured, except volunteers;
           b. to a person hired to do work for, or on behalf of, an insured or tenant of an insured;
           c.   to a person injured on that part of a premises owned or rented by an insured that the injured person
                normally occupies;
           d. to any person, whether or not an employee, who is eligible for benefits under a workers’ compensation,
              occupational disease, disability benefits, or similar law;
           e. to a person injured while practicing, instructing or participating in any physical exercises or games, sports,
              or athletic contests;
           f.   covered as a products completed operations hazard; or
           g. to any inmate, patient, or prisoner, who is being treated, cared for, detained, or imprisoned by any insured
              or in any premises of any insured.




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III.LIMITS OF LIABILITY
   A. GENERAL RESTRICTIONS
       The Limits of Liability shown on the Declarations is the most the company will pay regardless of the number of:
       1. insureds;
       2. claims made or potential claims first discovered; or
       3. persons or organizations making claims or potential claims.
   B. GENERAL AGGREGATE LIMIT
       The General Aggregate Limit shown on the Declarations is the most the company will pay for loss, claims
       expense, if shown on the Declarations as “Defense Within Limits,” and medical expenses under this Coverage
       Part except for loss and claims expense included in the products completed operations hazard.
   C. PRODUCTS COMPLETED OPERATIONS HAZARD AGGREGATE LIMIT
       The Products Completed Operations Hazard Aggregate Limit shown on the Declarations is the most the company
       will pay under the Bodily Injury and Property Damage Liability Insuring Clause for loss and claims expense, if
       shown on the Declarations as “Defense Within Limits,” because of bodily injury and property damage included
       in the products completed operations hazard.
   D. PERSONAL AND ADVERTISING INJURY LIABILITY LIMIT
       Subject to subparagraph B. above, the Personal and Advertising Injury Liability Limit shown on the Declarations is
       the most the company will pay for loss and claims expense, if shown on the Declarations as “Defense Within
       Limits,” under the Personal and Advertising Injury Liability Insuring Clause because of personal and advertising
       injury sustained by any one person or organization.
   E. PER EVENT LIMIT
       Subject to subparagraphs B. or C. above, whichever applies, the Per Event Limit shown on the Declarations is the
       most the company will pay for:
       1. loss and claims expense, if shown on the Declarations as “Defense Within Limits,” under the Bodily Injury
          and Property Damage Liability Insuring Clause; and
       2. medical expenses under the Medical Payments Insuring Clause;
       because of all bodily injury and property damage arising out of any one event.
   F. DAMAGE TO PREMISES RENTED TO AN INSURED LIMIT
       Subject to subparagraph E. above, the Damage to Premises Rented to an Insured Limit shown on the Declarations
       is the most the company will pay under the Bodily Injury and Property Damage Liability Insuring Clause for loss
       or claims expense, if shown on the Declarations as “Defense Within Limits,” because of property damage to
       any one premises, while rented to a named insured or temporarily occupied by a named insured with permission
       of the owner.
   G. MEDICAL EXPENSE LIMIT
       Subject to subparagraph E. above, the Medical Expense Limit shown on the Declarations is the most the company
       will pay under the Medical Payments Insuring Clause for medical expenses because of bodily injury sustained
       by any one person.




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                                                                                              Issuing Company:
                                                                     National Fire & Marine Insurance Company
                                                                                              Omaha, Nebraska


                                     SENIOR CARE LIABILITY POLICY
                   CYBER LIABILITY AND BREACH RESPONSE COVERAGE PART


                                                      NOTICE:
This Coverage Part contains Claims-Made and Reported coverage. If designated as “Claims-Made” in the title
of the particular Insuring Clause, the coverages provided by that Insuring Clause will only cover claims first
made against an insured during the policy period, and reported to the company during the policy period or
during any applicable extended reporting period. All claims are subject to the applicable Limits of Liability
and the applicable Retention(s) as shown on the Declarations. Note that the Limits of Liability for Coverages
A, B, C and H include claim expenses. Please read this Coverage Part carefully.


I.   INSURING CLAUSES
     A. COVERAGE A - MULTIMEDIA LIABILITY - CLAIMS-MADE
        The company will pay on behalf of an insured all amounts in excess of the retention and within the applicable
        Limits of Liability that such insured becomes legally obligated to pay as damages, including liability assumed
        under contract, and related claim expenses, resulting from a claim for a multimedia peril committed by an
        insured, provided that:
        1. the multimedia peril is committed on or after the retroactive date;
        2. the claim is first made against an insured during the policy period; and
        3. the claim is reported to the company, in writing, during the policy period, or within 30 days thereafter.
     B. COVERAGE B - SECURITY AND PRIVACY LIABILITY - CLAIMS-MADE
        The company will pay on behalf of an insured all amounts in excess of the retention and within the applicable
        Limits of Liability that such insured becomes legally obligated to pay as damages and related claim expenses,
        resulting from a claim for a security and privacy wrongful act committed by an insured resulting from a
        security breach, privacy breach or breach of privacy regulations, provided that:
        1. the security breach, privacy breach or breach of privacy regulations and the resulting security and
           privacy wrongful act takes place on or after the retroactive date;
        2. the claim is first made against an insured during the policy period; and
        3. the claim is reported to the company, in writing, during the policy period, or within 30 days thereafter.
     C. COVERAGE C - PRIVACY REGULATORY DEFENSE AND PENALTIES - CLAIMS-MADE
        The company will pay on behalf of an insured all amounts in excess of the retention and within the applicable
        Limits of Liability that such insured becomes legally obligated to pay as a regulatory compensatory award or
        regulatory fines and penalties (to the extent insurable by law), and related claim expenses, resulting from a
        privacy regulatory proceeding instituted against an insured resulting from a security breach, privacy
        breach or breach of privacy regulations, provided that:
        1. the security breach, privacy breach or breach of privacy regulations takes place on or after the
           retroactive date;
        2. the privacy regulatory proceeding is first instituted against an insured during the policy period; and
        3. the privacy regulatory proceeding is reported to the company, in writing, during the policy period, or
           within 30 days thereafter.


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   D. COVERAGE D - PRIVACY BREACH RESPONSE COSTS, CUSTOMER NOTIFICATION EXPENSES, AND CUSTOMER
      SUPPORT AND CREDIT MONITORING EXPENSES
       The company will indemnify an insured for all amounts in excess of the retention and within the applicable
       Limits of Liability that such insured incurs during the policy period as privacy breach response costs,
       customer notification expenses and/or customer support and credit monitoring expenses resulting from
       a security breach, a privacy breach or breach of privacy regulations, provided that:
       1. the security breach, privacy breach or breach of privacy regulations takes place during the policy
          period;
       2. the security breach, privacy breach or breach of privacy regulations is reported to the company, in
          writing, no later than 60 days after the date the security breach, privacy breach or breach of privacy
          regulations is discovered; and
       3. the privacy breach response costs, customer notification expenses and/or customer support and
          credit monitoring expenses are incurred with the company’s consent.
   E. COVERAGE E - NETWORK ASSET PROTECTION
       1. Loss of Digital Assets
           The company will reimburse an insured business for all amounts in excess of the retention and within the
           applicable Limits of Liability that such insured business incurs as digital assets loss and special expenses
           due to damage, alteration, corruption, distortion, theft, misuse or destruction of an insured business’s digital
           assets directly caused by a covered cause of loss, provided that:
           a. the covered cause of loss first occurs and is discovered by the Chief Information Officer, Chief
              Technology Officer, Chief Security Officer, Risk Manager or General Counsel of the insured business
              during the policy period; and
           b. the covered cause of loss is reported to the company, in writing, no later than 60 days after the date
              the covered cause of loss is discovered.
           Digital assets loss and special expenses will be reimbursed for a period of up to 12 months following the
           discovery of the damage, alteration, corruption, distortion, theft, misuse or destruction of digital assets,
           unless specified otherwise by endorsement. Digital assets loss and special expenses will only be paid
           where there is clear evidence provided by an insured business that such digital assets loss and special
           expenses resulted from a covered cause of loss.
       2. Non-Physical Business Interruption and Extra Expense
           The company will reimburse an insured business for all amounts in excess of the retention and within the
           applicable Limits of Liability that such insured business incurs as income loss, interruption expenses,
           and special expenses resulting from the total or partial interruption, degradation in service or failure of the
           insured business’s computer system directly caused by a covered cause of loss, provided that:
           a. the covered cause of loss first occurs and is discovered by the Chief Information Officer, Chief
              Technology Officer, Chief Security Officer, Risk Manager or General Counsel of the insured business
              during the policy period;
           b. the covered cause of loss is reported to the company, in writing, no later than 60 days after the date
              the covered cause of loss is discovered;
           c.   the income loss, interruption expenses and/or special expenses are incurred during the period of
                restoration; and
           d. the total or partial interruption, degradation in service or failure of the insured business’s computer
              system exceeds the time retention.
   F. COVERAGE F - CYBER EXTORTION
       The company will indemnify an insured business for all amounts in excess of the retention and within the
       applicable Limits of Liability that such insured business pays as cyber extortion expenses and/or cyber
       extortion monies directly caused by a cyber extortion threat or series of cyber extortion threats, including


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        a demand for cyber extortion monies, provided that:
        1. the cyber extortion threat is first made against an insured business during the policy period; and
        2. the cyber extortion threat is reported to the company, in writing, no later than 60 days after the date the
           cyber extortion threat is received by an insured.
        Cyber extortion expenses and cyber extortion monies shall not be paid without prior consultation with the
        company and the company’s express agreement. An insured business must make every reasonable effort to
        notify the local law enforcement authorities and the Federal Bureau of Investigation or similar equivalent foreign
        agency before surrendering any cyber extortion monies in response to a cyber extortion threat.
   G. COVERAGE G - CYBER TERRORISM
        The company will reimburse an insured business for all amounts in excess of the retention and within the
        applicable Limits of Liability that such insured business incurs as income loss, interruption expenses and
        special expenses resulting from the total or partial interruption, degradation in service or failure of an insured
        business’s computer system directly caused by an act of terrorism, provided that:
        1. the act of terrorism takes place during the policy period;
        2. the act of terrorism is reported to the company, in writing, no later than 60 days after the date the act of
           terrorism is discovered;
        3. the income loss, interruption expenses and/or special expenses are incurred during the period of
           restoration; and
        4. the total or partial interruption, degradation in service or failure of an insured business’s computer system
           exceeds the time retention.
   H. COVERAGE H - REGULATORY PROCEEDING - CLAIMS-MADE
        The company will reimburse an insured for all amounts in excess of the retention and within the applicable
        Limits of Liability that such insured becomes legally obligated to pay as regulatory fines and penalties (to the
        extent insurable by law) and claims expenses and/or shadow audit expenses (where applicable) resulting
        from a regulatory proceeding, provided that:
        1. the wrongful act, error or omission giving rise to the regulatory proceeding is committed on or after the
           retroactive date;
        2. the regulatory proceeding is first instituted against an insured during the policy period; and
        3. the regulatory proceeding is reported to the company, in writing, during the policy period, or within 30
           days thereafter.
        The company shall have no duty to defend an insured under Coverage H, but only to reimburse an insured for
        covered claim expenses, shadow audit expenses, and/or regulatory fines and penalties. An insured shall
        have complete freedom of choice with respect to the selection of the licensed attorney who provides legal services
        in connection with any regulatory proceeding triggering coverage under Coverage H. Upon receiving notice from
        an insured of a regulatory proceeding, the company or its authorized agent will provide the insured with the
        name(s) of panel counsel. If an insured retains panel counsel, the company will, subject to all other provisions
        of this Coverage Part, pay 100% of covered claim expenses, shadow audit expenses, and/or regulatory
        fines and penalties in excess of the retention, up to the applicable Limits of Liability under Coverage H. If an
        insured retains non-panel counsel, the insured must pay a co-payment of 25%, and the company will pay the
        remaining 75% of covered claim expenses, shadow audit expenses, and/or regulatory fines and penalties
        in excess of the retention, up to the applicable Limits of Liability under Coverage H.
   I.   COVERAGE I - EVACUATION EXPENSE REIMBURSEMENT
        The company will reimburse an insured business for all amounts in excess of the retention and within the
        applicable Limits of Liability that such insured business incurs as evacuation expense directly caused by an
        evacuation, provided that:
        1. the evacuation occurs during the policy period;
        2. the evacuation is reported to the company, in writing, during the policy period, or within 30 days

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           thereafter;
        3. written notice to the company includes details regarding the time, date and place of the evacuation;
           description of the evacuation expense incurred by an insured business; and documented proof of such
           evacuation expense; and
        4. no other valid and collectible insurance providing evacuation expense coverage is available to any insured
           business, whether that other insurance is provided on a primary, excess, contingent or any other basis.
   J.   COVERAGE J - DISINFECTION EXPENSE REIMBURSEMENT
        The company will reimburse an insured business for all amounts in excess of the retention and within the
        applicable Limits of Liability that such insured business incurs as disinfection expense directly caused by a
        disinfection event, provided that:
        1. the disinfection event occurs during the policy period;
        2. the disinfection event is reported to the company, in writing, during the policy period, or within 30 days
           thereafter;
        3. written notice to the company includes details regarding the time, date and place of the disinfection event;
           description of the disinfection expense incurred by an insured business; and documented proof of such
           disinfection expense; and
        4. no other valid and collectible insurance providing disinfection expense coverage is available to any insured
           business, whether that other insurance is provided on a primary, excess, contingent or any other basis.
   K. COVERAGE K - PUBLIC RELATIONS EXPENSE REIMBURSEMENT
        The company will reimburse an insured business for all amounts in excess of the retention and within the
        applicable Limits of Liability that such insured business incurs as public relations expenses directly caused by
        a public relations event, provided that:
        1. the public relations event occurs during the policy period;
        2. the public relations event is reported to the company, in writing, during the policy period, or within 30
           days thereafter;
        3. the public relations expenses are incurred with the company’s consent;
        4. written notice to the company includes details regarding the time, date and place of the public relations
           event; description of the public relations expenses incurred by an insured business; and documented
           proof of such public relations expenses; and
        5. no other valid and collectible insurance providing public relations expenses coverage is available to any
           insured business, whether that other insurance is provided on a primary, excess, contingent or any other
           basis.
   L.   COVERAGE L - E-DISCOVERY CLAIM EXPENSES AND E-DISCOVERY REGULATORY INVESTIGATION EXPENSES -
        CLAIMS-MADE
        The company will:
        1. indemnify an insured for all amounts in excess of the retention and within the applicable Limits of Liability
           that such insured incurs as e-discovery claim expenses and/or e-discovery regulatory investigation
           expenses resulting from a regulatory proceeding; and
        2. provide e-discovery consulting services to an insured during the policy period, provided that:
           a. the wrongful act, error or omission giving rise to the regulatory proceeding is committed on or after the
              retroactive date;
           b. the regulatory proceeding is first instituted against an insured during the policy period; and
           c.   the regulatory proceeding is reported to the company, in writing, during the policy period, or within
                30 days thereafter.
   M. COVERAGE M - DATA PROTECTION REPUTATIONAL HARM

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       The company will reimburse an insured business, in excess of the retention and within the applicable Limits
       of Liability, for the net ascertained loss of value to such insured business’s reputation, being the loss of net
       profit suffered by the insured business during the period of indemnity and/or any recoverable costs and/or
       any increase in cost of working incurred by the insured business during the period of indemnity, solely
       and directly caused by a data protection breach, provided, that:
       1. the data protection breach first occurs and is discovered by the Chief Information Officer, Chief Technology
          Officer, Chief Security Officer, Risk Manager or General Counsel of the insured business during the policy
          period; and
       2. the Chief Information Officer, Chief Technology Officer, Chief Security Officer, Risk Manager or General Counsel
          of the insured business reports the data protection breach to the company, in writing, within 60 days of
          any adverse media report.


II. ADDITIONAL EXCLUSIONS
   This insurance does not apply to:
   A. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to:
       1. any multimedia peril under Coverage A;
       2. any security and privacy wrongful act under Coverage B;
       3. any security breach, privacy breach or breach of privacy regulations under Coverage C;
       4. any covered cause of loss under Coverage E;
       5. any cyber extortion threat under Coverage F;
       6. any act of terrorism under Coverage G;
       7. any acts, errors or omissions under Coverages H and L;
       8. any evacuation under Coverage I;
       9. any disinfection event under Coverage J;
       10. any public relations event under Coverage K; or
       11. any data protection breach under Coverage M;
       committed, allegedly committed or that occurred, in whole or in part, prior to the applicable retroactive date.
   B. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to:
       1. any multimedia peril under Coverage A;
       2. any security and privacy wrongful act under Coverage B;
       3. any security breach, privacy breach or breach of privacy regulations under Coverages C or D;
       4. any covered cause of loss under Coverage E;
       5. any cyber extortion threat under Coverage F;
       6. any act of terrorism under Coverage G;
       7. any acts, errors or omissions under Coverages H and L;
       8. any evacuation under Coverage I;
       9. any disinfection event under Coverage J;
       10. any public relations event under Coverage K; or
       11. any data protection breach under Coverage M;
       that any insured knew, or could have reasonably foreseen, prior to the effective date of this Coverage Part, could
       be the basis of a claim.

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   C. any claim or circumstance involving the Coverages available under this Coverage Part notified to a previous insurer
      prior to the effective date of this Coverage Part.
   D. any claim made by or on behalf of an insured against another insured; however, this exclusion shall not apply
      to:
        1. an otherwise covered claim under Coverage B made by any past, present or future employee for a security
           and privacy wrongful act, but only if such employee did not commit, participate in or contribute to such
           security and privacy wrongful act or a security breach, privacy breach, or breach of privacy
           regulations; or
        2. any billing errors proceeding instituted by an insured against an insured as a qui tam plaintiff or brought
           by an insured under the United States False Claims Act.
   E. any claim alleging or arising out of any willful, deliberate, malicious, fraudulent, dishonest or criminal act, error or
      omission, or any intentional violation of the law or of an insured business’s privacy policy, or the gaining of any
      profit or advantage to which any insured is not legally entitled, if any of the aforementioned is committed by an
      insured, whether acting alone or in collusion with other persons. However, the insurance afforded by this Coverage
      Part shall apply to claims expenses incurred in defending any such claim, but shall not apply to any damages,
      regulatory fines and penalties or other loss that an insured might become legally obligated to pay. The
      company will have the right to recover those claims expenses incurred from those parties found to have
      committed criminal, dishonest, fraudulent or malicious acts, errors or omissions by a court, jury or arbitrator. This
      exclusion shall not apply to a claim under Coverage E for employee sabotage.
   F. any claim arising out of any insured’s activities as a trustee, partner, officer, director, or employee of any
      employee trust, charitable organization, corporation, company, or business other than that of an insured
      business.
   G. any claim arising out of an insured’s insolvency or bankruptcy or the insolvency or bankruptcy of any other entity
      including, but not limited to, the failure, inability, or unwillingness to make payments because of the insolvency,
      liquidation, or bankruptcy of any individual or entity.
   H. bodily injury, except that this exclusion shall not apply to negligent infliction of emotional distress or mental
      anguish arising out of any actual or alleged multimedia peril, security and privacy wrongful act, privacy
      breach, security breach or breach of privacy regulations.
   I.   any claim for property damage.
   J.   any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to:
        1. satellite failures;
        2. electrical or mechanical failures and/or interruption, including, but not limited to, electrical disturbance, spike,
           brownout, or blackout; or
        3. outages to gas, water, telephone, cable, telecommunications or other infrastructure, unless such infrastructure
           is under an insured business’s operational control and unless such claim otherwise triggers coverage under
           Coverage E or G.
   K. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      the wear and tear, drop in performance, progressive deterioration or aging of electronic equipment and other
      property or computer hardware used by an insured.
   L.   any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
        failure of overhead transmission and distribution lines.
   M. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      gradual deterioration of subterranean insulation.


   N. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      fire, smoke, explosion, lightning, wind, water, flood, earthquake, volcanic eruption, tidal wave, landslide, hail, force
      majeure, or any other physical event however caused, unless such claim otherwise triggers coverage under
      Coverages E or G.

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   O. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      coupons, prize discounts, prizes, awards or any other valuable consideration given in excess of the total contracted
      or expected amount.
   P. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      the actual or alleged inaccurate, inadequate, or incomplete description of the price of goods, products, or services.
   Q. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      an insured’s cost guarantees, cost representations, contract price or cost estimates being exceeded.
   R. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      the violation of any economic or trade sanctions by the United States government including, but not limited to,
      sanctions administered and enforced by the United States Treasury Department’s Office of Foreign Assets Control
      (‘OFAC’).
   S. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      any breach of any express, implied, actual or constructive contract, warranty, guarantee or promise. This exclusion
      shall not apply to:
       1. any liability or obligation that any insured would have in the absence of such contract or agreement;
       2. unintentional breach of contract; or
       3. a breach of an insured business’s privacy policy.
   T. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      the liability of others assumed by an insured under any contract or agreement, either oral or written. This exclusion
      shall not apply:
       1. to the extent such insured would have been liable in the absence of such contract or agreement; or
       2. with respect to any multimedia peril, security and privacy wrongful act, security breach, privacy
          breach or breach of privacy regulations, to the extent an insured business has assumed such liability in
          the form of a written hold harmless or indemnity agreement that predates the first multimedia peril, security
          and privacy wrongful act, security breach, privacy breach or breach of privacy regulations.
   U. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to:
       1. any presence of pollutants or contamination of any kind;
       2. any actual, alleged, or threatened discharge, dispersal, release, or escape of pollutants or contamination of
          any kind including, but not limited to, solid, liquid, gaseous, or thermal irritants or contaminants including
          asbestos, smoke, vapor, soot, fumes, acids, alkalis, chemicals, and waste (waste includes materials to be
          recycled, reconditioned, or reclaimed), wherever such occurs, whether or not such results from an insured’s
          activities or the activities of others, is sudden or gradual, and is accidental, intended, foreseeable, expected,
          fortuitous, or inevitable;
       3. any governmental or regulatory directive or request that an insured business or anyone acting under an
          insured business’s direction or control test for, monitor, clean up, remove, contain, treat, detoxify, or
          neutralize said pollutants; or
       4. any direction or request to test for, monitor, clean up, remove, contain, treat, detoxify, or neutralize pollutants
          or in any way respond to or assess the effects of pollutants or contamination of any kind.
   V. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      the actual or alleged loss of value of any securities.


   W. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      caused by or resulting from unauthorized trading. “Unauthorized trading” means trading by an insured, which at
      the time of the trade is:
       1. in excess of permitted financial limits; or
       2. outside of permitted product lines.

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   X. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      the actual or alleged purchase, sale, offer of, or solicitation of an offer to purchase or sell securities, or violation of
      any securities law including, but not limited to, the provisions of the Securities Act of 1933, the Securities Exchange
      Act of 1934, the Sarbanes-Oxley Act of 2002, or any regulation promulgated under the foregoing statutes, or any
      federal, state, local, or foreign laws similar to the foregoing statutes, including ‘Blue Sky’ laws, whether such law is
      statutory, regulatory, or common law.
   Y. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      the actual or alleged government enforcement of any state or federal regulation including, but not limited to,
      regulations promulgated by the United States Federal Trade Commission, Federal Communications Commission, or
      the Securities and Exchange Commission. This exclusion does not apply to any claim triggering coverage under
      Coverage C.
   Z. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      any employer-employee relations, policies, practices, acts or omissions; any actual or alleged refusal to employ
      any person; or any misconduct with respect to employees.
   AA. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
       any actual or alleged harassment or discrimination of any kind including, but not limited to, age, color, race, gender,
       creed, national origin, marital status, sexual preferences, disability or pregnancy.
   BB. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
       the violation of any pension, healthcare, welfare, profit sharing, mutual, or investment plans, funds, or trusts; or
       any violation of any provision of the Employee Retirement Income Security Act of 1974 and its amendments and/or
       the Pension Protection Act of 2006 and its amendments, or any regulation, ruling, or order issued pursuant thereto.
   CC. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to:
       1. strikes or similar labor actions;
       2. war, invasion, act of foreign enemy, hostilities or warlike operations (whether declared or not), civil war, mutiny,
          civil commotion assuming the proportions of, or amounting to, a popular uprising, military uprising, insurrection,
          rebellion, revolution, military or usurped power, or any action taken to hinder or defend against these actions;
       3. confiscation or nationalization or requisition or destruction of, or damage to, property by or under the order of
          any government or public or local authority; or
       4. any action taken in controlling, preventing, suppressing or in any way relating to any of 1. through 3. Above.
       This exclusion shall not apply to an act of terrorism.
   DD. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
       an insured’s commercial decision to cease providing a particular product or service, but only if the insured is
       contractually obligated to continue providing such products or services.
   EE. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
       gambling or pornography or the sale or provision of prohibited, restricted or regulated items including, but not
       limited to, alcoholic beverages, tobacco or drugs.
   FF. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to:
       1. any fine or penalty arising out of any agreement by an insured to comply with or follow the Payment Card
          Industry Standard or any Payment Card Company Rules; or
       2. the implementation, maintenance, or compliance with any security measures or standards relating to any
          payment card data including, but not limited to, any fine or penalty imposed by a payment card company on a
          merchant bank or payment processor that an insured has paid or agreed to reimburse or indemnify.
       This exclusion shall not apply to civil penalties and fines to the extent insurable by law arising out of an otherwise
       covered claim under Coverage C.
   GG. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
       any actual or alleged unfair competition, price fixing, antitrust violations, deceptive trade practices, or restraint of
       trade or antitrust statute, legislation, or regulation.


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   HH. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
       any actual or alleged infringement of any patent or the misappropriation, theft, copying, display or publication of
       any trade secret by, or with the active cooperation, participation or assistance of any insured.
   II. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to:
       1. any wear or tear, latent or time-delayed damage arising from services an insured provided prior to the policy
          period;
       2. gradual deterioration of an insured business’s computer system; or
       3. an insured business’s failure, or the failure of those acting on an insured business’s behalf, to maintain
          any computer system or network, computer software or any other equipment.
   JJ. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
       the manufacturing, mining, use, sale, installation, removal, distribution of, or exposure to, asbestos, materials or
       products containing asbestos or asbestos fibers or dust or any claim alleging bodily injury or property damage
       arising out of asbestos or asbestos containing materials including, but not limited to:
       1. inhaling, ingesting, or being physically exposed to asbestos or goods or products containing asbestos;
       2. the use of asbestos in constructing or manufacturing any goods, products, or structures;
       3. the removal of asbestos from any goods, products or structures;
       4. the manufacture, encapsulation, transportation, storage, handling, distribution, sale, application, mining,
          consumption, or disposal of asbestos or goods or products containing asbestos;
       5. any governmental direction or request that the insured or any other party, test for, monitor, clean up, remove,
          contain, treat, detoxify or neutralize asbestos or asbestos containing products; or
       6. manufacturing or mining or the use, sale, installation, removal, distribution of or exposure to asbestos,
          materials, or products containing asbestos, asbestos fibers or dust.
   KK. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
       the use of programs that are not operational programs.
   LL. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
       the use of programs that are not delivered programs.
  MM. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      any insured’s intentional use of illegal or unlicensed programs that are in violation of the provisions or laws
      referring to software protection.
   NN. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
       the confiscation, commandeering, requisition, destruction of, or damage to, computer hardware by order of a
       government de jure or de facto, or by any public authority for whatever reason.
   OO.any claim alleging bodily injury or property damage resulting from exposure to or the manifestation, release,
      dispersal, seepage, migration, discharge, appearance, presence, reproduction or growth of mold, mildew, spores,
      mycotoxins, fungi, organic pathogens, or other micro organisms of any type, nature, or description, including:
       1. any cost, expense, or charge to test, monitor, clean up, remediate, remove contain, treat, detoxify, neutralize,
          rehabilitate, or in any way respond to or assess the effects of mold, mildew, spores, mycotoxins, fungi, organic
          pathogens, or other micro organisms of any type, nature, or description; or
       2. any resulting cost, expense, charge, fine or penalty, incurred, sustained, or imposed by order, direction,
          request, or agreement of any court, governmental agency, or any civil, public, or military authority.
       With respect to this exclusion, ‘organic pathogens’ means any organic irritant or contaminant including, but not
       limited to, mold, fungus, bacteria, virus, or their byproducts such as mycotoxins, mildew, or biogenic aerosol.
       ‘Organic pathogens’ include, but are not limited to, Aspergillus, Penicillium, Stachybotrys Chartarum, Stachybotrys
       Atra, Trichodema, and Fusarium Memnoniella.
   PP. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
       the existence, emission or discharge of any electromagnetic field, electromagnetic radiation, or electromagnetism


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       that actually or allegedly affects the health, safety or condition of any person or the environment or that affects
       the value, marketability, condition or use of any property.
   QQ.any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
      any legal liability directly or indirectly caused by, involving, attributed to, arising from:
       1. ionising radiations or contamination by radioactivity from any nuclear fuel or from any nuclear waste from the
          combustion of nuclear fuel; or
       2. the radioactive, toxic, explosive or other hazardous properties of any explosive nuclear assembly or nuclear
          component thereof.
   RR. any claim based upon, arising out of, directly or indirectly resulting from, in any way involving or attributable to
       any criminal prosecution against an insured. For purposes of this exclusion, “criminal prosecution” shall mean any
       governmental action for enforcement of criminal laws, including those offenses for which conviction could result in
       imprisonment and/or criminal fine.
   SS. with respect to Coverage E.1. Loss of Digital Assets:
       1. any amount incurred in restoring, updating or replacing digital assets to a level beyond that which existed
          prior to the covered cause of loss;
       2. physical damage to the computer hardware or data center, other than that covered under covered cause
          of loss, under paragraph E.1.a.;
       3. contractual penalties or consequential damages;
       4. any liability to third parties for whatever reason, including legal costs and expenses of any type;
       5. fines or penalties imposed by law;
       6. the economic or market value of digital assets, unless the company has agreed by endorsement to reimburse
          an insured business based upon an agreed value amount for defined categories or specific digital assets;
       7. costs or expenses incurred to identify, patch or remediate software program errors or computer system
          vulnerabilities;
       8. costs to upgrade, redesign, reconfigure or maintain an insured business’s computer system to a level of
          functionality beyond that which existed prior to the covered cause of loss; or
       9. any losses paid under Coverage E.2. Non-Physical Business Interruption and Extra Expense.
   TT. with respect to Coverage E.2. Non-Physical Business Interruption and Extra Expense:
       1. any loss arising out of a physical cause or natural peril, including, but not limited to fire, wind, water, flood,
          subsidence or earthquake, which results in physical damage to computer hardware and/or any data center;
       2. any loss expense arising out of updating or replacing digital assets to a level beyond that which existed prior
          to the covered cause of loss;
       3. contractual penalties or consequential damages;
       4. any liability to third parties for whatever reason, including legal costs and expenses of any type;
       5. fines or penalties imposed by law;
       6. costs or expenses incurred to identify, patch or remediate software program errors or computer system
          vulnerabilities;
       7. loss of goodwill and reputational harm;
       8. costs to upgrade, redesign, reconfigure or maintain an insured business’s computer system to a level of
          functionality beyond that which existed prior to the covered cause of loss; or
       9. any losses paid under Coverage E.1. Loss of Digital Assets.
   UU. with respect to Coverage H:
       1. any amounts incurred in connection with a shadow audit not previously approved by the company;


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       2. restitution or repayment of monies received by an insured, to which the insured was not entitled as a result
          of billing errors made by such insured;
       3. any amounts incurred by a consulting professional whose services were not previously approved by the
          company; or
       4. billing errors for medical services or items which are not provided or prescribed by the First Named Insured
          or any subsidiary.
   VV. with respect to Coverage M:
       1. any loss, cost, liability or expense incurred by the insured business in an effort to re-establish the reputation
          of the insured business, other than public relations expenses;
       2. any loss, cost, liability or expense incurred in any claim that is insured by any other insurance, except excess
          insurance;
       3. any loss, cost, liability or expense incurred in connection with an adverse media report that also affects or
          refers in similar terms to a general security issue, an industry or specific competitors of an insured business,
          without any specific allegations regarding an insured business’s breach of data protection of its customers;
       4. any civil or regulatory liability to third parties for whatever reason, including legal costs and expenses of any
          type;
       5. contractual penalties or consequential damages;
       6. customer notification expenses;
       7. fines or penalties imposed by law or regulation; or
       8. any losses paid under Coverage D.


III.LIMITS OF LIABILITY AND RETENTIONS
   A. The Limits of Liability applicable to each Coverage of this Coverage Part is the company’s maximum Limit of
      Liability, including claim expenses where applicable, for each claim first made during the policy period under
      each Coverage and in the aggregate for all claims first made during the policy period under each Coverage,
      regardless of the number of:
       1. claimants;
       2. claims; or
       3. insureds involved.
   B. The Aggregate Limit for this Coverage Part is the company’s maximum Limit of Liability, including claim
      expenses where applicable, for all claims first made during the policy period under this Coverage Part,
      regardless of the number of:
       1. claimants;
       2. claims;
       3. insureds involved; or
       4. Coverages under this Coverage Part.
   C. All payments made under this Coverage Part will reduce the Aggregate Limit for this Coverage Part. In no event
      will the company pay more than the Aggregate Limit for this Coverage Part.
   D. All claims made under any one Coverage, which arise out of the same, related or continuing acts, facts, events or
      circumstances, without regard to the number of insureds, claims, or claimants, shall be considered a single claim
      and only one Limit of Liability and retention will apply to such claim. Such claim shall be deemed to be first
      made at the earliest of the following times:
       1. the time at which the earliest claim arising out of the same, related or continuing acts, facts, events or
          circumstances is first made; or

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        2. the time at which the claim arising out of the same, related or continuing acts, facts, events or circumstances
           shall be deemed to have been made pursuant to Section IV., A.2. of this Coverage Part.
   E. In the event that any claim shall be covered, in whole or in part, under two or more Coverages of this Coverage
      Part, the total applicable Limit of Liability shall not exceed the single largest applicable Limit of Liability. Such largest
      applicable Limit of Liability shall apply only once to such claim. The company has the sole discretion to allocate
      claims paid, if any, against the appropriate Limit of Liability.
   F. The Limits of Liability for the extended reporting period, if exercised, shall be part of, and not in addition to,
      the Limits of Liability applicable to this Coverage Part. The exercise of the extended reporting period shall not
      in any way increase or reinstate the Limits of Liability applicable to this Coverage Part.
   G. The applicable retention amount for each Coverage of this Coverage Part shall apply separately to each claim.
      The retention shall be satisfied by an insured’s monetary payments of any amounts covered under this Coverage
      Part, including claim expenses where applicable. If a claim attaches to more than one Coverage of this Coverage
      Part, only the highest retention applies.
   H. An insured’s payment of the applicable retention is a condition precedent to payment by the company of any
      amounts covered under this Coverage Part, and the company shall only be liable for the amount in excess of such
      retention, not to exceed the total applicable Limit of Liability. The insured shall make direct payments within the
      retention to the appropriate parties designated by the company.
   I.   With respect to Coverages E.1. and G, the time retention shall apply to each period of restoration. Once the
        time retention is met, the insured will be responsible to pay any co-insurance percentage or retention
        applicable to Coverages E.1. and G.


IV. ADDITIONAL CONDITIONS
   In addition to the terms contained in the Conditions section of the Common Policy Provisions and Conditions, the
   following conditions apply to this Coverage Part:
   A. NOTICE PROVISIONS
        1. Notice of Claim.
            Except as otherwise provided in any Coverage of this Coverage Part, the Chief Information Officer, Chief
            Technology Officer, Chief Security Officer, Risk Manager or General Counsel of the insured business shall
            give to the company written notice of any claim during the policy period, but in no event later than 30 days
            after expiration of the policy period.
        2. Notice of Potential Claim.
            If, during the policy period, an insured first becomes aware of any acts, facts or circumstances that could
            reasonably be the basis for a claim, and if the Chief Information Officer, Chief Technology Officer, Chief
            Security Officer, Risk Manager or General Counsel of the insured business gives the company written notice
            during the policy period, of:
            a. specific details of the acts, facts or circumstances that could reasonably be the basis for a claim;
            b. possible damages, penalties or other amounts potentially covered under this Coverage Part that may
               result or that have resulted from the acts, facts or circumstances; and
            c.   details regarding how the insured first became aware of the acts, facts or circumstances,
            then any claim made subsequently arising out of such acts, facts or circumstances shall be deemed to have
            been made at the date the written notice complying with the above requirements was first given to the
            company.
   B. LOSS DETERMINATION UNDER COVERAGE E
        1. Loss Determination under Coverage E.1.
            For any and all coverage(s) provided under Coverage E.1., digital assets loss will be determined as follows:
            a. if the impacted digital asset was purchased from a third party, the company will pay only the lesser of

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                the original purchase price of the digital asset or the reasonable and necessary digital assets loss; or
           b. if it is determined that the digital assets cannot be replaced, restored or recreated, then the company
              will only reimburse the actual and necessary digital assets loss incurred up to such determination.
       2. Loss Determination under Coverage E.2.
           For any and all coverage(s) provided under Coverage E.2., income loss will be determined as the reduction
           of the insured business’s income during the period of restoration, which is:
           a. an insured business’s net income (net profit or loss before income taxes) that would have been
              reasonably projected, but which has been lost directly as a result of total or partial interruption, degradation
              in service or failure of the insured business’s computer system caused directly by a covered cause
              of loss. The revenue projection will take into account the prior experience of the insured business’s
              business during the previous 12 months immediately before the date of the covered cause of loss and
              the probable experience had no covered cause of loss occurred. Revenues include the amount of money
              paid or payable to the insured business for goods, products or services sold, delivered or rendered in the
              normal course of the insured business’s business. Revenue projection will be reduced by the extent to
              which the insured business uses substitute methods, facilities or personnel to maintain its revenue
              stream. The company will take into consideration the insured business’s documentation of the trends
              in the business and for variations in or other circumstances affecting the business before or after the
              covered cause of loss, which would have affected the insured business’s business had no covered
              cause of loss occurred; and
           b. any fixed operating expenses (including ordinary payroll) incurred, but only to the extent that such
              operating expenses must continue during the period of restoration.
   C. LOSS DETERMINATION UNDER COVERAGE M
       For any and all coverage(s) provided under Coverage M, the net loss of value suffered by the insured business
       during a period of indemnity shall be assessed and ascertained by auditors or adjusters appointed by the
       company. Their assessment in respect of the loss of net profit shall be based upon the difference between the
       anticipated net profit for the period of indemnity, as established during the pre-bind underwriting process, and
       the actual net profit for the period of indemnity. An insured business will provide accounting information to
       identify the potential loss of the insured business’s reputation insured hereunder following an adverse media
       report.
   D. EXTENDED REPORTING PERIOD
       1. If this Coverage Part is cancelled or non-renewed by the First Named Insured or if the company refuses to
          renew the policy for reasons other than non-payment of premium or noncompliance with the terms and
          conditions of this Coverage Part, then the First Named Insured shall have the right, upon payment of an
          additional premium, to an extension of the coverage granted by this Coverage Part with respect to any Claim
          first made during the period of time elected after the effective date of such cancellation or, in the event of such
          refusal to renew, after the policy’s expiration date, but only with respect to:
           a. any multimedia peril under Coverage A;
           b. any security and privacy wrongful act under Coverage B;
           c.   any security breach, privacy breach or breach of privacy regulations under Coverage C;
           d. any covered cause of loss under Coverage E;
           e. any cyber extortion threat under Coverage F;
           f.   any act of terrorism under Coverage G;
           g. any acts, errors or omissions under Coverages H and L;
           h. any evacuation under Coverage I;
           i.   any disinfection event under Coverage J;
           j.   any public relations event under Coverage K; or


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           k.   any data protection breach under Coverage M;
           committed before the effective date of cancellation or, in the event of a refusal to renew, before the policy’s
           expiration date.
       2. The quotation of a different premium, retention or Limits of Liability for renewal does not constitute a
          cancellation or refusal to renew.
       3. As a condition precedent to the right to purchase the extended reporting period, the total premium for the
          policy must have been paid. The right to purchase the extended reporting period shall terminate unless
          written notice, together with full payment of the premium for the extended reporting period, is received by
          the company within 30 days after the effective date of cancellation, or, in the event of a refusal to renew,
          within 30 days after the Policy expiration date. If such notice and premium payment is not so given to the
          company, there shall be no right to purchase the extended reporting period.
       4. In the event of the purchase of the extended reporting period, the entire premium therefore shall be
          deemed earned at its commencement.
       5. The exercise of the extended reporting period shall not in any way increase the company’s Limits of
          Liability under this Coverage Part.


V. ADDITIONAL DEFINITIONS
   Only with respect to coverage provided under this Coverage Part, the following additional definitions apply:
   A. Act of terrorism means an act, including but not limited to, the use of force or violence and/or the threat thereof,
      by any person or group(s) of persons, whether acting alone or on behalf of, or in connection with any organization(s)
      or government(s), which is committed for political, religious, ideological, or similar purposes including the intention
      to influence any government and/or put the public, or any section of the public, in fear.
   B. Administrator means an owner, partner, stockholder, director, trustee, executive officer, medical director,
      department head or faculty member of an insured business.
   C. Adverse media report means:
       1. with respect to Coverage D, any unpredictable report or communication of an actual or potential security
          breach, privacy breach or breach of privacy regulations, which has been publicized through any media
          channel including, but not limited to, television, print media, radio or electronic networks, the internet,
          and/or electronic mail, that threatens material damage to an insured business’s reputation and which
          results in the incurring of privacy breach response costs;
       2. with respect to Coverage M, extracts or completed versions of communications, which have been publicized
          through any media channel including, but not limited to, television, print media, radio or electronic networks,
          the internet, and/or electronic mail, that cause negative perception or harm to an insured business’s
          reputation, leading to income loss.
   D. Assumed under contract means liability for damages resulting from a multimedia peril where such liability
      has been assumed by an insured in the form of a written hold harmless or indemnity agreement that predates the
      first multimedia peril.


   E. Billing errors proceeding means:
       1. civil or administrative investigations or other civil or administrative proceedings instituted against an insured
          by a qui tam plaintiff, government entity or commercial payer alleging the presentation of, causing or
          allowing to be presented, or being liable for the presentation of any actual or alleged erroneous billings by an
          insured to a government health benefit payer or commercial payer from which the insured seeks and/or
          has received payment or reimbursement for medical services or items provided or prescribed by the insured;
          or
       2. any of 1. above instituted against an insured as a result of voluntary self disclosure.
   F. BPO service provider means any third party independent contractor that provides business process outsourcing

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        services for the benefit of an insured business under a written contract with the insured business, including,
        but not limited to, call center services, fulfillment services, and logistical support.
   G. Breach of privacy regulations means a breach by an insured, a BPO service provider or outsourced IT
      service provider of any of the following regulations as well as similar statutes and regulations, as they currently
      exist and as amended, associated with the confidentiality, access, control, and use of personally identifiable, non-
      public information:
        1. Health Insurance Portability and Accountability Act of 1996 (Public Law 104-191), known as HIPAA, and related
           state medical privacy laws;
        2. Gramm-Leach-Bliley Act of 1999 (G-L-B), also known as the Financial Services Modernization Act of 1999;
        3. state and Federal statutes and regulations regarding the security and privacy of consumer information;
        4. governmental privacy protection regulations or laws associated with the control and use of personal
           information;
        5. privacy provisions of consumer protection laws, including the Federal Fair Credit Reporting Act (FCRA) and
           similar state laws;
        6. Children’s Online Privacy Protection Act or similar laws; and
        7. the EU Data Protection Act or other similar privacy laws worldwide.
   H. Claim means:
        1. with respect to Coverages A or B:
            a. a written demand received by an insured for monetary damages or non-monetary relief against any
               insured;
            b. a written request to toll or waive a statute of limitations relating to a potential claim against an insured;
            c.   the service of a civil suit or the institution of arbitration proceedings against an insured seeking damages
                 or a temporary restraining order or a preliminary or permanent injunction against an insured
            A claim under Coverages A or B will be deemed to be first made when notice of any of the foregoing is first
            received by an insured.
        2. with respect to Coverage C, a privacy regulatory proceeding instituted against an insured. A claim under
           Coverage C will be deemed to be first made when it is first received by an insured.
        3. with respect to Coverage D, a written report by an insured to the company of an adverse media report,
           security breach, privacy breach or breach of privacy regulations. A claim under Coverage D will be
           deemed to be first made when such written report is received by the company;
        4. with respect to Coverage E, a written report by an insured to the company of the occurrence of a covered
           cause of loss. A claim under Coverage E will be deemed to be first made when such written report is received
           by the company.
        5. with respect to Coverage F, a written report by an insured to the company of a cyber extortion threat. A
           claim under Coverage F will be deemed to be first made when such written report is received by the company.
        6. with respect to Coverage G, a written report by an insured to the company of an act of terrorism. A claim
           under Coverage G will be deemed to be first made when such written report is received by the company.
        7. with respect to Coverages H and L, a regulatory proceeding instituted against an insured. A claim under
           Coverage H will be deemed to be first made when it is first received by an insured.
        8. with respect to Coverages I, J, K and M, a written report by an insured to the company of an evacuation,
           a disinfection event, a public relations event or data protection breach. A claim under Coverages I,
           J, K and M will be deemed to be first made when such written report is received by the company.
   I.   Claims expenses means:
        1. reasonable and necessary fees incurred with the company’s consent and charged by an attorney(s) designated
           by the company to defend a claim; and

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        2. all other reasonable and necessary fees, costs, and expenses resulting from the investigation, adjustment,
           defense, and appeal of a claim, if incurred by the company, or by an insured with the company’s prior
           written consent.
        Claims expenses do not include any wages, salaries, fees, overhead or other charges incurred by, or paid to, any
        insured for any time spent in cooperating in the defense and investigation of any claim or any circumstance which
        might lead to a claim notified under this Coverage Part. With respect to Coverage H, claim expenses do not
        include the costs associated with the adoption and implementation of any corporate integrity agreement,
        compliance program or similar provision regarding the operations of an insured’s business, negotiated as part of
        a settlement with or by order of a government entity.
   J.   Commercial payer means ay private health insurance company.
   K. Committee member means a person serving as a member of a committee or board formed or controlled by an
      insured business. Committee member also includes any person executing the directives of such a committee
      or board.
   L.   Computer hardware means the physical components of any computer system including CPU’s, memory,
        storage devices, storage media, and input/output devices and other peripheral devices and components, including,
        but not limited to, cable, connectors, fiber optics, wire, power supply units, keyboards, display monitors and audio
        speakers.
   M. Computer program(s) means an organized set of instructions that, when executed, causes a computer to behave
      in a predetermined manner. Computer program(s) include, but are not limited to, communications, networking,
      operating system and related computer programs used to create, maintain, process, retrieve, store and/or
      transmit electronic data.
   N. Computer system(s) means interconnected electronic, wireless, web or similar systems (including all computer
      hardware and software) used to process and store data or information in an analogue, digital, electronic or
      wireless format including, but not limited to, computer programs, electronic data, operating systems, firmware,
      servers, media libraries, associated input and output devices, mobile devices, networking equipment, websites,
      extranets, off line storage facilities (to the extent that they hold electronic data), and electronic backup equipment.
   O. Computer virus means a program that possesses the ability to create replicas of its self (commonly known as
      ‘auto-reproduction’ program) within other programs or operating system areas or which is capable of spreading
      copies of its self wholly or partly to other computer systems.
   P. Counseling means formal therapy rendered to a patient by a licensed professional approved and credentialed by
      the insured to provide such therapy.
   Q. Covered causes of loss means:
        1. Accidental Damage or Destruction
            a. accidental physical damage or destruction of electronic media, so that stored digital assets are no
               longer machine-readable;
            b. accidental damage or destruction of computer hardware, so that stored data is no longer machine-read-
               able;
            c.   failure in power supply or under/over voltage only if such power supply is under the direct operational
                 control of an insured business. Direct operational control includes back-up generators;
            d. programming error of delivered programs; or
            e. electrostatic build-up and static electricity.
        2. Administrative or Operational Mistakes
            An accidental, unintentional or negligent act, mistake, error or omission by an insured, a BPO service
            provider or outsourced IT service provider in:
            a. the entry, or modification of an insured business’s electronic data, which causes damage to such data;
            b. the creation, handling, development, modification or maintenance of an insured business’s digital
               assets; or

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           c.   on-going operation or maintenance of an insured business’s computer system, excluding the design,
                architecture, or configuration of an insured business’s computer system;
       3. Computer Crime and Computer Attacks
           An act, mistake, negligent error or omission by an insured, a BPO service provider or outsourced IT
           service provider in the operation of an insured business’s computer system or in the handling of an
           insured business’s digital assets, which fails to prevent or hinder any of the following attacks intended to
           maliciously cause harm to an insured business’s computer system:
           a. a denial of service attack;
           b. malicious code;
           c.   unauthorized access; or
           d. unauthorized use.
   R. Customer notification expenses means those reasonable and necessary legal expenses, forensic and
      investigation fees, public relations expenses, postage expenses, and related advertising expenses an insured
      incurs, with the company’s prior written consent, to comply with governmental privacy legislation mandating
      customer notification in the event of a security breach, privacy breach, or breach of privacy regulations.
   S. Customer support and credit monitoring expenses means those reasonable and necessary expenses an
      insured incurs, with the company’s prior written consent, for the provision of customer support activity, including
      the provision of credit file monitoring services and identity theft education and assistance for up to a period of 12
      months from the date of enrollment in such credit file monitoring services, in the event of a privacy breach.
   T. Cyber extortion expenses means all reasonable and necessary costs and expenses an insured business incurs,
      with the company’s prior written consent, as a direct result of a cyber extortion threat, other than cyber
      extortion monies.
   U. Cyber extortion monies means any funds or property paid by an insured business, with the company’s prior
      written consent, to a person(s) or entity(ies) reasonably believed to be responsible for a cyber extortion threat,
      for the purpose of terminating such a cyber extortion threat.
   V. Cyber extortion threat means a credible threat or series of related credible threats, including, but not limited to,
      a demand for cyber extortion monies, directed at an insured business to:
       1. release, divulge, disseminate, destroy or use the confidential information of a third party taken from an insured
          as a result of unauthorized access to, or unauthorized use of, an insured business’s computer system;
       2. introduce malicious code into an insured business’s computer system;
       3. corrupt, damage or destroy an insured business’s computer system;
       4. restrict or hinder access to an insured business’s computer system, including, but not limited to, the threat
          of a denial of service attack; or
       5. electronically communicate with an insured business’s customers and falsely claim to be the insured
          business or to be acting under the insured business’s direction in order to falsely obtain personal confidential
          information of the insured business’s customers (also known as “pharming,” “phishing,” or other types of
          false communications).
   W. Damages mean a monetary judgment, award or settlement, including prejudgment and post judgment interest
      and punitive damages to the extent insurable under the law pursuant to which this Coverage Part is construed.
       Damages do not include:
       1. any insured’s future profits or royalties, restitution or disgorgement of any insured’s profits;
       2. the costs to comply with orders granting injunctive or non-monetary relief, including specific performance, or
          any agreement to provide such relief;
       3. loss of any insured’s fees or profits, return or offset of any insured’s fees or charges or any insured’s
          commissions or royalties provided or contracted to be provided;


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       4. taxes, fines or penalties or sanctions;
       5. the multiple portion of any multiplied damages;
       6. liquidated damages;
       7. any amount which an insured is not financially or legally obligated to pay;
       8. disgorgement of any remuneration or financial advantage to which an insured was not legally entitled;
       9. settlements negotiated without the company’s consent; or
       10. monetary judgments, awards, settlements or any other amounts which are uninsurable under the law pursuant
           to which this Coverage Part is construed or any legal fees and costs awarded pursuant to such judgments,
           awards or settlements.
   X. Data means any machine readable information, including ready for use programs, applications, account, customer,
      health and medical information or electronic information subject to back up procedures, irrespective of the way it
      is used and rendered including, but not limited to, text or digital media.
   Y. Data protection breach means the appearance of any adverse media report that there has been a failure,
      error, omission, neglect or breach of duty by an insured, a BPO service provider or outsourced IT service
      provider to protect the security and confidentiality of non-public proprietary corporate information, personally
      identifiable non-public information of customers or other personal or confidential paper records of customers.
   Z. Delivered programs means programs, applications, and software where the development stage has been
      finalized, having passed all test-runs and been proven successful in a live environment.
   AA. Denial of service attack means an event caused by unauthorized or unexpected interference or a malicious
       attack intended by the perpetrator to overwhelm the capacity of a computer system by sending an excessive
       volume of electronic data to such computer system in order to prevent authorized access to such computer
       system.
   BB. Digital assets mean data and computer programs that exist in a computer system. Digital assets do not
       include computer hardware.
   CC. Digital assets loss means reasonable and necessary expenses and costs an insured business incurs to replace,
       recreate or restore digital assets to the same state and with the same contents immediately before it was
       damaged, destroyed, altered, misused or stolen, including expenses for materials and machine time as well as costs
       associated with restoration, recreation and replacement. Digital Assets Loss also includes amounts representing
       employee work time to replace, recreate or restore digital assets which shall be determined on a predefined
       billable hours or per hour basis as based upon the first named insured’s schedule of employee billable hours.


   DD. Disinfection event means any case or series of cases of hospital-borne infectious bacteria, virus or disease that
       requires reporting of such case or series of cases to any local, state or federal governmental or healthcare oversight
       agency or entity.
   EE. Disinfection expense means reasonable fees and costs incurred by an insured business to clean and disinfect
       such insured business as a result of any disinfection event. Disinfection expense includes costs to:
       1. engage third party providers of cleaning/disinfection services; and
       2. notify patients, visitors or other potentially affected persons.
         Disinfection expense does not include any salaries, overhead, fees, loss of earnings or benefit expenses
         incurred by, or paid to, any insured or the cost of cleaning and/or disinfecting supplies or products.
   FF. E-Discovery claim expenses means claim expenses relating to the collection, processing, converting,
       reviewing and producing electronically stored information, which is performed solely by an e-discovery service
       provider designated by the company in connection with the investigation and defense of any regulatory
       proceeding.
   GG. E-Discovery consulting services means e-discovery readiness assessment and consulting services rendered
       solely by an e-discovery service provider designated by the company in connection with the investigation and

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       defense of any regulatory proceeding.
   HH. E-Discovery regulatory investigation expenses means claim expenses incurred by an insured business
       for services rendered solely by an e-discovery service provider designated by the company in the collection,
       processing, converting, reviewing and producing electronically stored information in connection with any
       regulatory proceeding.
   II. Electronic media means floppy disks, CD ROMs, hard drives, magnetic tapes, magnetic discs, or any other media
       on which electronic data is recorded or stored.
   JJ. Employee(s) means any person employed by, or under contract with, an insured business at the time of a
       claim. Employees include:
       1. any authorized volunteer worker;
       2. any physician or dentist, including residents; and
       3. any certified registered nurse anesthetist, nurse midwife, nurse practitioner, physician’s assistant, podiatrist or
          surgical assistant.
       Employees do not include any administrator, committee member or student.
   KK. EMTALA proceeding means proceedings instituted against an insured by a government entity alleging
       violations of the Emergency Medical Treatment and Labor Act (EMTALA).
   LL. Evacuation means:
       1. the removal of 25% or more of an insured business’s patients away from the insured business’s premises
          to any other premises as a result of any natural or man-made occurrence that, in the reasonable judgment of
          the insured business’s management staff, causes or could potentially cause such insured business to be
          unsafe for such patients; and
       2. solely with respect to an insured business’s patients as described in 1. above, the return of such patients to
          the insured business’s premises when such premises are deemed safe for occupancy.
  MM. Evacuation expense means reasonable costs incurred in connection with an evacuation, including the costs of
      transporting and lodging patients. Evacuation expense does not include any salaries, overhead, fees, loss of
      earnings or benefit expenses incurred by, or paid to, any insured.
   NN. Firmware means the fixed programs that internally control basic low-level operations in a device.
   OO.Government entity means:
       1. any department, agency, task force or other organization created by any U.S. federal or state law, regulation,
          rule or executive order;
       2. any department, agency, task force or other organization operated, funded or staffed, in whole or in part, by
          the U.S. federal government or any state government; or
       3. any organization operating as a Medicare Integrity Program Contractor.
   PP. Income means all income of an insured business within any given period which is derived from the exploitation
       of the insured business’s reputation and/or from the insured business’s business activities, products or
       services.
   QQ.Income loss means financial loss sustained by an insured business, as determined in accordance with the
      provisions of Coverage E.2., Non-Physical Business Interruption and Extra Expense.
   RR. Increase in cost of working means the additional expenditure (other than any advertising or marketing costs or
       the like undertaken to rehabilitate an insured business’s reputation and/or any legal costs or expenses)
       necessarily and reasonably incurred by an insured business for the sole purpose of avoiding or minimizing a net
       trading loss or a reduction in net profit which would otherwise have occurred during the policy period as a
       consequence of a data protection breach. The amount of such additional expenditure recoverable hereunder
       shall in no case exceed the amount of the net trading loss or reduction in net profit thereby avoided.
   SS. Insured business means any corporation, entity, partnership or professional association shown on the
       Declarations or listed in a Schedule of Named Insureds applicable to this Coverage Part.

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   TT. Insured business’s computer system means:
       1. a computer system operated by and either owned by, or leased to an insured business;
       2. with respect to Coverage B only, a computer system operated by a BPO service provider or outsourced
          IT service provider and used for the purpose of providing hosted computer application services to an insured
          business or for processing, maintaining, hosting or storing an insured business’s electronic data, pursuant
          to a written contract with the insured business for such services.
   UU. Internet means the worldwide public network of computers which enables the transmission of electronic data
       between different users, including a private communications network existing within a shared or public network
       platform.
   VV. Interruption expenses means those expenses, excluding special expenses, incurred by an insured business,
       in accordance with the provisions of Coverage E.2., Non-Physical Business Interruption and Extra Expense, to:
       1. avoid or minimize the suspension of business as a result of the total or partial interruption, degradation in
          service or failure of an insured business’s computer system caused directly by a covered cause of loss,
          which the insured business would not have incurred had no covered cause of loss occurred. Interruption
          expenses include, but are not limited to, the use of rented/leased external equipment, substitution of other
          work or production procedures, use of third party services or additional staff expenditures or labor costs; and/or
       2. minimize or avoid a covered cause of loss and continue an insured business’s business.
       The amount of interruption expenses recoverable under subparagraph 1 above shall in no case exceed the
       amount by which the covered income loss is reduced by such incurred interruption expenses.
  WW. Malicious code means software intentionally designed to insert itself and damage a computer system without
      the owner’s informed consent by a variety of forms including, but not limited to, virus, worm, Trojan horses,
      spyware, dishonest adware, and crime-ware.
   XX. Multimedia perils means the release of, or display of, any electronic media on an insured business’s
       internet site or print media for which an insured business is solely responsible, which directly results in any of
       the following:
       1. any form of defamation or other tort related to the disparagement or harm to the reputation or character of
          any person or organization, including libel, slander, product disparagement or trade libel, and infliction of
          emotional distress, mental anguish, outrage or outrageous conduct, if directly resulting from any of the
          foregoing;
       2. invasion, infringement or interference with an individual’s right of privacy or publicity, including false light,
          intrusion upon seclusion, commercial misappropriation of name, person, or likeness, and public disclosure of
          private facts;
       3. plagiarism, piracy or misappropriation of ideas under an implied contract;
       4. infringement of copyright, trademark, trade name, trade dress, title, slogan, service mark or service name; or
       5. domain name infringement or improper deep-linking or framing.
   YY. Net profit means an insured business’s net trading profit (exclusive of all capital receipts and accretions and all
       outlay improperly chargeable to capital) within any given period generated from an insured business’s income
       after due provision has been made for all standing and other charges including depreciation, but before the
       deduction of any taxation chargeable on profits.
   ZZ. Operational programs means programs and software which are ready for operational use, having been fully
       developed, tested, and accepted by an insured business.
  AAA. Outsourced IT service provider means a third party independent contractor that provides information
       technology services for the benefit of an insured business under a written contract with the insured business.
       Outsourced services include, but are not limited to, hosting, security management, co-location, and data storage.
  BBB. Period of indemnity means the period of time elected by an insured business which both begins and ends
       within the period commencing with the date of the first adverse media report of a data protection breach
       and continuing thereafter for the time period specified in the policy schedule and not limited by the expiration date


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       of the policy. During the period of indemnity, coverage against any further occurrence of any data protection
       breach shall continue only until the expiration date of this policy.
  CCC. Period of restoration means the period of time that commences on the date when the interruption, degradation
       or failure of an insured business’s computer system began and ends on the later of:
       1. the date when an insured business’s computer system is restored or could have been repaired or restored
          with reasonable speed to the same condition, functionality and level of service that existed prior to a covered
          cause of loss plus no more than 30 consecutive days after the restoration of an insured business’s
          computer system to allow for restoration of the business; or
       2. 120 consecutive days after notice of a covered cause of loss is received by the company.
 DDD. Print media means newspapers, newsletters, magazines, books and literary works in any form, brochures or other
      types of publications, and advertising materials, including packaging, photographs, and digital images.
  EEE. Privacy breach means a common law breach by an insured, a BPO service provider or outsourced IT
       service provider of confidentiality, infringement or violation of any right to privacy including, but not limited to,
       a breach of an insured business’s privacy policy, breach of a person’s right of publicity, false light, intrusion upon
       a person’s seclusion or public disclosure of a person’s private information. A series of continuing privacy breaches
       or related or repeated privacy breaches shall be considered a single privacy breach and shall be deemed to
       have occurred at the time of the first such privacy breach.
  FFF. Privacy breach response costs means those reasonable and necessary fees an insured incurs, with the
       company’s prior written consent, for the employment of a public relations consultant if an insured reasonably
       considers that action is needed in order to avert or mitigate any material damage to an insured business’s
       reputation that results or reasonably will result from an adverse media report that has been notified to the
       company.
 GGG. Privacy regulatory proceeding means a formal civil administrative proceeding or regulatory action instituted
      against an insured by a federal, state or local governmental regulatory body for a security breach, privacy
      breach or breach of privacy regulations.
 HHH. Programming error means an error which occurs during the development or encoding of a computer program,
      software, or application, which would, when in operation, result in a malfunction or incorrect operation of a
      computer system.
   III. Property damage means physical injury to, impairment, destruction, or corruption of any tangible property,
        including the loss thereof. Data is not considered tangible property.
   JJJ. Public relations event means:
       1. any event in which an insured business has paid any:
           a. evacuation expense; or
           b. disinfection expense;
       2. any event that results in the publication or broadcast of information which can reasonably be expected to
          damage an insured business’s reputation, if such event is caused by:
           a. an actual or alleged act, error or omission in the furnishing or failure to furnish treatment;
           b. an abusive act; or
           c.   workplace violence or threat of workplace violence.
  KKK. Public relations expenses means:
       1. with respect to Coverage D, reasonable and necessary expenses incurred by an insured business to re-
          establish its reputation, which was damaged as a direct result of an adverse media report.
       2. with respect to Coverage K, reasonable fees and costs incurred by an insured business in the investigation
          and mitigation of a public relations event including the costs:
           a. of attorneys, experts and consultants, including third-party media consultants and security consultants;


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           b. to notify third parties directly affected by such public relations event;
           c.   incurred in the management of public relations with respect to such public relations event; and
           d. employee counseling expenses.
       3. with respect to Coverage M, reasonable and necessary expenses incurred by an insured business to re-
          establish its reputation, which was damaged as a direct result of a data protection breach.
       However, public relations expenses do not include:
       1. any salaries, overhead, fees, loss of earnings, or benefit expenses incurred by, or paid to, any insured; or
       2. disinfection expense or evacuation expense.
   LLL.Qui tam plaintiff means a private plaintiff under the U.S. False Claims Act.
 MMM.Recoverable costs mean, within any period in which an insured business’s net profit is nil, any standing and
     other charges incurred by an insured business in excess of its income, up to, but not exceeding, 20% of its
     anticipated net profit for such period.
 NNN. Regulatory compensatory award means a sum of money which an insured is legally obligated to pay as an
      award or fund for affected individuals, including a regulatory agency’s monetary award to a third party due to an
      adverse judgment or settlement arising out of a privacy regulatory proceeding. Regulatory compensatory
      award does not include a criminal penalty or fine issued by a regulatory agency of any kind, including federal,
      state, or local governmental agencies.
 OOO. Regulatory fines and penalties mean civil fines or penalties imposed against an insured by a government
      entity as a result of a privacy regulatory proceeding triggering coverage under Coverage C or a regulatory
      proceeding triggering coverage under Coverage H.
  PPP. Regulatory proceeding means:
       1. With respect to Coverage H, any of the following instituted against an insured during the policy period:
           a. billing errors proceeding;
           b. EMTALA proceeding; or
           c.   Stark proceeding.
       2. With respect to Coverage L, any of the following instituted against an insured during the policy period:
           a. any investigation or request for information by the Office for Human Research Protection (OHRP) under
              Title 45, Part 46, Code of Federal Regulations (45 CFR part 46);
           b. any request for information by the Office of Inspector General (OIG) as part of its audits, investigations,
              inspections and evaluations; or
           c.   any request for information by the Food and Drug Administration (FDA) as part of its audits, investigations,
                inspections and evaluations.
 QQQ. Reputation means the estimation of trust that patients, customers or clients have in doing business with an
      insured business or in purchasing the products or services of an insured business.
 RRR. Restitution means repayment of fees, reimbursement, profits, charges or other benefit payments:
       1. received by an insured from:
           a. a governmental health benefit payer or program, carrier or intermediary making payments as part of, or in
              connection with, any such program;
           b. a commercial payer; or
           c.   any patient.
       2. to which such insured was not legally entitled by reason of a billing error or errors, the return of which is
          sought in a billing errors proceeding.
  SSS. Retention means the amount shown on the Declarations applicable to this Coverage Part, which must be borne

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       by the insureds uninsured and at their own risk in respect to damages, claim expenses and any other amounts
       covered under this Coverage Part. The company has no liability to pay damages, claim expenses or any other
       amounts covered under this Coverage Part until the retention has been fully paid and satisfied by the insureds,
       unless otherwise provided in this Coverage Part. The retention shall apply separately to each claim under each
       of the Coverages of this Coverage Part. If a claim attaches to more than one of the Coverages of this Coverage
       Part, only the highest retention applies.
  TTT. Retroactive date means the date shown on the Declarations applicable to this Coverage Part that an insured
       has no coverage under Coverages A, B, C, H or L.
 UUU. Security and privacy wrongful act mean any of the below, whether actual or alleged, but only if committed or
      alleged committed by an insured in their capacity as such:
       1. the failure to prevent or hinder unauthorized access to or unauthorized use of an insured business’s
          computer system; security failures; or social engineering techniques devised to trick the user into
          surrendering personal information (‘phishing’ or ‘pharming’) that in turn results in:
           a. the alteration, copying, corruption, destruction, deletion, or damage to electronic data stored on an
              insured business’s computer system;
           b. theft, loss or unauthorized disclosure of electronic and non-electronic confidential commercial, corporate,
              personally identifiable, or private information that is in the care, custody or control of an insured
              business;
           c.   theft, loss or unauthorized disclosure of electronic and non-electronic confidential commercial, corporate,
                personally identifiable, or private information that is in the care, custody or control of a BPO service
                provider or outsourced IT service provider that is holding, processing or transferring such information
                on behalf of an insured business; provided, however, that the theft, loss or unauthorized disclosure
                occurs while an insured business’s written contract with such BPO service provider or outsourced
                IT service provider is still in effect; or
           d. unauthorized use of or unauthorized access to a computer system other than an insured
              business’s computer system.
       2. an insured business’s failure to timely disclose a security breach affecting personally identifiable, nonpublic
          information, or the failure to dispose of personally identifiable information within the required time period, in
          breach of privacy regulations in effect now or in the future;
       3. the failure to prevent the transmission of malicious code or computer virus from an insured business’s
          computer system to the computer system of a third party;
       4. a privacy breach or breach of privacy regulations;
       5. the failure to prevent or hinder participation by an insured business’s computer system in a denial of
          service attack directed against internet sites or the computer system of any third party; or
       6. loss of employee information.
  VVV. Security breach means:
       1. unauthorized access to or unauthorized use of an insured business’s computer system, including
          unauthorized access or unauthorized use resulting from the theft of a password from an insured
          business’s computer system or from any insured;
       2. a denial of service attack against an insured business’s computer system; or
       3. infection of an insured business’s computer system by malicious code or the transmission of malicious
          code from an insured business’s computer system,
           whether any of the foregoing is a specifically targeted attack or a generally distributed attack. A series of
           continuing security breaches, related or repeated security breaches, or multiple security breaches
           resulting from a continuing failure of computer security, shall be considered a single security breach and be
           deemed to have occurred at the time of the first such security breach.
WWW. Shadow audit means an audit performed by a qualified professional, which examines the same billing records


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       and related documents as those subject to an ongoing billing errors proceeding, with the intent of providing an
       insured with a private expert opinion. Such shadow audits are subject to the company’s prior approval.
 XXX. Shadow audit expenses means the fees for the services of a qualified audit professional and associated expenses
      incurred by an insured in the course of a shadow audit.
  YYY. Social services means programs provided by an insured to help maintain or improve the quality of life for the
       patient, including family counseling and educational programs. These programs do not include therapy for the direct
       benefit of anyone other than the patient.
 ZZZ. Special expenses means reasonable and necessary costs and expenses an insured business incurs to:
       1. prevent, preserve, minimize, or mitigate any further damage to an insured business’s digital assets,
          including the reasonable and necessary fees and expenses of specialists, outside consultants or forensic experts
          an insured business retains;
       2. preserve critical evidence of any criminal or malicious wrongdoing;
       3. purchase replacement licenses for computer programs because the copy protection system and/or access
          control software was damaged or destroyed by a covered cause of loss; or
       4. notify customers of a total or partial interruption, degradation in service or failure of an insured business’s
          computer system resulting from a covered cause of loss.
AAAA. Stark proceeding means proceedings instituted against an insured by a government entity alleging violation
      of any federal, state or local anti-kickback or self-referral laws.
BBBB. Student means an unlicensed person, other than a resident, enrolled in a licensed or accredited training program
      operated by an insured business relative to the delivery of treatment.
CCCC. Time retention means the number of hours that must elapse, as shown on the Declarations applicable to this
      Coverage Part, before the recovery of loss under Coverage E.2., Non-Physical Business Interruption and Extra
      Expense, or Coverage G, can be considered.
DDDD. Unauthorized access means the gaining of access to a computer system by an unauthorized person or persons.
EEEE. Unauthorized use means the use of a computer system by an unauthorized person or persons or an authorized
      person in an unauthorized manner.
FFFF. Voluntary self disclosure means an insured discloses information, without inquiry, to any government entity
      or commercial payer, which may serve as grounds for a billing errors proceeding against an insured. Such
      information must have become known to the insured fortuitously and subsequent to the initial effective date of
      this insurance.




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                                                                                                Issuing Company:
                                                                       National Fire & Marine Insurance Company
                                                                                                Omaha, Nebraska


              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Endorsement No.:                     1
Forming Part of Policy No.:          NSC100432
Issued to:                           Orinda Care Center, LLC
Effective Date of Endorsement: 02/15/2020 at 12:01 a.m. at the address of the First Named Insured stated herein.


                           SCHEDULE OF ADDITIONAL INSUREDS ENDORSEMENT


Only with respect to coverage provided under this endorsement, and in consideration of the payment of the additional
premium due, if any, and in reliance upon the representations of all insureds, the company and the insureds agree to
amend the policy as follows:


The definition of additional insured in the Definitions section of the Common Policy Provisions and Conditions is deleted.


As used in this endorsement, and only with respect to the Coverage Part(s) listed in the Schedule of Additional Insureds
below, additional insured means any person or organization listed in that Schedule of Additional Insureds; however, any
such person or organization is not an additional insured with respect to losses arising from, or in connection with, any
acts or omissions alleged to have been committed by that person or organization.


The following subparagraph is added to the Insuring Clause(s) of the Coverage Part(s) listed in in the Schedule of Additional
Insureds below:
    The company’s duty to defend and pay losses or claims expense on behalf of any insured shall extend to any
    additional insured meeting the terms and conditions of this policy, but only with respect to any loss or claims
    expense payable as the result of the additional insured’s vicarious liability for the acts or omissions of an insured
    otherwise covered under this Coverage Part.
    However, the coverage provided to an additional insured shall not be broader than that which an insured is required
    by written contract or agreement to provide to that additional insured. Additionally, coverage shall not apply to
    structural alterations, new construction or demolition operations performed by or on behalf of an additional insured.


The following provision is added to the Limits of Liability section(s) of the Coverage Part(s) listed in the Schedule of
Additional Insureds below:
    ADDITIONAL INSUREDS
    All additional insureds share the Limits of Liability applicable to any claim with any insured for which the additional
    insured is alleged to be vicariously liable with respect to that same claim.




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                                         SCHEDULE OF ADDITIONAL INSUREDS
                                           ADDRESS / DESCRIPTION OF
 ADDITIONAL INSURED                        OPERATIONS                                 COVERAGE PART
 Renew Health Consulting Services, LLC     107 W Lemon Ave, Monrovia, CA 91016 /      General Liability and Professional Liability
                                           Consultant
 Renew Health Group, LLC                   107 W Lemon Ave, Monrovia, CA 91016 /      General Liability and Professional Liability
                                           Ownership Company
 Capital Funding, LLC, ISAOA, ATIMA        Attn: Bank Loan Servicing                  General Liability and Professional Liability
                                           1422 Clarkview Rd, Baltimore, MD 21209 /
                                           Lender
 US Department of Housing and Urban        Attn: Bank Loan Servicing                  General Liability and Professional Liability
 Development                               1422 Clarkview Rd, Baltimore, MD 21209 /
                                           Lender


                      All other terms and conditions of the policy remain unchanged.




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                                                                                                Issuing Company:
                                                                       National Fire & Marine Insurance Company
                                                                                                Omaha, Nebraska


              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Endorsement No.:                     2
Forming Part of Policy No.:          NSC100432
Issued to:                           Orinda Care Center, LLC
Effective Date of Endorsement: 02/15/2020 at 12:01 a.m. at the address of the First Named Insured stated herein.


             DISCIPLINARY, LICENSING AND CREDENTIALING ACTIONS ENDORSEMENT
                                 (PROFESSIONAL LIABILITY)

In consideration of the payment of the additional premium due, if any, and in reliance upon the representations of all
insureds, the company and the insureds agree to amend the policy as follows:


The following provision is added to the Insuring Clause section of the Professional Liability Coverage Part:
    DISCIPLINARY, LICENSING, AND CREDENTIALING ACTIONS
    The company’s duty to defend a claim includes the defense of any disciplinary, licensing, or credentialing action
    brought against an insured by (1) a state board of medical examiners or state dental board responsible for investigating
    and disciplining licensees, (2) a hospital or facility professional review board or committee through formally adopted,
    written procedures, or (3) the United States Drug Enforcement Administration, subject to the following additional
    conditions:
    A. If the policy provides coverage to an insured on a Claims-Made and Reported basis:
        1. the action must arise from the insured’s rendering of, or failure to render, professional services, after the
           retroactive date, but before the end of the policy period, and for which there is no other insurance available;
           and
        2. the action must be first initiated against the insured during the policy period.
    B. If the policy provides coverage to an insured on an Occurrence basis, the action must arise from the insured’s
       rendering of, or failure to render, professional services during the policy period, and for which there is no
       other insurance available.
    C. The payment of claims expense for such actions will be in addition to the applicable Limit of Liability. However,
       the company will not pay more than $25,000 in claims expense on behalf of an insured for any single action.
       Furthermore, the company will not pay more than $100,000 for claims expense on behalf of all insureds for
       all such actions covered under the policy.
    D. The company has no duty to pay any fines, penalties, or other costs assessed against an insured as a result of
       any such action.
    However, payments for claims under this Insuring Clause shall not be subject to any Deductible or Self-Insured
    Retention.


                      All other terms and conditions of the policy remain unchanged.




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                                                                                               Issuing Company:
                                                                      National Fire & Marine Insurance Company
                                                                                               Omaha, Nebraska


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Endorsement No.:                     3
Forming Part of Policy No.:          NSC100432
Issued to:                           Orinda Care Center, LLC
Effective Date of Endorsement: 02/15/2020 at 12:01 a.m. at the address of the First Named Insured stated herein.


                               EMPLOYEE BENEFITS LIABILITY ENDORSEMENT
                                         (GENERAL LIABILITY)
                                (CLAIMS-MADE AND REPORTED COVERAGE)


                                                        NOTICE:
  This endorsement contains claims-made and reported coverage. Please read this endorsement
                                         carefully.


In consideration of the payment of the additional premium due, if any, and in reliance upon the representations of all
insureds, the company and the insureds agree to amend the policy as follows:


The following provision is added to the Insuring Clauses section of the General Liability Coverage Part:
    EMPLOYEE BENEFITS LIABILITY
    1. Claims-Made and Reported
        If “Claims-Made and Reported” is shown on the Declarations with respect to this Coverage Part, the following
        provisions apply:
        a. The company will pay on behalf of any insured all loss and claims expense, subject to any applicable
           Deductible or Self-Insured Retention, and up to the Limits of Liability shown on the Declarations with respect
           to this Insuring Clause, arising from an event related to the administration of employee benefits that took
           place on or after the applicable retroactive date shown on the Declarations. Moreover, to be covered under this
           policy, the loss or claims expense must arise from:
             (1) a claim that was first made against, and received by, an insured during the policy period, and reported
                 to the company, in writing, during the policy period or within any applicable extended reporting
                 period; or
             (2) a potential claim that was first known about or discovered by an insured during the policy period, and
                 reported to the company, in writing, during the policy period or within the automatic limited extended
                 reporting period.
        b. All claims and potential claims for damages arising out of, or in connection with, the same event will be
           deemed to have been first made on the date that the first of those claims is made against any insured, or
           the date the first of such potential claims is discovered by an authorized insured, whichever date is earlier.
           Only the policy in effect when the first such claim is made and reported to the company, or the first such
           potential claim is discovered and reported to the company, whichever is earlier, will apply to all related
           claims and potential claims, no matter when those related claims are made or reported, or potential
           claims are discovered and reported. If, prior to the effective date of this policy, the first such claim is made,
           or the first such potential claim is discovered, this policy will not apply to that claim or potential claim,

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            nor to any related claim or potential claim made during this policy period or any extended reporting
            period.


Only with respect to coverage provided under this endorsement, the following definitions are added to the Definitions
section of the Common Policy Provisions and Conditions:
    Administration means:
    1. providing information to employees, including their dependents and beneficiaries, with respect to eligibility for or
       scope of an employee benefits program;
    2. handling records in connection with an employee benefits program; or
    3. effecting, continuing, or terminating any employee’s participation in any employee benefits program.
    Administration does not include handling payroll deductions.
    Employee benefits means any group benefits administered on behalf of a named insured’s employees, including:
    1. group insurance plans or programs, such as life, health, accident, dental, or legal advice;
    2. Individual retirement accounts, salary reduction plans under I.R.S. Code 401(k), or any amendment thereto, savings
       plans, or employee stock subscription plans;
    3. travel or vacation plans; or
    4. workers’ compensation, occupational disease, unemployment, Social Security, or disability benefits insurance.


Only with respect to coverage provided under this endorsement, the EMPLOYEE BENEFITS LIABILITY exclusion is deleted
from the Exclusions section of the Common Policy Provisions and Conditions.


The following provisions are added to the Exclusions section of the General Liability Coverage Part:
    EXCLUSIONS APPLICABLE TO THE EMPLOYEE BENEFITS LIABILITY INSURING CLAUSE
    The coverage provided under the Employee Benefits Liability Insuring Clause does not apply to:
    1. BODILY INJURY, PROPERTY DAMAGE AND PERSONAL AND ADVERTISING INJURY
        Any claim arising from, or in connection with, bodily injury, property damage, or personal and advertising
        injury.
    2. CLAIM FOR BENEFITS WHERE FUNDS AVAILABLE WITH REASONABLE COOPERATION
        Any claim for benefits to the extent that such benefits are available, with reasonable effort and cooperation of the
        insured, from the applicable funds accrued or other collectible insurance.
    3. COLLECTIVE BARGAINING
        Any claim arising from, or in connection with, the breach of any collective bargaining agreement.
    4. ERISA
        Any claim arising from, or in connection with, an insured’s duty as a sponsor of an employee benefit plan under
        the Employee Retirement Income Security Act of 1974 (ERISA), or any amendment or regulation that applies
        thereto. However, this exclusion is limited to:
        a. an insured’s failure or inability to fund the plan in accordance with the plan document or any applicable law
           or regulation; and
        b. liability for the payment of benefits owed to a participant or beneficiary of the plan that have been paid or may
           lawfully be paid from the plan’s funds or those of other employee programs.




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    5. FAILURE TO PERFORM UNDER A CONTRACT
        Damages arising out of the failure of an insurer to perform under a contract.
    6. HEALTH CARE EVENT
        Any claim arising from, or in connection with, any health care event.
    7. PERFORMANCE OF INVESTMENTS AND ADVICE GIVEN REGARDING EMPLOYEE BENEFITS
        Any claim arising from, or in connection with:
        a. errors in providing information on past performance of investment vehicles; or
        b. advice given to any person with respect to that person’s decision to participate or not to participate in any
           employee benefits plan.
    8. UNPAID OBLIGATIONS UNDER EMPLOYEE BENEFIT PLAN
        Any claim arising from, or in connection with, damages arising out of an insufficiency of funds to meet any
        obligations under any plan included as an employee benefit.


The following provisions are added to the Limits of Liability Section of the General Liability Coverage Part:
    EMPLOYEE BENEFITS LIABILITY PER EVENT LIMIT
    The Employee Benefits Liability Per Event Limit shown on the Declarations is the most the company will pay for loss
    and claims expense, if shown on the Declarations as “Defense Within Limits,” under the Employee Benefits Liability
    Insuring Clause because of bodily injury arising out of any one event.
    EMPLOYEE BENEFITS LIABILITY AGGREGATE LIMIT
    The Employee Benefits Liability Aggregate Limit shown on the Declarations is the most the company will pay for loss
    and claims expense, if shown on the Declarations as “Defense Within Limits,” because of bodily injury included in
    the Employee Benefits Liability Insuring Clause.


Only with respect to the Employee Benefits Liability Insuring Clause, the Settlement condition in the Conditions section of
the Common Policy Provisions and Conditions is deleted and replaced by the following:
    SETTLEMENT
    The company may settle any claim, potential claim, or other matter brought against an insured as the company
    deems expedient. However, the company shall first provide written notice to the first named insured.


                          All other terms and conditions of the policy remain unchanged.




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                                                                                                 Issuing Company:
                                                                        National Fire & Marine Insurance Company
                                                                                                 Omaha, Nebraska


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Endorsement No.:                      4
Forming Part of Policy No.:           NSC100432
Issued to:                            Orinda Care Center, LLC
Effective Date of Endorsement: 02/15/2020 at 12:01 a.m. at the address of the First Named Insured stated herein.


                               PATIENT’S PERSONAL PROPERTY ENDORSEMENT
                                           (GENERAL LIABILITY)

In consideration of the payment of the additional premium due, if any, and in reliance upon the representations of all
insureds, the company and the insureds agree to amend the policy as follows:


The following provision is added to the Limits of Liability section of the General Liability Coverage Part:
    PATIENTS PERSONAL PROPERTY
         Patient’s Property Per Person Per Event Limit:    $5,000
         Patient’s Property Deductible:                    $250
    Subject to the General Aggregate Limit and the Per Event Limit, the Patient’s Property Per Person Per Event Limit shown
    above is the most the company will pay, subject to the Patient’s Property Deductible set forth above, under the Bodily
    Injury and Property Damage Insuring Clause for loss and claims expense because of property damage to a
    patient’s personal property sustained by any one person or arising out of one event.


Only with respect to coverage provided under this endorsement, the Damage to Property exclusion in the Exclusions section
of the General Liability Coverage Part is deleted and replaced with the following:
    Damage to Property
    Property damage to:
    a. property an insured owns, rents, or occupies, including any costs or expenses incurred by an insured, or any
       other person or organization for repair, replacement, enhancement, restoration, or maintenance of such property
       for any reason, including prevention of injury to a person or damage to another’s property;
    b. premises an insured sells, gives away, or abandons if the property damage arises out of, or in connection with,
       any part of those premises;
    c.   property loaned to an insured;
    d. personal property in the care, custody, or control of an insured, except that the company agrees to reimburse
       the insured for damages they become legally obligated to pay to a patient for property damage to the
       patient’s personal property, which occurred while such property was in the care, custody, or control of the
       insured. The reimbursement for each such patient shall not exceed the Patient’s Property Per Person Limit, minus
       the Patient’s Property Deductible;
    e. that particular part of real property on which an insured or any contractors or subcontractors, working directly or
       indirectly on behalf of the insured, are performing operations if the property damage arises out of those
       operations; or
    f.   that particular part of any property that must be restored, repaired, or replaced because the insured’s work was

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        incorrectly performed on it.
    Subparagraphs a, c, and d of this exclusion do not apply to property damage (other than damage by fire) to a
    premises, including the contents of such premises, rented to an insured for a period of 7 or fewer consecutive days.
    A separate limit of liability applies to the Damage to Premises Rented to an Insured as described in the Limits of Liability
    provision.
    Subparagraph b of this exclusion does not apply if the premises are the insured’s work and were never occupied,
    rented, or held for rental by the insured.
    Subparagraph f of this exclusion does not apply to property damage included in the products completed
    operations hazard.


Only with respect to coverage provided under this endorsement, the following definition applies:
    Patient means a person receiving treatment at an insured’s facility.


                      All other terms and conditions of the policy remain unchanged.




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                                                                                                 Issuing Company:
                                                                        National Fire & Marine Insurance Company
                                                                                                 Omaha, Nebraska


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Endorsement No.:                      5
Forming Part of Policy No.:           NSC100432
Issued to:                            Orinda Care Center, LLC
Effective Date of Endorsement: 02/15/2020 at 12:01 a.m. at the address of the First Named Insured stated herein.


                                    CRISIS RESPONSE COSTS ENDORSEMENT
                                            (GENERAL LIABILITY)

In consideration of the payment of the additional premium due, if any, and in reliance upon the representations of all
insureds, the company and the insureds agree to amend the policy as follows:


The following provision is added to the Limits of Liability section of the General Liability Coverage Part:
    CRISIS RESPONSE COSTS LIMIT
    The Crisis Response Costs Aggregate Limit shown below is the most the company will reimburse a named insured
    under the Crisis Response Costs Insuring Clause for crisis response costs because of a crisis event:
        Crisis Response Costs Aggregate Limit:                              $25,000
    The Crisis Response Costs Aggregate Limit shown above is the most the company will reimburse for all crisis
    response costs for all crisis events regardless of the number of insureds or crisis events. The Crisis Response
    Costs Aggregate Limit is not part of, and does not erode, the Limits of Liability applicable to other Insuring Clauses
    under this Coverage Part. The company’s duty to reimburse for crisis response costs is not subject to any Deductible
    or Self-Insured Retention.


The following insuring clause is added to the Insuring Clause section of the General Liability Coverage Part:
    CRISIS RESPONSE COSTS
    The company will reimburse a named insured, upon satisfactory proof of payment, for crisis response costs paid
    by the named insured in connection with a single crisis event that occurs during this policy period, subject to the
    Crisis Response Costs Aggregate Limit. The crisis response costs must be incurred by a named insured within 30
    days after the commencement of the crisis event. The end of the policy will not cut short this 30 day period.


Only with respect to coverage provided under this endorsement, the following condition is added to the Conditions section
of the Common Policy Provisions and Conditions:
REPORTING REQUIREMENTS FOR CRISIS EVENTS
The company’s duty to reimburse a named insured for any crisis response costs is conditioned upon:
    1. an authorized insured providing notice of a crisis event to the company via telephone call to (800) 463-3776
       or electronic message no later than 24 hours after the crisis event;
    2. an authorized insured notifying the company in writing as soon as possible:
        a. how, when and where the crisis event took place;
        b. the names and addresses of any witnesses or affected persons; and

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        c.   the nature and location of any injury or damage arising out of the crisis event.
    3. the insured taking all reasonable steps to prevent a crisis event and to mitigate any crisis response costs; and
    4. a request for reimbursement of crisis event costs, along with all invoices or receipts support such crisis response
       costs in excess of $50, must be submitted to the company within 90 days after incurring such crisis response
       costs.


Only with respect to coverage provided under this endorsement, the following definitions are added to the Definitions
section of the Common Policy Provisions and Conditions:
    Affected persons means those individuals who suffer direct bodily injury or property damage, or directly
    experience imminent injury.
    Crisis event means a man-made emergency situation, including but not limited to, arson, bombing, the taking of
    hostages, a mass shooting, terrorism, intentional contamination of food, drink or pharmaceuticals that results in bodily
    injury, property damage, or imminent injury to multiple persons and significant adverse regional or national news
    media coverage. A crisis event does not include a certified act of terrorism.
    Crisis response costs means:
    1. reasonable and necessary fees and expenses incurred by a crisis management firm or by an named insured
       in order to provide public relations and media management services for the purposes of maintaining an insured’s
       reputation;
    2. printing, advertising, or mailing costs incurred in order to manage the reputational risk of an insured;
    3. reasonable and necessary emergency psychology expenses, emergency travel expenses, funeral expenses,
       travel expenses, and temporary living expenses for affected persons;
    4. reasonable and necessary travel expenses and hotel accommodations for immediate family members of affected
       persons; or
    5. expenses to secure the scene of a crisis event.
    Crisis response costs do not include claims expense or salaries paid by an insured.
    Crisis management firm means a public relations firm assigned or approved by the company in writing that is hired
    by a named insured to perform services to protect and maintain the reputation of an insured.
    Emergency psychology expenses means reasonable and necessary expenses for psychological or counseling
    services provided to affected persons and incurred within the first 14 days after a crisis event. This does not include
    the costs of any medications or hospitalizations. Such emergency psychology expenses must be approved by the
    crisis management firm, if hired, or in the alternative, by the company.
    Emergency travel expenses means reasonable and necessary expenses occurring within 24 hours after a crisis
    event to transport an affected person sustaining bodily injury in a crisis event to a medical treatment facility.
    Imminent injury means the actual and immediate threat of bodily injury or property damage.


Only with respect to coverage provided under this endorsement, the definitions of event in the Definitions section of the
Common Policy Provisions and Conditions is deleted and replaced by the following:
    Event means an accident and a crisis event. All injuries arising out of, or in connection with:
    1. the same or related acts or omissions; or
    2. the continuous or repeated exposure to substantially the same harmful conditions;
    will be considered one event. For the purposes of this definition, all injuries to a mother and fetus (or fetuses) from
    conception through delivery shall constitute one event.




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Only with respect to coverage provided under this endorsement, the following exclusions are added to the Exclusions
Applicable To This Coverage Part section of the General Liability Coverage Part:
   Infections Disease Or Illness
   Any request for reimbursement of crisis response costs related to a crisis event that was caused by any infectious
   disease or illness caused by any bacterium, virus or fungus.
   Crisis Response Costs
   Any element of damages that have been paid by the company as crisis response costs under this endorsement
   which arises in any other claim or potential claim.


                     All other terms and conditions of the policy remain unchanged.




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                                                                                                 Issuing Company:
                                                                        National Fire & Marine Insurance Company
                                                                                                 Omaha, Nebraska


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Endorsement No.:                      6
Forming Part of Policy No.:           NSC100432
Issued to:                            Orinda Care Center, LLC
Effective Date of Endorsement: 02/15/2020 at 12:01 a.m. at the address of the First Named Insured stated herein.


                     DISEASE CONTAMINATION CLEAN-UP EXPENSES ENDORSEMENT
                                      (GENERAL LIABILITY)

In consideration of the payment of the additional premium due, if any, and in reliance upon the representations of all
insureds, the company and the insureds agree to amend the policy as follows:


The following provision is added to the Limits of Liability section of the General Liability Coverage Part:
    DISEASE CONTAMINATION CLEAN-UP EXPENSE LIMIT
    The Disease Contamination Clean-up Expense Aggregate Limit shown below is the most the company will reimburse
    a named insured under the Disease Contamination Clean-Up Expenses Insuring Clause for clean-up expenses
    because of a superbug contamination:
        Disease Contamination Clean-up Expense Aggregate Limit:             $25,000
    The Disease Contamination Clean-up Expense Aggregate Limit shown above is the most the company will reimburse
    for all clean-up expenses for all superbug contaminations regardless of the number of insureds or superbug
    contaminations. The Disease Contamination Clean-up Expense Aggregate Limit is not part of, and does not erode,
    the Limits of Liability applicable to other Insuring Clauses under this Coverage Part. The company’s duty to reimburse
    for clean-up expenses is not subject to any Deductible or Self-Insured Retention.


The following insuring clause is added to the Insuring Clause section of the General Liability Coverage Part:
    DISEASE CONTAMINATION CLEAN-UP EXPENSES
    The company will reimburse a named insured, upon satisfactory proof of payment, for clean-up expenses paid
    by the named insured in connection with a superbug contamination that occurs during this policy period, subject
    to the Disease Contamination Clean-up Expense Aggregate Limit.


Only with respect to coverage provided under this endorsement, the following definitions are added to the Definitions
section of the Common Policy Provisions and Conditions:
    Clean-up expenses means reasonable costs and expenses incurred by a named insured to hire a third party to
    disinfect an insured’s location as a result of a superbug contamination. Clean-up expenses shall not include any
    salaries, benefits, remuneration or overhead of a named insured.


Only with respect to coverage provided under this endorsement, the Contaminations exclusion in the Exclusions Applicable
To This Coverage Part section of the General Liability Coverage Part is deleted.


                      All other terms and conditions of the policy remain unchanged.

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                                                                                                 Issuing Company:
                                                                        National Fire & Marine Insurance Company
                                                                                                 Omaha, Nebraska


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Endorsement No.:                      7
Forming Part of Policy No.:           NSC100432
Issued to:                            Orinda Care Center, LLC
Effective Date of Endorsement: 02/15/2020 at 12:01 a.m. at the address of the First Named Insured stated herein.


                            EMERGENCY EVACUATION EXPENSES ENDORSEMENT
                                        (GENERAL LIABILITY)

In consideration of the payment of the additional premium due, if any, and in reliance upon the representations of all
insureds, the company and the insureds agree to amend the policy as follows:


The following provision is added to the Limits of Liability section of the General Liability Coverage Part:
    EMERGENCY EVACUATION EXPENSE LIMIT
    The Emergency Evacuation Expense Aggregate Limit shown below is the most the company will reimburse a named
    insured under the Emergency Evacuation Expenses Insuring Clause for emergency evacuation expenses because
    of an emergency evacuation:
        Emergency Evacuation Expense Aggregate Limit:                       $50,000
    The Emergency Evacuation Expense Aggregate Limit shown above is the most the company will reimburse for all
    emergency evacuation expenses for all emergency evacuations regardless of the number of insureds or
    emergency evacuations. The Emergency Evacuation Expense Aggregate Limit is not part of, and does not erode,
    the Limits of Liability applicable to other Insuring Clauses under this Coverage Part. The company’s duty to reimburse
    for emergency evacuation expenses is not subject to any Deductible or Self-Insured Retention.


The following insuring clause is added to the Insuring Clause section of the General Liability Coverage Part:
    EMERGENCY EVACUATION EXPENSES
    The company will reimburse a named insured, upon satisfactory proof of payment, for emergency evacuation
    expenses paid by the named insured in connection with an emergency evacuation that occurs during this policy
    period, subject to the Emergency Evacuation Expense Aggregate Limit.


Only with respect to coverage provided under this endorsement, the following condition is added to the Conditions section
of the Common Policy Provisions and Conditions:
    REPORTING REQUIREMENTS FOR EMERGENCY EVACUATIONS
    The company’s duty to reimburse a named insured for any emergency evacuation expense is conditioned upon:
    1. an authorized insured forwarding notice of an emergency evacuation to the company no later than 60 days
       after the emergency evacuation;
    2. an authorized insured notifying the company of any other insurance policy, prepaid legal service contract or
       legal practitioner retainer agreement available with respect to such emergency evacuation;
    3. the insured taking all reasonable steps to prevent an emergency evacuation and to mitigate any emergency


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       evacuation expenses; and
   4. an insured not taking any action, or failing to take any action, without the written consent of the company, which
      would otherwise prejudice the company’s rights under this policy.


Only with respect to coverage provided under this endorsement, the following definitions are added to the Definitions
section of the Common Policy Provisions and Conditions:
   Emergency evacuation means an evacuation of a named insured’s location because a determination is made by
   the named insured that imminent danger exists arising from an external event or a condition in the named insured’s
   location which would cause loss of life or harm to patients or residents. Emergency evacuation does not include
   an evacuation arising from:
   1. a strike, bomb threat or false fire alarm, unless vacating is ordered by a civil authority;
   2. a planned vacating drill;
   3. the vacating of one or more patients or residents that is due to, and confined to, an individual’s medical condition;
   4. a governmental action;
   5. a nuclear hazard; or
   6. war or military action.
   Emergency evacuation expenses means reasonable costs and expenses incurred by a named insured to perform
   an emergency evacuation. Emergency evacuation expenses do not include:
   1. claims expense;
   2. any other expenses incurred by an employee, volunteer, or other person providing assistance with, in any part of,
      or included in, the emergency evacuation; or
   3. the remuneration, salaries, overhead or benefit expenses of an insured.


                     All other terms and conditions of the policy remain unchanged.




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                                                                                                 Issuing Company:
                                                                        National Fire & Marine Insurance Company
                                                                                                 Omaha, Nebraska


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Endorsement No.:                     8
Forming Part of Policy No.:          NSC100432
Issued to:                           Orinda Care Center, LLC
Effective Date of Endorsement: 02/15/2020 at 12:01 a.m. at the address of the First Named Insured stated herein.


                                         MEDIA EXPENSES ENDORSEMENT
                                             (GENERAL LIABILITY)

In consideration of the payment of the additional premium due, if any, and in reliance upon the representations of all
insureds, the company and the insureds agree to amend the policy as follows:


The following new provision is added to the Limits of Liability section of the General Liability Coverage Part:
    MEDIA EXPENSE LIMIT
    The Media Expense Aggregate Limit shown below is the most the company will reimburse a named insured under
    the Media Expenses Insuring Clause for all formal proceedings:
        Media Expense Aggregate Limit:                                      $50,000
    The Media Expense Aggregate Limit shown above is the most the company will reimburse for all media expenses
    for all formal proceedings regardless of the number of insureds or formal proceedings. The Media Expense
    Aggregate Limit is not part of, and does not erode, the Limits of Liability applicable to other Insuring Clauses under this
    Coverage Part. The company’s duty to reimburse for media expenses is not subject to any Deductible or Self-
    Insured Retention.


The following insuring clause is added to the Insuring Clause section of the General Liability Coverage Part:
    MEDIA EXPENSES
    The company will reimburse a named insured, upon satisfactory proof of payment, for media expenses paid by
    the named insured in connection with a formal proceeding that occurs during this policy period, subject to the
    Aggregate Medial Expense Limit. The media expense must be incurred by a named insured within 6 months
    following the discovery of a formal proceeding.


Only with respect to coverage provided under this endorsement, the following condition is added to the Conditions section
of the Common Policy Provisions and Conditions:
    REPORTING REQUIREMENTS FOR FORMAL PROCEEDINGS
    The company’s duty to reimburse a named insured for media expenses is conditioned upon:
    1. an authorized insured forwarding notice of a formal proceeding to the company no later than 60 days after
       the first discovery of the formal proceeding;
    2. an authorized insured notifying the company of any other insurance policy, prepaid legal service contract or
       legal practitioner retainer agreement available with respect to such formal proceeding;
    3. the insured taking all reasonable steps to prevent a formal proceeding and to mitigate any media expenses;
       and


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    4. an insured not taking any action, or failing to take any action, without the written consent of the company, which
       would otherwise prejudice the company’s rights under this policy.


Only with respect to coverage provided under this endorsement, the following definitions are added to the Definitions
section of the Common Policy Provisions and Conditions:
    Media expenses means reasonable costs and expenses incurred by a named insured to manage a formal
    proceeding or other public relations expenses incurred to hire public relations experts and consultants. Media
    expenses do not include any reimbursement of salaries, overhead, fees, loss of earnings, or reimbursement of benefit
    expenses of an insured.
    Formal proceeding means a criminal or civil investigation, complaint or formal administrative proceeding initiated
    against an insured relating to an actual or alleged violation or infringement if any federal, state or local law designed
    to protect resident’s rights.


The following exclusion is added to the Exclusions Applicable To This Coverage Part section of the General Liability Coverage
Part:
    Prior Known Formal Proceedings
    Any request for reimbursement of media expenses related to a formal proceeding of which any authorized
    insured knew or should have known of prior to the occurrence of such formal proceeding.


                      All other terms and conditions of the policy remain unchanged.




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                                                                                               Issuing Company:
                                                                      National Fire & Marine Insurance Company
                                                                                               Omaha, Nebraska


              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Endorsement No.:                     9
Forming Part of Policy No.:          NSC100432
Issued to:                           Orinda Care Center, LLC
Effective Date of Endorsement: 02/15/2020 at 12:01 a.m. at the address of the First Named Insured stated herein.


  SCHEDULE OF HIRED AND NON-OWNED AUTO LIABILITY LIMITED COVERAGE ENDORSEMENT
                              (GENERAL LIABILITY)


In consideration of the payment of the additional premium due, if any, and in reliance upon the representations of all
insureds, the company and the insureds agree to amend the policy as follows:


Only with respect to coverage provided under this endorsement, the following provisions are added to the Bodily Injury and
Property Damage Liability Insuring Clause of the General Liability Coverage Part:
    The company will pay on behalf of any named insured listed in the Schedule of Hired and Non-Owned Auto Liability
    all loss and claims expense, subject to any applicable Deductible or Self-Insured Retention, and up to the Limits of
    Liability shown on the Declarations with respect to this Insuring Clause, arising from an event resulting in bodily
    injury or property damage that, notwithstanding any provision to the contrary in this Insuring Clause, occurred
    during the policy period, and arising from:
    1. the maintenance or use by any insured of a hired auto in the course of the insured’s business; or
    2. the use of a non-owned auto by an insured in the course of the insured’s business.


Only with respect to coverage provided under this endorsement, the Aircraft, Auto or Watercraft, Liquor Liability and Mobile
Equipment exclusions in the Exclusions section of the General Liability Coverage Part are deleted.


Only with respect to coverage provided under this endorsement, the following exclusion applies:
    Bodily injury to an employee of an insured arising out of and in the course of:
    1. employment by an insured; and
    2. where an insured is liable either as an employer or in any other capacity, or if there is an obligation to fully or
       partially reimburse a third person for damages arising out of bodily injury to an employee of the insured if the
       bodily injury occurs in the course of employment by the insured.
    This exclusion does not apply to:
    1. liability assumed by an insured under insured contract; or
    2. bodily injury arising out of and in the course of domestic employment unless benefits for such injury are in whole
       or in part either payable or required to be provided under any workers’ compensation benefits.


Only with respect to coverage provided under this endorsement, the Damage to Property exclusion in the Exclusions section
of the General Liability Coverage Part is deleted and replaced with the following:


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    DAMAGE TO PROPERTY
    Property damage to:
    1. property owned or being transported by, or rented leased, or loaned to any insured; or
    2. property in the care, custody, or control of any insured.


Only with respect to coverage provided under this endorsement, the following persons and organizations are added to the
definition of insureds in the Definitions section of the Common Policy Provisions and Conditions:
    1. any person using a hired auto with an insured’s permission;
    2. with respect to a non-owned auto, any partner or executive officer of an insured, but only while such non-
       owned auto is being used on behalf of the insured; and
    3. any other person or organization, but only with respect to their liability because of acts or omissions of an insured
       otherwise covered under the Bodily Injury and Property Damage Insuring Clause, or the acts of insured as defined
       under subparagraphs 1 and 2 above.


Only with respect to coverage provided under this endorsement, the following persons and organizations are not insureds,
notwithstanding any provision to the contrary in the Definitions section of the Common Policy Provisions and Conditions:
    1. any person engaged in the business of his or her employer with respect to bodily injury to any co-employee of
       such person injured in the course of employment, or consequential injury to any relative of such co-employee, or
       for any obligation to reimburse a third party as the result of the bodily injury to the co-employee;
    2. any partner, executive officer or manager (if the insured is a limited liability company) with respect to any auto
       owned by such partner or officer or a member of his or her household;
    3. any person while employed in or otherwise engaged in performing duties related to the conduct of an auto
       business other than an auto business operated by the insured;
    4. the owner or lessee (of whom the insured is a sublessee) of a hired auto or the owner of a non-owned auto
       or any agent of employee of any such owner or lessee; or
    5. any person or organization with respect to the conduct of any current or past partnership, joint venture or limited
       liability company that is not listed in the Schedule of Hired and Non-Owned Auto Liability.


Only with respect to coverage provided under this endorsement, the following definitions apply:
    Auto business means the business or occupation of selling, repairing, servicing, storing or parking autos.
    Hired auto means any auto an insured leases, hires, rents or borrows on a temporary, occasional or infrequent
    basis. It does not include any auto the insured leases, hires, rents or borrows from:
    1. any of the insured’s employees or members of their households; or
    2. partners, executive officers or managers (if the insured is a limited liability company) or members of their
       households.
    Non-owned auto means any auto the insured does not own, lease, hire or borrow which is used in connection with
    the insured’s business. However, if the insured is a partnership, a non-owned auto does not include any auto
    owned by any partner.
    Tort liability means liability that would have been imposed by law in the absence of any contract or agreement.




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                           SCHEDULE OF HIRED AND NON-OWNED AUTO LIABILITY
 NAMED INSURED                                                        ID NUMBER        RETROACTIVE DATE
 Orinda Care Center, LLC                                              1368708          02/15/2015


                    All other terms and conditions of the policy remain unchanged.




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                                                                                                    Issuing Company:
                                                                           National Fire & Marine Insurance Company
                                                                                                    Omaha, Nebraska


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Endorsement No.:                         10
Forming Part of Policy No.:              NSC100432
Issued to:                               Orinda Care Center, LLC
Effective Date of Endorsement: 02/15/2020 at 12:01 a.m. at the address of the First Named Insured stated herein.


                        EXCLUSION OF CERTIFIED ACTS OF TERRORISM ENDORSEMENT
                                         (GENERAL LIABILITY)

In consideration of the payment of the additional premium due, if any, and in reliance upon the representations of all
insureds, the company and the insureds agree to amend the policy as follows:


Only with respect to coverage provided under the General Liability Coverage Part, the following exclusion is added to the
Exclusions section of the Common Policy Provisions and Conditions:
       CERTIFIED ACT OF TERRORISM
       Any injury or damage arising, directly or indirectly, out of a certified act of terrorism.


Only with respect to coverage provided under the General Liability Coverage Part, the following definitions are added to the
Definitions section of the Common Policy Provisions and Conditions:
       Certified act of terrorism means an act that is certified by the Secretary of the Treasury in accordance with the
       provisions of the TRIA Act, to be an act of terrorism pursuant to the TRIA Act. The TRIA Act sets forth the following
       criteria for a certified act of terrorism:
  1.       The act resulted in losses covered by insurance in excess of $5,000,000 in the aggregate, attributable to all types
           of insurance subject to the TRIA Act;
  2.       The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
           individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
           policy or affect the conduct of the United States Government by coercion. The act must have resulted in damage
           within the United States including its territories and possessions and Puerto Rico, or outside the United States in
           cases of an air carrier or vessel meeting the definitions of such as provided in the TRIA Act, or the premises of a
           United States mission; and
  3.       No act of terrorism shall be certified if the act is committed as a part of the course of a war declared by Congress.
       Injury or damage means any injury or damage covered under any Insuring Agreement to which this endorsement
       applies, including but not limited to bodily injury, property damage and personal and advertising injury. Injury
       or damage also includes clean-up costs or environmental damage sustained.
       TRIA Act means the federal Terrorism Risk Insurance Act of 2002, as extended on December 22, 2005, and amended
       on December 31, 2007 and January 12, 2015.


                         All other terms and conditions of the policy remain unchanged.




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                                                                                                            Page 104 of 104
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                                                  21STCV38519
Electronically FILED by Superior Court of California, County of Los Angeles on 10/19/2021 05:36 PM Sherri R. Carter, Executive Officer/Clerk of Court, by H. Flores-Hernandez,Deputy Clerk

                                                                                                                                                                       SUM-100
                                                     SUMMONS                                                                                    FOR COURT USE ONLY
                                                                                                                                            (SOLO PARA USO DE LA CORTE)
                                            (CITACION JUDICIAL)
       NOTICE TO DEFENDANT:
       (AVISO AL DEMANDADO):
       MEDPRO GROUP, INC., an Indiana corporation, and DOES 1 through 10, inclusive,

       YOU ARE BEING SUED BY PLAINTIFF:
       (LO ESTÁ DEMANDANDO EL DEMANDANTE):
       ORINDA CARE CENTER, LLC a California limited liability company; RENEW HEALTH GROUP,
       LLC, a California limited liability company
       NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
       below.
          You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
       served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
       case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
       Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
       court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
       be taken without further warning from the court.
          There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
       referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
       these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
       (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
       costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
       ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
       continuación.
          Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
       corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
       en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
       Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
       biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
       le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
       quitar su sueldo, dinero y bienes sin más advertencia.
          Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
       remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
       programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
       (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
       colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
       cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
       pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
      The name and address of the court is:                                                         CASE NUMBER: (Número del Caso):
      (El nombre y dirección de la corte es): LOS ANGELES SUPERIOR COURT
      CENTRAL JUDICIAL DISTRICT - STANLEY MOSK COURTHOUSE
      111 North Hill Street, Los Angeles, California 90012
      The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la dirección y el número
      de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
      Brian A. Procel (SBN 218657) Miller Barondess, LLP, 1999 Avenue of the Stars #1000, Los Angeles, CA 90067 310-552-4400
      DATE:                                                                          Clerk, by                                          , Deputy
      (Fecha)                                                                        (Secretario)                                       (Adjunto)
       (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
       (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                        NOTICE TO THE PERSON SERVED: You are served
        [SEAL]
                                                1.           as an individual defendant.
                                                2.           as the person sued under the fictitious name of (specify):

                                                3.           on behalf of (specify):
                                                      under:        CCP 416.10 (corporation)                                         CCP 416.60 (minor)
                                                                    CCP 416.20 (defunct corporation)                                 CCP 416.70 (conservatee)
                                                                    CCP 416.40 (association or partnership)                          CCP 416.90 (authorized person)
                                                                    other (specify):
                                                4.           by personal delivery on (date):                                                                               Page 1 of 1
      Form Adopted for Mandatory Use
      Judicial Council of California
                                                                                    SUMMONS                                                      Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                                     www.courts.ca.gov
      SUM-100 [Rev. July 1, 2009]
           Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 116 of 124 Page ID #:116
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 21STCV38519

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Daniel S. Murphy                   32




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       10/20/2021
    on _____________________________                                        H. Flores-Hernandez
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
            Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 117 of 124 Page ID #:117
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
                                              Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 118 of 124 Page ID #:118
                                                                            21STCV38519
Electronically FILED by Superior Court of California, County of Los Angeles on 10/19/2021 05:36 PM Sherri R. Carter, Executive Officer/Clerk of Court, by H. Flores-Hernandez,Deputy Clerk


                                     SHORT TITLE:                                                                               CASE NUMBER




                                                          CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                                       (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                    This form is required pursuant to LASC Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.
             Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:
                JURY TRIAL?      YES CLASS ACTION?          YES LIMITED CASE?      YES TIME ESTIMATED FOR TRIAL       ____   HOURS/        DAYS
             Item II. Select the correct district and courthouse location (4 steps If you checked Limited Case , skip to Item III, Pg. 4):
             Step 1: After first completing the Civil Case Cover Sheet Form, find the main civil case cover sheet heading for your case in
             the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.
             Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.
             Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have checked.
             For any exception to the court location, see Los Angeles Superior Court Local Rule 2.0.

                                                      Applicable Reasons for Choosing Courthouse Location (see Column C below)
                                    1.   Class Actions must be filed in the County Courthouse, Central District.            6. Location of property or permanently garaged vehicle.
                                    2.   May be filed in Central (Other county, or no Bodily Injury/Property Damage).       7. Location where petitioner resides.
                                    3.   Location where cause of action arose.                                              8. Location wherein defendant/respondent functions wholly.
                                    4.   Location where bodily injury, death or damage occurred.                            9. Location where one or more of the parties reside.
                                    5.   Location where performance required or defendant resides.                          10. Location of Labor Commissioner Office.

             Step 4: Fill in the information requested on page 4 in Item III; complete Item IV. Sign the declaration.
                                                  A                                                           B                                                           C
                                     Civil Case Cover Sheet        Type of Action                                                                           Applicable Reasons -
                                           Category No.                                               (Check only one)                                       See Step 3 Above
                 Auto Tort




                                               Auto (22)                   A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death             1., 2., 4.

                                     Uninsured Motorist (46)               A7110 Personal Injury/Property Damage/Wrongful Death       Uninsured Motorist    1., 2., 4.

                                                                           A6070 Asbestos Property Damage                                                   2.
                                            Asbestos (04)                  A7221 Asbestos - Personal Injury/Wrongful Death
   Other Personal Injury/Property
   Damage/Wrongful Death Tort




                                                                                                                                                            2.

                                         Product Liability (24)
                                                                           A7260 Product Liability (not asbestos or toxic/environmental)                    1., 2., 3., 4., 8.


                                                                           A7210 Medical Malpractice - Physicians & Surgeons                                1., 2., 4.
                                     Medical Malpractice (45)
                                                                           A7240 Other Professional Health Care Malpractice                                 1., 2., 4.

                                                                          A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                                            1., 2., 4.
                                                Other                     A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                            Personal Injury
                                                                           assault, vandalism, etc.)
                                           Property Damage                                                                                                  1., 2., 4.
                                            Wrongful Death                 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                            1., 2., 3.
                                                 (23)
                                                                           A7220 Other Personal Injury/Property Damage/Wrongful Death                       1., 2., 4.
   Damage/Wrongful Death Tort
   Non-Personal Injury/Property




                                          Business Tort (07)
                                                                           A6029    Other Commercial/Business Tort (not fraud/breach of contract)           1., 2., 3.

                                           Civil Rights (08)
                                                                           A6005    Civil Rights/Discrimination                                             1., 2., 3.

                                           Defamation (13)
                                                                           A6010 Defamation (slander/libel)                                                 1., 2., 3.

                                              Fraud (16)                   A6013 Fraud (no contract)
                                                                                                                                                            1., 2., 3.




                                    CIV 109 03-04 (Rev. 03/06)                     CIVIL CASE COVER SHEET ADDENDUM                                                       LASC, rule 2.0
                                    LASC Approved                                     AND STATEMENT OF LOCATION                                                            Page 1 of 4
                                                     Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 119 of 124 Page ID #:119
Non-Personal Injury/Property Damage/


                                              SHORT TITLE:                                                                      CASE NUMBER
Wrongful Death Tort Cont d




                                                         A                                                      B                                                           C
                                              Civil Case Cover
                                                                                                         Type of Action                                        Applicable Reasons
                                              Sheet Category No.
                                                                                                        (Check only one)                                        -See Step 3 Above


                                                    Professional          A6017 Legal Malpractice                                                              1., 2., 3.
                                                    Negligence
                                                                                                                                                               1., 2., 3.
                                                        (25)              A6050 Other Professional Malpractice (not medical or legal)


                                                     Other (35)           A6025 Other Non-Personal Injury/Property Damage tort                                 2.,3.


                                               Wrongful Termination
        Employment




                                                                          A6037 Wrongful Termination                                                           1., 2., 3.
                                                      (36)

                                                Other Employment
                                                                          A6024 Other Employment Complaint Case                                                1., 2., 3.
                                                       (15)
                                                                          A6109    Labor Commissioner Appeals                                                  10.

                                                Breach of Contract/       A6004 Breach of Rental/Lease Contract (not Unlawful Detainer or wrongful eviction)   2., 5.
                                                     Warranty             A6008   Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                                        (06)                                                                                                   2., 5.
                                                  (not insurance)         A6019   Negligent Breach of Contract/Warranty (no fraud)                             1., 2., 5.
                                                                          A6028   Other Breach of Contract/Warranty (not fraud or negligence)
                                                                                                                                                               1., 2., 5.
          Contract




                                                                          A6002   Collections Case-Seller Plaintiff                                            2., 5., 6.
                                                    Collections
                                                       (09)               A6012   Other Promissory Note/Collections Case                                       2., 5.

                                                Insurance Coverage
                                                                          A6015 Insurance Coverage (not complex)                                               1., 2., 5., 8.
                                                        (18)

                                                  Other Contract          A6009 Contractual Fraud                                                              1., 2., 3., 5.
                                                       (37)               A6031 Tortious Interference                                                          1., 2., 3., 5.
                                                                          A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                  1., 2., 3., 8.

                                                    Eminent
                                                                          A7300 Eminent Domain/Condemnation              Number of parcels______               2.
                                                 Domain/Inverse
                                                Condemnation (14)
         Real Property




                                                 Wrongful Eviction
                                                                          A6023    Wrongful Eviction Case                                                      2., 6.
                                                      (33)

                                                                          A6018 Mortgage Foreclosure                                                           2., 6.
                                                Other Real Property
                                                       (26)               A6032 Quiet Title                                                                    2., 6.
                                                                          A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)
                                                                                                                                                               2., 6.
         Judicial Review Unlawful Detainer




                                                Unlawful Detainer-
                                                                          A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)                  2., 6.
                                                 Commercial (31)

                                                Unlawful Detainer-
                                                                          A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)                 2., 6.
                                                 Residential (32)

                                                Unlawful Detainer-
                                                                          A6022 Unlawful Detainer-Drugs                                                        2., 6.
                                                   Drugs (38)

                                               Asset Forfeiture (05)      A6108   Asset Forfeiture Case                                                        2., 6.
                                               Petition re Arbitration
                                                                          A6115 Petition to Compel/Confirm/Vacate Arbitration                                  2., 5.
                                                        (11)



                                             CIV 109 03-04 (Rev. 03/06)           CIVIL CASE COVER SHEET ADDENDUM                                                   LASC, rule 2.0
                                             LASC Approved                           AND STATEMENT OF LOCATION                                                          Page 2 of 4
                                             Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 120 of 124 Page ID #:120


                                      SHORT TITLE:                                                                   CASE NUMBER




                                                     A                                             B                                                 C
            Judicial Review Cont d




                                      Civil Case Cover Sheet                               Type of Action                            Applicable Reasons -
                                            Category No.                                  (Check only one)                            See Step 3 Above

                                                                   A6151 Writ - Administrative Mandamus                             2., 8.
                                          Writ of Mandate          A6152   Writ - Mandamus on Limited Court Case Matter             2.
                                                 (02)              A6153   Writ - Other Limited Court Case Review
                                                                                                                                    2.

                                       Other Judicial Review
                                                                   A6150   Other Writ /Judicial Review                              2., 8.
                                               (39)

                                           Antitrust/Trade
                                                                   A6003   Antitrust/Trade Regulation                               1., 2., 8.
                                           Regulation (03)

                                      Construction Defect (10)
Provisionally Complex




                                                                   A6007 Construction defect                                        1., 2., 3.

                                       Claims Involving Mass
                                                                   A6006   Claims Involving Mass Tort                               1., 2., 8.
       Litigation




                                             Tort (40)

                                      Securities Litigation (28)   A6035 Securities Litigation Case
                                                                                                                                    1., 2., 8.

                                             Toxic Tort
                                                                   A6036 Toxic Tort/Environmental                                   1., 2., 3., 8.
                                        Environmental (30)

                                        Insurance Coverage
                                                                   A6014 Insurance Coverage/Subrogation (complex case only)         1., 2., 5., 8.
                                        Claims from Complex
                                             Case (41)

                                                                   A6141 Sister State Judgment                                      2., 9.
                                                                   A6160 Abstract of Judgment                                       2., 6.
                                            Enforcement
of Judgment
Enforcement




                                            of Judgment            A6107 Confession of Judgment (non-domestic relations)            2., 9.
                                                 (20)              A6140 Administrative Agency Award (not unpaid taxes)
                                                                                                                                    2., 8.
                                                                   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax
                                                                                                                                    2., 8.
                                                                   A6112 Other Enforcement of Judgment Case
                                                                                                                                    2., 8., 9.

                                             RICO (27)             A6033 Racketeering (RICO) Case                                   1., 2., 8.
Miscellaneous Civil
   Complaints




                                                                   A6030 Declaratory Relief Only                                    1., 2., 8.
                                         Other Complaints          A6040 Injunctive Relief Only (not domestic/harassment)           2., 8.
                                       (Not Specified Above)
                                                                   A6011 Other Commercial Complaint Case (non-tort/non-complex)     1., 2., 8.
                                                 (42)              A6000 Other Civil Complaint (non-tort/non-complex)               1., 2., 8.

                                      Partnership Corporation      A6113 Partnership and Corporate Governance Case                  2., 8.
                                         Governance(21)
Miscellaneous Civil Petitions




                                                                   A6121 Civil Harassment                                           2., 3., 9.
                                                                   A6123 Workplace Harassment                                       2., 3., 9.
                                                                   A6124 Elder/Dependent Adult Abuse Case                           2., 3., 9.
                                          Other Petitions
                                       (Not Specified Above)       A6190 Election Contest
                                                                                                                                    2.
                                                                   A6110 Petition for Change of Name
                                                 (43)                                                                               2., 7.
                                                                   A6170 Petition for Relief from Late Claim Law
                                                                                                                                    2., 3., 4., 8.
                                                                   A6100 Other Civil Petition
                                                                                                                                    2., 9.




                                     CIV 109 03-04 (Rev. 03/06)        CIVIL CASE COVER SHEET ADDENDUM                                           LASC, rule 2.0
                                     LASC Approved                        AND STATEMENT OF LOCATION                                                  Page 3 of 4
         Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 121 of 124 Page ID #:121


 SHORT TITLE:                                                                       CASE NUMBER




Item III. Statement of Location: Enter the address of the accident, party s residence or place of business, performance, or
other circumstance indicated in Item II., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

          REASON: CHECK THE NUMBER UNDER COLUMN C                    ADDRESS:

                     WHICH APPLIES IN THIS CASE

         1.     2.   3.   4.   5.   6.      7.    8.     9.   10.
 CITY:                                   STATE:        ZIP CODE:




Item IV. Declaration of Assignment: I declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct and that the above-entitled matter is properly filed for assignment to the ___________________courthouse in the
____________________ District of the Los Angeles Superior Court (Code Civ. Proc., § 392 et seq., and LASC Local Rule 2.0,
subds. (b), (c) and (d)).




Dated: ___________________                                                 _________________________________
                                                                                    (SIGNATURE OF ATTORNEY/FILING PARTY)




          PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO
                           PROPERLY COMMENCE YOUR NEW COURT CASE:

     1. Original Complaint or Petition.
     2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
     3. Civil Case Cover Sheet form CM-010.

     4. Complete Addendum to Civil Case Cover Sheet form LASC Approved CIV 109 03-04 (Rev. 03/06).
     5. Payment in full of the filing fee, unless fees have been waived.
     6. Signed order appointing the Guardian ad Litem, JC form 982(a)(27), if the plaintiff or petitioner is a minor
        under 18 years of age, or if required by Court.

     7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
        must be served along with the summons and complaint, or other initiating pleading in the case.




CIV 109 03-04 (Rev. 03/06)                   CIVIL CASE COVER SHEET ADDENDUM                                               LASC, rule 2.0
LASC Approved                                   AND STATEMENT OF LOCATION                                                    Page 4 of 4
              Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 122 of 124 Page ID #:122
                                                                                                      Reserved for Clerk’s File Stamp
              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
 PLAINTIFF:
 Orinda Care Center, LLC et al
 DEFENDANT:
 Medpro Group, Inc.
                                                                                               CASE NUMBER:
              NOTICE OF CASE MANAGEMENT CONFERENCE                                             21STCV38519
TO THE PLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all
parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                     Date:                     Time:                  Dept.:
                                             02/25/2022                8:30 AM                  32

NOTICE TO DEFENDANT:            THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                  DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code, § 68600 et seq.)

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may impose sanctions, pursuant to LASC Local Rule 3.37, Code of Civil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Code section 68608, subdivision (b), and California Rules of
Court, rule 2.2 et seq.


        10/21/2021
Dated: ________________________                                                  ________________________________
                                                                                           Judicial Officer

                                                    CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

✔                                                                 Los Angeles
    by depositing in the United States mail at the courthouse in _______________________,   California, one copy of the original
    filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

    by personally giving the party notice upon filing of the complaint.
     Brian Procel
     1999 Avenue of the Stars Suite 1000

     Los Angeles, CA 90067                                                 Sherri R. Carter, Executive Officer / Clerk of Court

        10/21/2021
Dated: __________________                                                                                N. Avalos
                                                                                                     By ________________________
                                                                                                                 Deputy Clerk
LACIV 132 (Rev. 07/13)                                                                                        Cal. Rules of Court, rules 3.720-3.730
LASC Approved 10-03
                                          NOTICE OF                                                           LASC Local Rules, Chapter 7KUHH
For Optional Use                CASE MANAGEMENT CONFERENCE
                            Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 123 of 124 Page ID #:123
Electronically FILED by Superior Court of California, County of Los Angeles on 11/08/2021 03:45 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Gregg,Deputy Clerk


                  Attorney or Party without Attorney:                                                                                        For Caurt Use On/y
                  BRIAN A. PROCEL (State Bar No. 218657)
                  MILLER BARONDESS, LLP
                     1999 Avenue of the Stars, Suite 1000
                     Los Angeles, California, 90067
                       telephone Na: 31 0-552-4400
                       Attorney For:    Plaintiff                                        ef Na. or File Naz


                  Insert name of Court, and)udicial District and Branch Coun:
                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  COUNTY OF LOS ANGELES, CENTRAL DISTRICT

                    Plainbff.     ORINDA CARE CENTER, LLC, a California limited liability company;                  et aL
                  Defendant:      MEDPRO GROUP, INC., an Indiana corporation

                             PROOF OF SERVICE                         Hearing Date:            time:          Dept)Div;        Case Number.
                                                                                                                               21STCV38519
                                SUMMONS

                1.     At the time of service I was       at least I 8 years of age and nat a party to this action.

                2.     Iserved copies of the Summons; Complaint; Civil Case Cover Sheet; Civil Case Cover Sheet Addendum and Statement of
                       Location (Certificate of Grounds for Assignment to Courthouse Location); Notice of Case Assignment- Unlimited Civil Case;
                       Notice of Case Management Conference; First Amended General Order; Voluntary Efficient Litigation Stipulations; Stipulation-
                       Discovery Resolution; Stipulation-Early OrganizationalMeeting; Informal Discovery Conference; Stipulation And Order-
                       Motions In Limine; Alternative Dispute Resolution (ADR) Information Package

                3.     a.    Party served:        MEDPRO GROUP, INC., an Indiana corporation
                       b.    Person served:       Pat Jones, CT Corporation System, Registered Agent

                4.     Address where the party was served;            334   N   Senate Ave, indianapolis,     IN   46204

                5.     )served the party:
                       a. by personal service.        Ipersonally delivered the documents listed in item 2 to the party or person authorized to receive
                                                      service of process for the party (1) on (date): Fri, Nov 05 2021 (2) at (time): 02:30 PM
                                       (business)
                       (1)
                       (2)
                       (3)
                             ~
                             ~X


                             ~         (home)
                                       (other):


                       The "Notice to the Person Served" (on the summons) was completed as follows:
                6.
                       a.    ~
                             ~   as an individual defendant.
                       b.
                       c.
                       d. ~X
                             ~   as the person sued under the fictitious name of (specify):
                                 as occupant.
                                 On behalf of (specifr); MEDPRO GROUP, INC., an Indiana corporation
                                 under the following Code of Civil Procedure section:
                                 ~X     41 6.10 (corporation)                                   41595(business organization, form unknown)
                                                                                                416.60 (minor)
                                        416.20 (defunct corporation)
                                        416 30 (joint stock company/association)
                                        416.40 (association or partnership)
                                                                                                        ~
                                                                                                416 70(ward or conservatee)
                                                                                                41 6.90 (authorized person)
                                        416.50 (public entity)                                  415A6 (occupant)
                                        other:




                                  Judicial Council Farm POS 010                                                                                                         631943 I

                O
                                                                                            PROOF OF
                                  Rule 24150.(a)6(b) Rev Januaiy I, 2007                    SERVICE                                                                   (4611700)
                                                                                           SUMMONS                                                                  Page 1 of 2
             Case 2:21-cv-09419 Document 1 Filed 12/03/21 Page 124 of 124 Page ID #:124



 Attorney or Party without Attorneyt                                                                                        For Coun Use Only
 BRIAN A. PROCEL(State Bar No. 218657)
 MILLER BARONDESS, LLP
     1999 Avenue of the Stars, Suite 1000
     Los Angeles, California, 90067
       Telephone Not 310-552-4400

         Attorney For:                                                   Ref. No.   or Fi le Non
                             plaintiff

 Insert name of coun, and Judicial Distnct ond Branch court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA
 COUNTY OF LOS ANGELES, CENTRAL DISTRICT
       Plaint/ff.      ORINDA CARE CENTER, LLC, a California limited liability company;                 etal.
 Defendant:            MEDPRO GROUP, INC., an Indiana corporation

                 PROOF OF SERVICE                        Hearing Date:              Time:          Deptrbiv:    Case Number:
                                                                                                                21STCV38519
                    SUMMONS




                                                                                      Recoverable cost Per CCP 1033.5(a)(4)(B)
7.      Person who served papers
        a. Name:                                   Raymond Bandy
        b. Address:                                FIRST LEGAL
                                                   1517 W. Beverly Blvd.
                                                   LOS ANGELES, CA 90026
        c.       Telephone number:                 (213) 250-1111
        d.       The fee for service was:          $ 389.91
        e.       Iam:
                               nota registered California process server.
                 (1)
                 (2)   ~
                       ~X


                       ~       exempt from registrationunder Business and Professions Code section 22350(b).
                                     registered Cahfornia process server:
                 (3)           a
                               (i)
                               (ii)
                                        ~owner ~employee
                                         Registration No:
                                                                         ~     independent contractor

                               (iii)     County:




8.      I   declare under penalty of perjury under the laws of the State of California that the foregoingis true and correct.




                                                                                               11/05/2021
                                                                                                     (Date)                      Raymond Bandy



                       Judicial Counol form POS-010                                                                                                63I9431

O
                                                                             PROOF OF
                       Rule 2.150.(a)g (b) Rev January 1, 2007               SERVICE                                                              (4811700)
                                                                            SUMMONS                                                              Page 2 of 2
      ,Ii foie
